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      FIRST MERCURY INSURANCE POLICY
                 2012 - 2013
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                                           FIRST MERCURY INSURANCE COMPANY
                                                      (A STOCK COMPANY)
                             STATUTORYHOME OFFICE: ONE SOUTH WACKER DRIVE, SUITE 1350, CHICAGO, IL 60606
                                  ADMINISTRATIVEOFFICE: 26600 TELEGRAPH RD., SOUTHFIELD, Ml 48033
                                                         GENERAL LIABILITY POLICY
                                                         RENEWAL DECLARATIONS
Serviced by: CoverX Specialty                                                    POLICY NUMBER NJ-CGL-0000009684-01
                                                                                 RENEWAL OF:   GLO211676
I NAMED INSURED AND MAILING ADDRESS                                 I I BROKER NAME AND ADDRESS
~D~L~P~hi=ll~ip-s~C~o-n-st-r-uct~io-n~l-nc~(D~B~A~)-J~a~M~a-r
                                            =R-o-of~in-g-------~                       Southwest Risk LP - Dallas


PO Box 40159                                                                            8144 Walnut Hill Lane Suite 1010
Austin, TX 78704                                                                        Dallas, TX 75231
POLICY PERIOD          From: 4/21/2012     To: 4/21/2013
                       AT 12:01 AM. STANDARDTIME AT YOUR MAILINGADDRESS SHOWN ABOVE
IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS POLICY, WE AGREE WITH
YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY
LIMITS OF INSURANCE: Defense Costs are outside the limits of Liabilty
Each Occurrence Limit:                         $1,000,000                                             Employee Benefits Liability:       Excluded
Personal & Advertising Injury Limit:           $1,000,000                                             Employee Benefits Aggregate Limit: Excluded
General Aggregate Limit:                       $2,000,000                                             Liquor Liability Limit:            Excluded
Products-Completed Operations Aggregate Limit: $2,000,000                                             Liquor Liability Aggregate:        Excluded
Damage To Premises Rented To You:              $50,000                                                Designated Construction Projects
Medical Payment Limit:                         Excluded                                               General Aggregate Limit:           $2,000,000



                                                                                                      Total Policy Aggregate Limit:      $5,000,000
RETAINED LIMIT: $5,000             Deductible Per Occurrence, Including LAE
PREMIUM COMPUTATION:               Premium:    $28,025
Coverage for certified acts of terrorism has been rejected; exclusion attached.                    [2g
(Per TRIA Disclosure Notice.)
                                                                                 DEPOSIT PREMIUM:               $28,025
DESCRIPTION OF BUSINESS: Contrs-sub work-in connect w/cnstr,recnstr, repair or erection of bldg

••
FORM OF BUSINESS:
                                                                          [5<J
                              §
     INDIVIDUAL                   PARTNERSHIP                                ORGANIZATION, INCLUDING A CORPORATION (BUT NOT
     JOINT VENTURE                LIMITED PARTNERSHIP                            INCLUDING A PARTNERSHIP, JOINT VENTURE OR LIMITED
                                  LIMITED LIABILITY COMPANY                      LIABILITY COMPANY)
ENDORSEMENTS ATTACHED TO THIS POLICY:                         See Schedule FM IC-END - Schedule of Forms and Endorsements

This insurance contract is with an insurer not licensed to transact insurance in this state and is issued
and delivered as surplus line coverage pursuant to the Texas insurance statutes. The Texas Department
of Insurance does not audit the finances or review the solvency of the surplus lines insurer providing this
coverage, and this insurer is not a member of the property and casualty insurance guaranty association
created under Chapter 462, Insurance Code. Chapter 225, Insurance Code, requires payment of a 4.85
percent tax on gross premium.
IMPORTANT! Please carefully examine your policy as it may contain significant coverage modifications or exclusions.
If this policy is a renewal, it may not contain the same precise terms and conditions as the prior policy .
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                                                                                     ~.•.,,
                                                                   '!                              7.·-···
Date: 5/15/2012          Authorized Representative:               ,J
THESE DECLARATIONS,TOGETHERWITH THE COMMON POLICY CONDITIONSAND COVERAGE FORM(S)
AND ANY ENDORSEMENT(S),COMPLETETHE ABOVE NUMBEREDPOLICY.                                                                 FMIC-GL-DS-0001(12/10)




                                                                                                                              CICMSJ0148
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                                          Attachment A


NAMED INSURED:                      D L Phillips Construction, Inc.

CARRIER:                                First Mercury Ins Co

POLICY NUMBER:                         NJ-CGL-0000009684-01

EFFECTIVE DATE:                              4/21/12 - 13




                  PREMIUM:                         $            28,025.00
                  AGENCY FEE                       $               945.00
                  CARRIER FEE                      $
                  STATE TAX:                       $              1,405.05
                  STAMPING FEE:                    $                 17.38

                  DRIVE OUT:                       $            30,392.43




    This insurance contract is with an insurer not licensed to transact insurance in
     his state and is issued and delivered as surplus line coverage under the Texas
    insurance statutes. The Texas Department of Insurance does not audit the
     inances or review the solvency of the surplus lines insurer providing this
    coverage, and the insurer is not a member of the property and casualty insurance
    guaranty association created under Article 21.28-C, Insurance Code. Section 12,
    Article 1.14-2, Insurance Code, requires payment of a 4.85 percent tax on gross
    premium.




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                                             EXTENSION OF DECLARATIONS

Policy Number    NJ-CGL-0000009684-01


Location of Premises:
Schedule of Locations on File with Company
Classification and Premium:

Exposure Basis                                       Exposure Amount     Rate              Deposit Premium

Gross Sales                                          $2,500,000          $11.21 DO/Per     $28,025
                                                                         $1,000 of Gross   subject to $23,821
                                                                         Sales             minimum premium




FMIC-GL-DS-EXT (12/1 OJ                                                                           Page 1 of 1



                                                                                       CICMSJ0150
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Insured           Ja Mar Roofing (OBA)

Policy Number     NJ-CGL-0000009684-01



                   SCHEDULE OF FORMS AND ENDORSEMENTS
                             (other than applicable forms shown elsewhere in the policy)

Forms and Endorsements applying to and made part of this policy at the time of issuance:

CG 00 01 (12/07) - COMMERCIAL GENERAL LIABILITY COVERAGE FORM
IL 00 17 (11/98) - COMMON POLICY CONDITIONS
FM IC LEGAL (10/2007) - SERVICE OF SU IT
GU 207 (6/78) - ENDORSEMENT
CG 20 10 (07/04) - ADDITIONAL INSURED OWNERS, LESSEES OR CONTRACTORS
CG 20 37 (07/04) - Al - OWNERS, LESSEES OR CONTRACTORS COMPLETED OPERATIONS
CG 21 35 (10/01) - EXCLUSION - COVERAGE C - MEDICAL PAYMENTS
CG 21 47 (07/98) - EMPLOYMENT-RELATED PRACTICES EXCLUSION
CG 21 49 (09/99) - TOTAL POLLUTION EXCLUSION ENDORSEMENT
CG 21 54 (01/96) - EXCL DESG OP COVERED BY CONSOLIDATED WRAP UPS
CG 21 67 (04/02) - FUNGI OR BACTERIA EXCLUSION
CG 21 96 (03/05) - SILICA OR SILICA RELATED DUST EXCLUSION
CG 22 70 (11/85) - REAL ESTATE PROPERTY MANAGED
CG 22 79 (07/98) - EXCLUSION - CONTRACTORS PROFESSIONAL LIABILITY
CG 23 01 (12/04) - EXCL - REAL ESTATE AGENTS OR BROKERS ERRORS & OM MISSIONS
CG 24 04 (05/09) - WAIVER OF TRANSFER OF RIGHTS OF RECOVERY AGAINST OTHERS
FMIC GL 2010 (11/11) - CROSS SUITS ENDORSEMENT
FMIC GL 2011 (04/11) - CONTINUOUS OR PROGRESSIVE INJURY AND DAMAGE EXCL
FMIC GL 2015 (10/11) - POLICY DEDUCTIBLE ENDORSEMENT
FMIC GL 2017 (01/11) - DESIGNATED CONSTRUCT PROJECT GEN AGG LIMIT
FMIC GL 2052 (10/10) - NAMED INSURED
FMIC GL 2076 (04/11) - HAZARDOUS MATERIALS EXCLUSION
FMIC GL 2088 (05/11) - EXCLUSION - PUNITIVE OR EXEMPLARY DAMAGES
FMIC GL 2125 (07/11) - EXCLUSION - SPECIFIED STATE OPERATIONS EXCLUSION
FMIC GL 2152 (07/11) - SUBSIDENCE EXCLUSION
FMIC GL 2169 (07/11) - ROOFING OPERATIONS WARRANTIES
FMIC GL 2172 (07/11) - EXCLUSION OF TERRORISM
FMIC GL 2196 (09/11) - EXCLUSION - BLASTING AND USE OF EXPLOSIVES
FMIC GL 2203 (01/12) - BASIS OF PREMIUM ENDORSEMENT
FMIC GL 2215 (12/11) - EXCLUSION - PROD/COMP OPS EXTERIOR INSULATION
IL 00 21 (04/98) - NUCLEAR ENERGY LIABILITY EXCLUSION ENDORSEMENT
IL 09 85 (01/08) - DISCLOSURE PURSUANT TO TERRORISM RISK
FMIC CLAIM NOTIFICATION (12/2006)




Schedule FMIC-END (12/1 OJ                                                                       Page 1 of 1




                                                                                           CICMSJ0151
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                                                                         COMMERCIAL GENERAL LIABILITY
                                                                                        CG 00 0112 07

    COMMERCIAL GENERAL LIABILITY COVERAGE FORM
 Various provisions in this policy restrict coverage.          b. This insurance appies to "bodily injury" and
 Read the entire policy carefully to determine rights,            "property damage" only if:
 duties and what is and is not covered.                          (1) The "bodily injury" or "property damage" is
 Throughout this policy the words "you" and "your'                   caused by an "occurrence" that takes place
 refer to the Named Insured shown in the Declarations,               in the "coverage territory";
 and any other person or organization qualifying as a            (2) The "bodily injury' or "property damage"
 Named Insured under this policy. The words ''we",                   occurs during the policy period; and
 "us" and "our" refer to the company providing this
 insurance.                                                      (3) Prior to the pol icy period, no insured listed
                                                                     under Paragraph 1. of Section II - Who Is
 The word "insured" means any person or organization                 An Insured and no "employee" authorized
 qualifying as such under Section II - Who Is An                     by you to give or receive notice of an
 Insured.                                                            "occurrence" or claim, knew that the "bodily
 other words and phrases that appear in quotation                    injury" or "r:rnperty damage" had occurred,
 marks have special meaning. Refer to Section V -                    in whole or in part. If such a listed insured
 Definitions.                                                        or authorized "employee" knew, prior to the
 SECTION I -COVERAGES                                                policy period, that the "bodily injury" or
                                                                     "property damage" occurred, then any
 COVERAGE A BODILY INJURY AND PROPERTY                               continuation, change or resumption of such
 DAMAGE LIABILITY                                                    "bodily injury" or "property damage" during
 1. lnsu ring Agreement                                              or after the policy period will be deemed to
                                                                     have been known prior to the policy period.
    a. We will pay those sums that the insured
       becomes legally obligated to pay as damages             c. "Bodily injury" or "property damage" which
       because of "bodily injury" or "property damage"            occurs during the policy period and was not,
       to which this insurance applies. We will have              prior to the policy period, known to have
       the right and duty to defend the insured against           occurred by any insured           listed under
       any "suit" seeking those damages. However,                 Paragraph 1. of Section II -Who Is An Insured
       we will have no duty to defend the insured                 or any "employee" authorized by you to give or
       against any "suit" seeking damages for "bodily             receive notice of an "occurrence" or claim,
       injury" or "r:rnperty damage" to which this                includes    any   continuation,     change   or
       insurance does not apply. We may, at our                   resumption of that "bodily injury" or "property
       discretion, irrvestigate any "occurrence" and              damage" after the end of the policy period.
       settle any claim or "suit" that may result. But:        d. "Bodily injury" or "property damage" will be
       (1) The amount we will pay for damages is                  deemed to have been known to have occurred
           limited as described in Section Ill - Limits           at the earliest time when any insured listed
           Of Insurance; and                                      under Paragraph 1. of Section II - Who Is An
                                                                  Insured or any "employee" authorized by you to
       (2) Our right and duty to defend ends when we              give or receive notice of an "occurrence" or
           have used up the applicable limit of
                                                                  claim:
           insurance in the payment of judgments or
           settlements under Coverages A or B or                 (1) Reports all, or any part, of the "bodily injury"
           medical expenses under Coverage C.                        or "property damage" to us or any other
                                                                     insurer;
       No other obligation or liability to pay sums or
       perform acts or services is covered unless                (2) Receives a written or verbal demand or
       expicitly provided for under Supplementary                    claim for damages because of the "bodily
       Payments - Coverages A and B.                                 injury" or "property damage"; or
                                                                 (3) Becomes aware bf any other means that
                                                                     "bodily injury" or "property damage" has
                                                                     occurred or has begun to occur.




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                                                                                                   CICMSJ0152
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 e.Damages because of "bodily injury' include                   c. Liquor Liability
      damages       claimed    by any person          or           "Bodily injury" or "proporty damage" for which
      organization for care, loss of services or death             any insured may be held liable by reason of:
      resulting at any time from the "bodily injury'.
                                                                  (1) Causing or contributing to the intoxication of
 2. Exclusions                                                        any person;
    This insurance does not apply to:                             (2) The furnishing of alcoholic beverages to a
    a. Expected Or Intended Injury                                    porson under the legal drinking age or
       "Bodily injury" or "proporty damage" expected                  under the influence of alcohol; or
       or intended from the standpoint of the insured.            (3) Any statute, ordinance or regulation relating
       This exclusion does not apply to "bodily injury"               to the sale, gift, distribution or use of
       resulting from the use of reasonable force to                  alcoholic beverages.
       protect persons or property.                                This exclusion applies only if you are in the
    b. Contractual Liability                                       business of manufacturing, distributing, selling,
                                                                   serving or furnishing alcoholic beverages.
       "Bodily injury" or "property damage" for which
       the insured is ol)igated to pay damages by               d. Workers' Compensation And Similar Laws
       reason of the assumption of liability in a
                                                                   Any obligation of the insured under a workers'
       contract or agreement. This exclusion does not              componsation,       disability  benefits    or
       apply to liability for damages                              unemployment compensation law or any
       (1) That the insured would have in the absence              si mi lar Iaw
           of the contract or agreement; or                     e. Employer's Liability
       (2) Assumed in a contract or agreement that is              "Bodily injury" to
           an "insured contract", provided the "bodily
           injury" or "property       damage" occurs              (1) An "employee" of the insured arising out of
           subsequent to the execution of the contract                and in the course of:
           or agreement Solely for the purposes of                    (a) Empoyment by the insured; or
           liability assumed in an "insured contract",               (b) Performing duties related to the conduct
           reasonable attorney fees and necessary                          of the insureds business; or
           litigation expenses incurred by or for a party
           other than an insured are deemed to be                 (2) The spouse, child, parent, t:rnther or sister
           damages because of "bodily injury" or                       of that "employee" as a consequence of
           "property damage", provided:                                Paragraph (1) above.
          (a) Liability to such party for, or for the cost         This exclusion applies whether the insured
              of, that partys defense has also been                may be liable as an employer or in any other
              assumed in the same "insured contract";              capacity and to any obligation to share
              and                                                  damages with or repay someone else who
                                                                   must pay damages because of the injury.
          (b) Such attorney fees and litigation
              expenses are for defense of that party               This exclusion does not appy to liability
              against a civil or alternative dispute               assumed by the insured under an "insured
              resolution proceeding in which damages               contract''.
              to which this insurance applies are
              alleged




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f.Pollution                                                           (d) At or from any premises, site or location
      (1) "Bodily injury" or "property damage" arising                    on which any insured or any contractors
          out of the actual, alleged or threatened                        or subcontractors working directly or
          discharge, dispersal, seepage, migration,                       indirectly on any insured's behalf are
          release or escape of "pollutants":                              perforrring operations if the "pollutants"
                                                                          are brought on or to the premises, site
         (a) At or from any premises, site or location                    or location in connection with such
             which is or was at any ti me owned or                        operatbns by such insured, contractor
             occupied by, or rented or loaned to, any                     or    subcontractor.    However,       this
             insured. However, this subparagraph                          subparagraph does not apply to:
             does not apply to:
                                                                            (ij "Bodily injury" or "property damage"
               (i) "Bodily injury' if sustained within a                        arisng out of the escape of fuels,
                   building and caused by smoke,                                luaicants or other operating fluids
                   fumes, vapor or soot produced by or                          whch are needed to perform the
                   originating from equipment that is                           normal     electrical,   hydraulic   or
                   used to hea 1 cool or dehumidify the                         mechanical functions necessary for
                   building, or equipment that is used to                       the operation of "mobile equipment"
                   heat water for personal use, by the                          or its parts, if such fuels, lubricants
                   building's occupants or their guests;                        or other operating fluids escape from
              (ii) "Bodily injury' or "property damage"                         a vehicle part designed to hold, store
                   for which you may t:e held liable, if                        or receive them. This exception does
                   you are a contractor and the owner                           not apply if the "bodily injury" or
                   or lessee of such premises, site or                          "property damage" arises out of the
                   location has been added to your                              intentional discharge, dispersal or
                   pol icy as an additional insured with                        rele,se of the fuels, lubricants or
                   respect to your ongoing operations                           othe- operating fluids, or if such
                   performed for that additional insured                        fues, lurricants or other operating
                   at that premises, site or location and                       fluid; are brought on or to the
                   such p-emises, site or location is not                       premises, site or location with the
                   and never was owned or occupied                              intent that they t:e discharged,
                   by, or rented or loaned to, any                              disr:ersed or released as part of the
                   insured, other than that additional                          ope-ations t:eing performed by such
                   insured; or                                                  insLied, contractor or subcontractor;
              (iii) "Bodily injury' or "property damage"                   (iij "Bodily injury" or "property damage"
                    arising out of heat, smoke or fumes                         sustained within a building and
                    from a "hostile fire";                                      caused by the release of gases,
                                                                                fumes or vapors from materials
         (b) At or from any premises, site or location
                                                                                brought     into that    building    in
             which is or was at any time used by or
                                                                                connection with operations t:eing
             for any insured or others for the
             handling, storage, disposal, processing                            performed by you or on your t:ehalf
             or treatment of waste;                                             by a contractor or subcontractor; or
                                                                           (iiij "Bodily injury" or "property damage"
         (c) Which are or were at any ti me
                                                                                 arisng out of heat, smoke or fumes
             transported, handled, stored, treated,
                                                                                 from a "hostile fire".
             disposed of, or processed as waste by
             or for:                                                   (e) At or from any premises, site or location
                                                                           on which any insured or any contractors
               (i) Any insured; or
                                                                           or subcontractors working directly or
              (ii) Any person or organization for whom                     indirectly on any insured's behalf are
                   you may t:e legally respcnsible; or                     perforrring operations if the operations
                                                                           are to test for, monitor, clean up,
                                                                           removi;    contain, treat, detoxify or
                                                                           neutralize, or in any way respond to, or
                                                                           assess the effects of, "pollutants".




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 (2)Any loss, cost or expense arising out of any:                   (5) "Bodily injury" or "property damage" arising
          (a) Request, demand, order or statutory or                    out of:
              regulatory requirement that any insured                      (a) The     operation   of    machinery    or
              or others test for, monitor, clean up,                           equipment that is attached to, or part of,
              remove, contain, treat, detoxify or                              a land vehicle that would qualify under
              neutralize, or in any way respond to, or                         the definition of "mobile equipment' if it
              assess the effects of, "pollutants"; or                          were not subject to a compulsory or
          (b) Claim or "suit" by or on behalf of a                             financial responsibility law or other
              governmental authority for damages                               motor vehicle insurance law in the state
              because of testing for, monitoring,                              where it is licensed or principally
              cleaning     up, removing, containing,                           garaged; or
              treating, detoxifying or neutralizing, or in                 (b) the operation of any of the machinery or
              any way responding to, or assessing the                          equipment listed in Paragraph q2) or
              effects of, "pollutants".                                        f.(3) of the definition of "moble
           However, this paragraph does not apply to                           equipment".
           liability for damages because of "r:rnperty            h. Mobile Equipment
           damage" that the insured would have in the                "Bodily injury" or "property damage" arising out
           absence of such reques 1 demand, order or                 of:
           statutory or regulatory requirement, or such
           claim or "suit" by or on behalf of a                     (1) The transportation of "mobile equipment" by
           governmental authority.                                      an "auto" owned or operated by or rented or
                                                                        loaned to any insured; or
    g. Aircraft, Auto Or Watercraft
                                                                    (2) The use of "mobile equipment" in, or while
       "Bodily injury" or "property damage" arising out                 in practice for, or while being prepared for,
       of the ownership, maintenance, use or                            any prearranged racing, speed, demolition,
       entrustment to others of any aircraft, "auto" or                 or stunting activity.
       watercraft owned or operated by or rented or
       loaned to any insured. Use includes operation               i. War
       and "loading or unloading".                                   "Bodily injury" or "property damage", however
       This exclusion applies even if the claims                     caused, arising, directly or indirectly, out of:
       against any insured allege negligence or other               (1) War, including undeclared or civil war;
       wrongdoing      in the      supervision,  hiring,
                                                                    (2) Warlike action by a military force, including
       employment, training or monitoring of others by
                                                                        action in hindering or defending against an
       that insured, if the "occurrence" which caused                   actual   or expected      attack, by any
       the "bodily injury" or "property damage"
                                                                        government, sovereign or other authority
       involved the ownership, maintenance, use or                      using military personnel or other agents; or
       entrustment to others of any aircraft, "auto" or
       watercraft that is owned or operated by or                   (3) Insurrection, rebellion, revolution, usurped
       rented or loaned to any insured.                                 power, or action taken by governmental
                                                                        authority in hindering or defending against
       This exclusion does not apply to:
                                                                        any of these.
       (1) A watercraft while ashore on premises you              j. Damage To Property
           own or rent;
                                                                     "Property damage"to:
       (2) A watercraft you do not own that is:
                                                                    (1) Property you own, rent, or occupy, including
          (a) Less than 26 feet long; and
                                                                        any costs or expenses incurred by you, or
          (b) Not being used to carry persons or                        any other person, organization or entity, for
               property for a charge;                                   repair,     replacement,      enhancement,
       (3) Parking an "auto" on, or on the ways next                    restoration or maintenance of such property
           to, premises you own or rent, provided the                   for any reason, including prevention of
           "auto" is not owned by or rented or loaned                   injury to a person or damage to another's
           to you or the insured;                                       property;
       (4) Liability assumed under any "insured                     (2) Premises you sell, give away or abandon, if
           contract" for the ownership, maintenance or                  the "property damage" arises out of any
           use of aircraft or watercraft; or                            part of those premises;
                                                                    (3) Property loaned to you;
                                                                    (4) Personal property in the care, custody or
                                                                        control of the insured;

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 (5)That particular part of real property on which you or           This exclusion does not apply to the loss of use
           any contractors or subcontractors working                of other property arising out of sudden and
           directly or indirectly on your behalf are                accidental physical injury to "your product" or
           performing operations, if the "r:rnperty                 ''your work" after it has been put to its intended
           damage" arises out of those operations; or               use.
       (6) That particular part of arry property that            n. Recall Of Products, Work Or Impaired
           must be restored, repaired or replaced                   Property
           because ''your work" was incorrectly                     Damages claimed for any loss, cost or
           performed on it                                          expense incurred by you or others for the loss
       Paragraphs (1 ), (3) and (4) of this exclusion do            of use, withdrawal, recall, inspection, repair,
       not apply to "property damage" (other than                   replacement, adjustment, removal or disposal
       damage by fire) to premises, including the                   of:
       contents of such premises, rented to you for a              (1) "Your product";
       period of 7 or fewer consecutive days. A
       separate limit of insurance applies to Damage               (2) "Your work"; or
       To Premises Rented To You as described in                   (3) "Impaired property";
       Section Ill- Limits Of Insurance.
                                                                    if such product, work, or property is withdrawn
       Paragraph (2) of this exclusion does not apply               or recalled from the market or from use by any
       if the premises are "your work" and were never               person or organization because of a known or
       occupied, rented or held for rental by you.                  suspected defect, deficiency, inadequacy or
       Paragraphs (3), (4), (5) and (6) of this                     dangerous condition in it
       exclusion do not apply to liability assumed               o. Personal And Advertising Injury
       under a sidetrack agreement.                                 "Bodily injury' arising out of "personal and
       Paragraph (6) of this exclusion does not apply               advertising injury".
       to "property damage" included in the "products-           p. Electronic Data
       completed operations hazard".
                                                                    Damages arising out of the loss of, loss of use
    k. Damage To Your Product
                                                                    of, damage to, corruption of, inability to access,
       "Property damage" to "your product" arising out              or inability to manipulate electronic data.
       of it or any part of it
                                                                    As used in this exclusion, electronic data
     I. Damage To Your Work                                         means information, facts or programs stored as
       "Property damage" to ''your work" arising out of             or on, created or used on, or transmitted to or
       it or any part of it and included in the "products-          from computer software, including systems and
       completed operations hazard".                                applications software, hard or floppy disks, CD-
                                                                    ROMS, tapes, drives, cells, data processing
       This exclusion does not apply if the damaged                 devices or any other media which are used
       work or the work out of which the damage                     with electronically controlled equipment.
       arises was performed on your behalf by a
       subcontractor.                                            q. Distribution Of Material In Violation Of
                                                                    Statutes
   m. Damage To Impaired Property Or Property
      Not Physically Injured                                        "Bodily injury" or "property damage" arising
                                                                    directly or indirectly out of any action or
       "Property damage" to "impaired property" or                  omission that violates or is alleged to violate:
       property that has not been physically injured,
       arising out of:                                             (1) The Telephone Consumer Protection Act
                                                                       (TCPA), including any amendment of or
       (1) A defect, deficiency,    inadequacy   or                    addition to such law; or
           dangerous condition in "your product" or
           "yourwork'';or                                          (2) The CAN-SPAM Act of 2003, including any
                                                                       amendment of or addition to such law; or
       (2) A delay or failure bf you or anyone acting
           on your behalf to perform a contract or                 (3) Any statute, ordinance or regulation, other
           agreement in accordance with its terms.                     than the TCPA or CAN-SPAM Act of 2003,
                                                                       that prohibits or limits the sending,
                                                                       transmitting, communicating or distribution
                                                                       of material or information.




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   Exclusions c. through n. c!J not apply to damage             c. Material Published Prior To Policy Period
   by fire to premises while rented to you or                      "Personal and advertising injury' arising out of
   temporarily occupied by you with permission of the              oral or written publication of material whose
   owner. A separate limit of insurance applies to this            first publication took pace before the beginning
   coverage as described in Section Ill - Limits Of                of the policy period.
   lnsurarce.
                                                                d. Criminal Acts
COVERAGE B PERSONAL AND ADVERTISING
INJURY LIABILITY                                                   "Personal and advertising injury' arising out of
                                                                   a criminal act committed by or at the direction
1. lnsu ring Agreement                                             of the insured
   a. We will pay those sums that the insured                   e. Contractual Liability
      becomes legally ol) igated to pay as damages
      because of "personal and advertising injury" to              "Personal and advertising injury" for which the
      which this insurance applies. We will have the               insured has assumed liability in a contract or
      right and duty to defend the insured against                 agreement. This exclusion c!Jes not appy to
      any "suit" seeking those damages. However,                   liability for damages that the insured would
      we will have no duty to defend the insured                   have in the abserce of the contract or
      against any "suit' seeking damages for                       agreement.
      "parsonal and advertising injury" to which this           f. Breach Of Contract
      insurance does not apply. We may, at our
                                                                   "Personal and advertising injury' arising out of
      discretion, investigate any offense and settle
                                                                   a breach of contrac 1 except an implied
      any claim or 'suit" that may result. But:
                                                                   contract to use anothers advertising idea in
     (1) The amount we will pay for damages is                     your "advertisement".
         limited as described in Section Ill - Limits
                                                                g. Quality Or Pafonnance Of Goods - Failure
         Of Insurance; and
                                                                   To Conform To Statements
     (2) Our right and duty to defend end when we
                                                                   "Personal and advertising injury' arising out of
         have used up the applicable limit of
                                                                   the failure of goods, products or services to
         insurance in the payment of judgments or                  conform with any statement of quality or
         settlements under Coverages A or B or
                                                                   parformance rrade in your "advertisement".
         medical expenses under Coverage C.
                                                                h. Wrong Description Of Prices
      No other obligation or liability to pay sums or
      perform acts or services is covered unless                   "Personal and advertising injury' arising out of
      explicitly provided for under Supplementary                  the wrong description of the price of goods,
      Payments- Coverages A and B.                                 products    or services     stated     in your
                                                                   ''advertisemert''.
   b. This insurance applies to "parsonal and
      advertising injury' caused by an offense arising          i. Infringement Of Copyright, Patent,
      out of your business but only if the offense was             Trademark Or Trade Secret
      committed in the "coverage territory" during the             "Personal and advertising injury' arising out of
      policy period.                                               the    infringement    of    copyright,    paten 1
2. Exclusions                                                      trademark, trade secret or other intellectual
                                                                   property rights. Under this exclusion, such
   This insurance does not apply to:
                                                                   other intellectual proparty rights do not include
   a. Knowing Violation Of Rights Of Another                       the use of another's advertising idea in your
      "Personal and advertising injury" caused by or               ''advertisemert''.
      at the direction of the insured with the                     However, this exclusion does not apply to
      knowledge that the act would violate the rights              infringement, in your "advertisement", of
      of another and would inflict "personal and                   copyright, trade dress or slogan.
      advertising injury".
                                                                j. Insureds In 1\/ladiaAnd Internet Type
   b. Material Published With Knowledge Of                         Businesses
      Falsity
                                                                   "Personal and advertising injury" committed by
      "Personal and advertising injury" arising out of             an insured wrose business is:
      oral or written publication of material, if done by
                                                                  (1) Advertising    broadcasting,   pul)ishing   or
      or at the direction of the insured with
                                                                      telecasting;
      knowledge of its falsity.
                                                                  (2) Designing or determining content of web-
                                                                      sites for others; or


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     (3) An Internet search,     access,   content    or          (3) lnsurrectim, rebellion, revolution, usurped
         service provider.                                            power, or action taken by governmental
      However, this exclusion does not apply to                       authority in hindering or defending against
      Paragraphs 14.a., b. and c. of "personal and                    any of these.
      advertising injury'  under the Definitions                p. Distribution a Material In Violation Of
      Section.                                                     Statutes
     For the purposes of this exclusion, the placing               "Personal and advertising injury" arising
     of frames, oorders or links, or advertising, for              directly or irdirectly out of any action or
     you or others anywhere on the Internet, is not                omission that violates or is alleged to violate:
     by itself, considered      the business       of             (1) The Telepione Consumer Protection Act
     advertising,  broadcasting,     publishing    or                 (TCPA), including any amendment of or
     telecasting.                                                     addition to such law; or
   k. Electronic Ch at rooms Or Bulletin Boards                   (2) The CAN-SPAM Act of 2003, including any
      "Personal and advertising injury" arising out of                amendment of or addition to such law; or
      an electronic chatroom or bulletin board the
                                                                  (3) Any statute, ordinance or regulation, other
      insured hosts, owns, or over which the insured                  than the TCPA or CAN-SPAM Act of 2003,
      exercises control.
                                                                      that r:rnhibits or limits the sending,
   I. Unauthorized Use Of Another's Name Or                           transmitting, communicating or distribution
      Product                                                         of material or information.
     "Personal and advertising injury" arising out of       COVERAGE C MEDICAL PAYMENTS
     the unauthorized use of another's name or              1. Insuring Agreement
     product in your e-mail address, domain name
     or metatag, or any other similar tactics to                a. We will pay medical expenses as described
     mislead another's potential customers.                        below for "oodly injury" caused by an accident:
  m. Pollution                                                    (1) On premises you own or rent;
     "Personal and advertising injury" arising out of             (2) On ways rext to premises you own or rent;
     the actual, alleged or threatened discharge,                     or
     dispersal, seepage, migration, release or                    (3) Because d your operations;
     escape of"pollutants" at any time.
                                                                   provided Iha t:
   n. Pollution-Related                                               (a) The accident takes place in the
      Any loss, cost or expense arising out of any:                       "cover2ge territory" and during the policy
     (1) Request, demand, order or statutory or                           period;
         regulatory requirement that any insured or                  (b) The expenses are incurred and reported
         others test for, monitor, clean up, remove,                      to us within one year of the date of the
         contain, trea 1 detoxify or neutralize, or in                    accidert; and
         any way respond to, or assess the effects
                                                                      (c) The    injured   person   submits    to
         of, "pollutants"; or
                                                                          examiration,   at our expense,      by
     (2) Claim or suit by or on behalf of a                               physicans of our choice as often as we
         governmental      authority   for  damages                       reasorably require.
         because of testing for, monitoring, cleaning
                                                                b. We will make these payments regardless of
         up,     removing,     containing,   treating,
                                                                   fault. These payments will not exceed the
         detoxifying or neutralizing, or in any way
                                                                   applicable limit of insurance. We wi II pay
         responding to, or assessing the effects of,
                                                                   reasonable expenses for:
         "pollutants".
                                                                  (1) First aid administered    at the time of an
   o. War
                                                                      accident;
      "Personal and advertising injury", however                  (2) Necessary medical, surgical,      x-ray and
      caused, arising, directly or indirectly, out of:
                                                                      dental    services, including      r:rnsthetic
     (1) War, including undeclared or civil war;                      devices; and
     (2) Warlike action bf a military force, including            (3) Necessary         ambulance,        hospital,
         action in hindering or defending against an                  professional nursing and funeral services.
         actual or expected        attack,   by any
         government, sovereign or other authority
         using military personnel or other agents; or



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 2. Exclusions                                                    f. R"ej udgment   irterest awarded against the
    We wil I not pay expenses for "bodily injury":                   insured on that part of the judgment we pay. If
                                                                     we make an offer to pay the applicable limit of
    a. Any Insured                                                   insurance, we will not pay any prejudgment
       To any insured, except "volunteer workers".                   interest based on that period of time after the
    b. Hired Person
                                                                     offer.
                                                                 g. Al I interest on the full amount of any judgment
       To a person hired to do work for or on behalf of
                                                                    that accrues after entry of the judgment and
       any insured or a tenant of any insured.
                                                                    before we have paid, offered to pay, or
    c. Injury On Normally Occupied Premises                         deposited in co LIi the part of the judgment that
       To a person injured on that part of premises                 is within the applicable limit of insurance.
       you own or rent that the person normally                  These payments will not reduce the limits of
       occupies.                                                 insurance.
    d. Workers Compensation And Similar Laws                  2. If we defend an i rsured against a 'suit" and an
       To a person, whether or not an "employee" of              indemnitee of the insured is also named as a party
       any insured, if benefits for the "b:Jdily injury"         to the "suit", we will defend that indemnitee if all of
       are payable or must be provided under a                   the following conditions are met:
       workers' compensation or disability benefits              a. The "suit" against the indemnitee seeks
       law or a similar law.                                        damages for which the insured has assumed
    e. Athletics Activities                                         the liability of the indemnitee in a contract or
                                                                    agreement that is an "insured contract";
       To a person injured while practicing, instructing
       or partici paling in any physical exercises or            b. This insurance applies          to    such   liability
       games, sports, or athletic contests.                         assumed by the insured;
    f. Products-Completed Operations Hazard                      c. The obligation to defend, or the cost of the
                                                                    defense of, Iha: indemnitee, has also been
       Included   within   the      "products-completed
                                                                    assumed by the insured in the same "insured
       operations hazard".                                          contract'';
    g. Coverage A Exclusions                                     d. The allegations in the "suit" and the information
       Excluded under Coverage A.                                   we know about the "occurrence" are such that
 SUPPLEMENTARY PAYMENTS - COVERAGES A                               no conflict ar:pears to exist between the
 ANDB                                                               interests of the insured and the interests of the
                                                                    indemnitee;
 1. We will    pay, with respect to any claim we
    investigate or settle, or any "suit" against an              e. The indemnitee and the insured ask us to
    insured we defend:                                              conduct and control the defense of that
                                                                    indemnitee against such "suit'' and agree that
    a. All expenses we incur.                                       we can assign the same counsel to defend the
    b. Up to $250 for cost of bail bonds required                   insured and the indemnitee; and
       because of accidents or traffic law violations             f. The indemnitee:
       arising out of the use of any vehicle to which
       the Bodily Injury Liability Coverage applies. We             (1) Agrees in wnting to
       do not have to furnish these b:Jnds.                               (a) Cooperate with us in the investigation,
    c. The cost of bonds to release attachments, but                          settlemert or defense of the "suit";
       only for b:Jnd amounts within the applicable                       (b) Immediately send us copies of any
       limit of insurance. We do not have to furnish                          demands, notices, summonses or legal
       these bonds.                                                           papers rECeived in connection with the
    d. All  reasonable expenses i rcurred by the                              "suit";
       insured at our request to assist us in the                         (c) Notify any other insurer whose coverage
       investigation or defense of the claim or "suit",                       is available to the indemnitee; and
       including actual loss of earnings up to $250 a
                                                                          (d) Cooperate with us with respect to
       day because of time off from work.                                     coordinating other applicable insurance
    e. All court costs taxed against the insured in the                       available to the indemnitee; and
       "suit". However, these payments do not include
                                                                    (2) Provides us with written authorization to:
       attorneys' fees or attorneys' expenses taxed
       against the insured.                                               (a) Obtain records and other information
                                                                              related to the "suit"; and


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 (b)Condu:t and control the defense of the indemnitee        2. Each of the following is also an insured:
             in such "suit".                                    a. Your "vol unteerworkers" only while performing
    So long as the above conditions are met,                       duties related to the conduct of your business,
    attorneys' fees incurred by us in the defense of               or your "emplOfees", other than either your
    that indemnitee, necessary litigation expenses                 "executive officers" (if you are an organization
    incurred by us and necessary litigation expenses               other than a partnership, joint venture or limited
    incurred by the indemnitee at our request wi II be             liab lily company) or your managers (if you are
    paid        as       Supplementary     Payments.               a limited liabi lily company), but only for acts
    Notwithstanding the provisions of Paragraph                    within the scope of their employment by you or
    2.b.(2) of Section I - Coverage A - Bodily Injury              while performing duties related to the conduct
    And R"operty Damage Liability, such payments will              of your businESs. However, non= of these
    not be deemed to be damages for "bodily injury"                "employees"       or "volunteer   workers" are
    and "property damage" and will not reduce the                  insureds for:
    limits of insurance.                                           (1) "Bodily injury' or "personal and advertising
    Our obi igation to defend an insured's indemnitee                  injury"
    and to pay for attorneys' fees and n=cessary
                                                                         (a) To you, to your partners or members (if
    litigation expenses as Supplementary Payments                            you are a partnership or joint venture),
    ends when we have used up the applicable limit of
                                                                             to your members (if you are a Ii mited
    insurance in the payment of judgments or                                 liability ocmpany), to a co-"employee"
    settlements or the conditions set forth above, or                        while in the course of his or her
    the terms of the agreement described in                                  employrrent or performing dU[ies related
    Paragraph f. above, are no longer met.                                   to the conduct of your business, or to
 SECTION II -WHO 15 AN INSURED                                               your other "volunteer workers" while
 1. If you are designated in the Declarations as:                            performi rg dU[ies related to the conduct
                                                                             of your bLSiness;
    a. An individual, you and your spouse are
       insureds, but only W[h respect to the conduct                     (b) To the srnuse, child, parent, brother or
       of a business of which you are the sole owner.                        sister    of that     co-"employee"    or
                                                                             '\/oluntee- worker" as a consequence of
    b. A partnership or joint venture, you are an                            Paragraph (1)(a) above;
       insured. Your members, your partn=rs, and
       their spouses are also insureds, but only with                    (c) For which there is any obligation to
       respect to the conduct of your business.                              share damages with or repay someone
                                                                             else who must pay damages because of
    c. A Iimited liability company, you are an insured.                      the injury described in Paragraphs (1 )(a)
       Your members are also insureds, but only with                         or (b) abcve; or
       respect to the conduct of your business. Your
       managers are insureds, but only with respect                      (d) Arising out of his or her providing or
       to their duties as your managers.                                     failing to provide r:rnfessional health
                                                                             care services.
    d. An organization other than a partnership, joint
       venture or Ii mited liability company, you are an           (2) "Property damage" to property
       insured. Your "executive officers" and directors                  (a) Own=d, occupied or used by,
       are insureds, but only with respect to their                      (b) Rented to, in the care, custody or
       dU[ies as your officers or directors. Your                            control o( or over which physical control
       stockholders are also insureds, but only with                         is being exercised for any purpose by
       respect to their liability as stockholders.
                                                                          you, any of your "employees", "volunteer
    e. A trus 1 you are an insured. Your trustees are                     workers", any partner or member (if you are
       also insureds, but only with respect to their                      a partnership or joint venture), or arry
       dU[ies as trustees.                                                member (if you are a limited liability
                                                                          company).




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    b. Any person (other than your "employee" or              3. The Products-Completed Operations Aggregate
        "volunteer worker'), or any organization while           Limit is the most we will pay under Coverage A for
        acting as your real estate manager.                      damages because of "bodily injury" and "property
    c. Any person or organization having proper                  damage" included in the "products-completed
       temporary eustacy of your property if you die,            operations hazard".
       but only                                               4. Sut:ject to Paragraph 2. above, the Personal and
       (1) With respoct to liability arising out of the          Advertising Injury Li mil is the most we will pay
           maintenance or use of that property; and              under Coverage B for the sum of all damages
                                                                 because of all "personal and advertising injury"
       (2) Until your legal representative      has been         sustained by any one person or organization.
           appointed.
                                                              5. Sut:ject to Paragraph 2. or 3. above, whichever
    d. Your legal representative if you die, but only            applies, the Each Ctcurrence Limit is the most we
       with respect to duties as such. That                      will pay for the sum of:
       representative will have all your rights and
       duties under this Coverage Part                           a. Damages under Coverage A; and
 3. Any organization you newly acquire or form, other            b. Medical expenses under Coverage C
    than a partnership, joint venture or limited I iability      because of all 'bodily injury" and "property
    company, and over which you maintain ownership               damage" arising out of any one "occurrence".
    or majority interest, will qualify as a Named             6. Sut:ject to Paragraph 5. above, the Damage To
    Insured if there is no other similar insurance               Premises Rented To You Limit is the most we will
    avail able to that organization. However:                    pay under Coverage A for damages because of
    a. Coverage under this provision is afforded only            "proporty damage" to any one premises, while
       until the 9oth day after you acquire or form the          rented to you, or in the case of damage by fire,
       organization or the end of the policy period,             while rented to you or temporarily occupied by you
       whichever is earlier;                                     with permission oflhe owner.
    b. Coverage A does not apply to "bodily injury" or        7. Sut:ject to Paragraph 5. above, the Medical
        "property damage" that occurred before you               Expense Limit is the most we will pay under
        acquired or formed the organization; and                 Coverage C for all medical expenses because of
    c. Coverage B does not apply to "personal and                "bodily injury"sustaned by any one person.
       advertising inJury" arising out of an offense          The Limits of lnsuranoe of this Coverage Part apply
       committed before you acquired or formed the            separately to each corsecutive annual period and to
       organization.                                          any remaining poriod d less than 12 months, starting
 No porson or organization is an insured with respect         with the beginning of the policy period shown in the
 to the conduct of any current or past partnership, joint     Declarations, unless the policy period is extended
 venture or limited liability company that is not shown       after issuance for an additional period of less than 12
 as a Named Insured in the Declarations.                      months. In that case, the additional period will be
                                                              deemed part of the last preceding period for purposes
 SECTION Ill - LIMITS OF INSURANCE                            of determining the Limls of Insurance.
 1. The Limits of Insurance shown in the Declarations         SECTION IV-COMMERCIAL          GENERAL LIABILITY
    and the rules below fix the most we will pay              CONDITIONS
    regardless of the number of:
                                                              1. Bankruptcy
    a. Insureds;
                                                                 Bankruptcy or insdvency of the insured or of the
    b. Claims made or "suits" brought; or                        insured's estate wi II not relieve us of our
    c. Persons or organizations       making claims or           obligations under ths Coverage Part.
       bringing "suits".                                      2. Duties In The Event Of Occurrence, Offense,
 2. The General Aggregate Limit is the most we will              Claim Or Suit
    pay for the sum of:                                          a. You must see to it that we are notified as soon
    a. Medical expenses under Coverage C;                           as practicable of an "occurrence" or an offense
                                                                    which may result in a claim. To the extent
    b. Damages under Coverage A, except damages
                                                                    possible, notice should include:
        because of "bodily injury" or "property damage"
        included in the "products-completed operations              (1) How, when and where the "occurrence" or
        hazard"; and                                                    offense took place;
    c. Damages under Coverage B.                                              (2) The names and addresses of any
                                                                                  injured persons and witnesses;
                                                                                  and

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  (3)Tre nature and location of any injury or damage         4. Other Insurance
           arising out of the "occurrence" or offense.          If other valid and collectible insurance is available
     b. If a claim is made or "suit" is brought against         to the insured for a loss we cover under
        any insured, you must:                                  Coverages A or B of this Coverage Part, our
       (1) Immediately record the specifics of the              obligations are limited as follows:
           claim or 'suit" and the date received; and           a. Primary Insurance
       (2) Notify us as soon as practicable.                       This insurance is primary except when
        You must see to it that we receive written                 Paragraph b. below applies. If this insurance is
        notice of the claim or "suit" as soon as                   primary, our obligations are not affected uni ess
        practicable.                                               any of the other insurance is also primary.
                                                                   Then, we will share with all that other
     c. You and any other involved insured must:                   insurance by the method described               in
       (1) Immediately send us copies of any                       Paragraph c. below.
           demands, notices, summonses or legal                 b. Excess Insurance
           papers received in connection with the
           claim or ''suit";                                       (1) This insurance is excess over:
       (2) Authorize us to attain   records and other                   (a) Any of the other insurance, whether
           information;                                                     primary, excess, contingent or on any
                                                                            other basis:
       (3) Cooperate with us in the i rrvestigation or
           settlement of the claim or defense against                       (i) That is Fire, Extended Coverage,
           the "suit";and                                                       Builder's Risk, Installation Risk or
                                                                                similar coverage for"yourwork";
       (4) Assist us, upon our request, in the
           enforcement of any right against any                            (ii) That is Fire insurance for premises
           person or organization which may be liable                           rented to you       or temporarily
           to the insured because of injury or damage                           occupied by you with permission of
           to which this insurance may also apply.                              the owner;

     d. No insured will, excep: at that i nsured's own                     (iii) That is insurance purchased by you
        cost, voluntarily make a payment, assume any                             to cover your liability as a tenant for
        obligation, or incur any expense, other than for                         "proporty damage" to premises
        first aid, without our consent.                                          rented to you          or temporarily
                                                                                 occupied by you with permission of
  3. Legal Action Against Us                                                     the owner; or
     No person or organization has a right under this                      (iv) If the loss arises out of the
     Coverage Part:                                                             maintenance or use of aircraft
     a. To join us as a party or otherwise bring us into                        "autos" or watercraft to the extent not
        a "suit" asking for damages from an insured; or                         subject to Exel usion g. of Section I -
                                                                                Coverage A - Bodily Injury And
     b. To sue us on this Coverage Part unless all of
                                                                                R"operty Damage Liability.
        its terms have been fully complied with.
     A person or organization may sue us to recover on                  (b) Any other primary insurance available to
                                                                            you covering liability for damages
     an agreed settlement or on a final judgment
                                                                            arising out of the            premises or
     against an insured; but we will not be liable for
                                                                            operations,     or the      p-oducts     and
     damages that are not payable under the terms of
                                                                            completed oporations, for which you
     this Coverage Part or that are in excess of the
                                                                            have been added as an additional
     applicable limit of insurance. An agreed settlement
                                                                            insured      by     attachment       of   an
     means a settlement and release of liability signed
     by us, the insured and the claimant or the                             endorsement.
     claimants legal representative.                                           (2) When this insurance is excess,
                                                                                   we will have no duty under
                                                                                   Coverages A or B to defend the
                                                                                   insured against any "suit" if any
                                                                                   other insurer has a duty to defend
                                                                                   Ire insured against that 'suit". If
                                                                                   no other insurer defends, we will
                                                                                   undertake to do so, but we will be
                                                                                   entitled to the ins ured's rights
                                                                                   against all those other insurers.

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 (3)When    this insurance is excess over other                    c. We have issued this policy in reliance upon
           insurance, we will pay only our share of the               your representations.
           amount of the loss, if any, that exceeds the         7. Separation Of Insureds
           sum of:
                                                                   Except with respect to the Limits of Insurance, and
           (a) The total amount that all such other                any rights or duties specifically assigned in this
               insurance would pay for the loss in the             Coverage Part to the first Named Insured, this
               absence of this insurance; and                      insurance applies:
           (b) The total of all deductibleand self-                a. As if each Named Insured were the only
               insured amounts under all that other                   Named Insured; and
               insurance.
                                                                   b. Separately to each insured against whom claim
      (4) We will share the remaining loss, if any,                   is made or "suit' is brought
          with any other insurance that is not
          descrired    in this   Excess     Insurance           8. Transfer Of Rights Of Recovery Against Others
          provision and was not b:Jught specifically to            To Us
          apply in excess of the Limits of Insurance               If the insured has rights to recover all or part of
          shown in the Declarations of this Coverage               any payment we have made under this Coverage
          Part                                                     Part, those rights are transferred to us. The
    c. Method Of Sharing                                           insured must do ncthing after loss to impair them.
                                                                   At our request, the insured will bring "suit" or
       If all of the other insurance permits contribution          transfer those rights to us and help us enforce
       by equal shares, we will follow this method                 them
       also. Under this approach each insurer
       contributes equal amounts until it has paid its          9. When We Do Not Renew
       applicable limit of insurance or none of the loss           If we decide not to renew this Coverage Part, we
       remains, whichever comes first                              will mail or delive- to the first Named Insured
       If any of the other insurance does not permit               shown in the Dedarations written notice of the
       contribution by equal shares, we will contribute            nonrenewal not less than 30 days before the
       by limits. Under this method, each insurer's                expiration date.
       share is based on the ratio of its applicable              If notice is mailed, proof of mailing wil I re sufficient
       limit of insurance to the total applicable limits of       proof of notice.
       insurance of all insurers.
                                                                SECTION V- DEFINITIONS
 5. Premium Audit                                               1. "Advertisement' means a notice that is broadcast
    a. We will compute all premiums for this                       or published to the general pul)ic or specific
       Coverage Part in accordance with our rules                  market segments about your goods, products or
       and rates.                                                  services for the purpose of attracting customers or
    b. Premium shown in this Coverage Part as                      supporters. For the purp::,ses of this definition:
       advance premium is a deposit premium only.                  a. Notices that are published include material
       At the close of each audit period we will                      placed on the Internet or on similar electronic
       compute the earned premium for that period                     means of communication; and
       and send notice to the first Named Insured.
                                                                   b. Regarding web-sites, only that part of a web-
       The due date for audit and retrospective
                                                                      site that is at:out your goods, p-oducts or
       premiums is the date shown as the due date
                                                                      services for the purposes of attracting
       on the bill. If the sum of the advance and audit
                                                                      customers or supporters is considered an
       premiums paid for the policy period is greater
                                                                      advertisement.
       than the earned premium, we will return the
       excess to the first Named Insured.                       2. "Auto" means:
    c. The first Named Insured must keep records of                a. A land motor vehicle, trailer or semitrailer
       the information    we need for premium                         designed for tratel on public roads, including
       computation, and send us copes at such times                   any attached machinery or equipment; or
       as we may request                                           b. Any other land vehicle that is subject to a
 6. Representations                                                   compulsory or financial resp::,nsibility law or
                                                                      other motor vehicle insurance law in the state
    By accepting this p::,licy, you agree:
                                                                      where it is licensed or principally garaged.
    a. The statements in the           Declarations    are         However, "auto"        does    not   include    "mobile
       accurate and complete;
                                                                   equipment".
    b. Those     statements    are    based           up::,n
       representations you made to us; and

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 3. "B:Jdily injury" means bodily injury, sickness or          9. "Insured contract" means:
    disease sustained by a person, including death                a. A contract for a lease of premises. However,
    resulting from any of these at any time.                         that portion of the contract for a lease of
 4. "Coverage territory" means:                                      premises that indemnifies any person or
    a. The United States of America (including its                   organization for damage by fire to premises
       territories and possessions), Puerto Rico and                 while rented to you or temporarily occupied bf
       Canada;                                                       you with permssion of the owner is not an
                                                                     ''insuredcontract'';
    b. International waters or airspace, but only if the
       injury or damage occurs in the course of travel            b. A sidetrack agrEEment;
       or transportation between any places included              c. Any easement a license agreement, except in
       in Paragraph a. abcve; or                                     connection with construction or demolition
    c. All other parts of the world if the injury or                 operations on orwithin 50 feet of a railroad;
       damage arises out of:                                      d. An obligation, as required by ordinance, to
      (1) Goods or products made or sold by you in                   indemnify a municipality, except in connection
          the territory described in Paragraph a.                    with work for a municipality;
          above;                                                  e. An elevator maintenance agreement;
      (2) The activities of a person whose home is in             f. That part of any other contract or agreement
          the territory described in Paragraph a.                    pertaining to your business (including an
          above, but is away for a short time on your                indemnification of a municipality in connection
          business; or                                               with work performed for a municipality) under
      (3) "Personal and advertising injury" offenses                 which you assume the tort liability of another
          that take place through the Internet or                    party to pay fa "bcdily injury' or "property
          similar electronic means of communication                  damage" to a thrd person or organization. Tort
                                                                     liablity means a liability that would be imposed
    provided the insured's responsibility to pay                     by law in the absence of any contract or
    damages is determined in a "suit" on the merits, in              agreement.
    the territory described in Paragraph a. above or in
    a settlement we agree to.                                        Paragraph f. does not include that part of any
                                                                     contract or agreement:
 5. "Employee"      includes     a    "leased     worker".
    "Employee"     does not     include    a    'temporary          (1) That indemnifies a railroad for "bodily injury"
    worker''.                                                           or "property damage" arising out of
                                                                        construction or demolition operations, within
 6. "Executive officer" means a person holding any of                   50 feet of any rai Iroad property and
    the officer positions created by your charter,                      affecting any railroad bridge or trestle,
    constitution, by-laws or any other similar governing                tracks, road-beds, tunnel, underpass or
    document.                                                           crossing;
 7. "Hostile fire" means one which becomes                          (2) That indemnifies an architec 1 engineer or
    uncontrollable or breaks out from where it was                      surveyor for injury or damage arising out of:
    intended to be.
                                                                           (a) Preparing approving, or failing to
 8. "Impaired property' means tangible property, other                         prepare or approve,        maps, shop
    than ''your product" or ''your work", that cannot be                       drawings, opinions, reports, surveys,
    used or is less useful because:                                            field orde-s, change orders or drawings
    a. It incorpcrates "your product" or "your work"                           and specifications; or
       that is known or thought to be defective,                           (b) Giving drections or instructions, or
       deficient, inadequate or dangerous; or                                  failing to give them, if that is the primary
    b. You have failed to fulfill the terms of a contract                      cause of the injury or damage; or
       or agreement;                                                (3) Under which the insured, if an architect,
    if such property can be restored to use by the                      engineer or surveyor, assumes liablity for
    repair, replacement, adjustment or removal of                       an injury or damage arising out of the
    "your product" or ''your work'.' or your fulfilling the             insured's rfflderi ng or failure to render
    terms of the contract or agreement.                                 professional services, including those listed
                                                                        in (2) above and supervisory, inspection,
                                                                        architectural or engineering activities.




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 10. "Leased worker" means a person leased to you by               However, self-propelled vehicles with the
     a labor leasing firm under an agreement between               following types of permanently         attached
     you and the labor leasing firm, to perform duties             equi p-nent are not "mobile equip-nent" but will
     related to the condu:t of your business. "Leased              be considered "autos":
     worker"does not include a 'temporary worker".                (1) Equipment designed primarily for
 11. "Loading or unloading" means the handling of                        (a) Snow removal;
     property
                                                                         (b) Road mantenance, but not construction
    a. After it is moved from the place where it is                          or resurfacing; or
       accepted for movement into or onto an aircraft,
       watercraft or "auto";                                             (c) Street cleaning;
    b. While it is in or on an aircraf 1 watercraft or            (2) Cherry picke-s and similar devices mounted
       "auto";or                                                      on automoble or truck chassis and used to
                                                                      raise or lower workers; and
    c. While it is being moved from an aircraft,
       watercraft or "auto" to the place where it is              (3) Air compressors, pumps and generators,
       finally delivered;                                             including   sp-aying,   welding,   building
                                                                      cleaning, gSJphysical exploration, lighting
    but "loading or unloading" does not include the                   and well servicing equipment
    movement of property by means of a mechanical
    device, other than a hand truck, that is not                However, "mobile equipment" does not include
    attached to the aircraft, watercraft or "auto".             any land vehicles trat are subject to a compulsory
                                                                or financial responsibility law or other motor
 12 "Mobile equipment" means any of the following               vehicle insurance law in the state where it is
    types of land vehicles, including any attached              licensed or principally garaged. Land vehicles
    machinery or equipment:                                     subject to a compulsory or financial responsibility
    a. Bui ldozers, farm machinery, forklifts and other         law or other motor vehicle insurance law are
       vehicles designed for use p-incipally off pubic          considered "autos".
       roads;                                                13. "Occurrence" means an accident,       including
    b. Vehicles maintained for use solely on or next to          continuous or repeated exposure to substantially
       premises you own or rent;                                 the same general rarmful conditions.
    c. Vehicles that travel on crawler treads;               14."Personal and advertising injury" means injury,
    d. Vehicles, whether    self-propelled or not,              including consequential "bodily injury", arising out
       maintained primarily to provide mobility to              of one or more of the following offenses:
       permanently mounted:                                     a. False arrest, detention or imprisonment;
      (1) Power cranes, shovels, loaders, diggers or            b. Malicious prosecution;
          drills; or                                            c. The wrongful eviction from, wrongful entry into,
      (2) Road construction or resurfacing equi p-nent             or invasion of the right of private occupancy of
          such as graders, scrapers or rollers;                    a room, dwelling or premises that a person
                                                                   occupies, committed by or on behalf of its
    e. Vehicles not described in Paragraph a., b., c.
                                                                   owner, landlord or lessor;
       or d. above that are not self-propelled and are
       maintained primarily to provide mobility to              d. Oral or written publication, in any manner, of
       permanently      attached equipment     of the              material that slanders or libels a person or
       fol lowing types                                            organization or disparages a person's or
      (1) Air compressors, pumps and generators,                   organization's goods, products or services;
          including    spraying,    welding, building           e. Oral or written publication, in any manner, of
          cleaning, geophysical exploration, lighting              material that violates a person's right of
          and wel I servicing equipment; or                        privacy;
      (2) Cherry pickers and similar devices used to             f. The use of ancther's advertising idea in your
          raise or lower workers;                                  "advertisement";or
    f. Vehicles not described in Paragraph a., b., c.           g. Infringing upon another's copyright, trade dress
       or d. above maintained primarily for purposes               or slogan in yo LI "advertisement".
       other than the transportation of persons or
       cargo.




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 15. "Pollutants" mean any solid, liquid, gaseous or             b. Loss of use of tangil)e property that is not
     thermal irritant or contaminant, including smoke,              physically injurs:J. All such loss of use shall be
     vapor, soot, fumes, acids, alkalis, chemicals and              deemed to occur at the ti me of the
     waste. Waste includes materials to be recycled,                "occurrence" that caused it.
     reconditioned or reclaimed.                                 For the purposes d this insurance, electronic data
 16. ''R"oducts-competed operations hazard":                     is not tangible property.
    a. Includes all "bodily injury'' and "r:rnperty              As used in this definition, electronic data means
       damage" occurring away from premises you                  information, facts or programs stored as or on,
       own or rent and arising out of "your product" or          created or used on, or transmitted to or from
       "your work" except:                                       computer      software, including    systems  and
      (1) Products that are still in your        physical        applications software, hard or floppy disks, CD-
          possession; or                                         ROMS, tapes, drives, cells, data processing
                                                                 devices or any other media which are used with
      (2) Work that has not yet been completed or                electronically contrdled equipment.
          abandoned. However, "your work" will be
          deemed completed at the earliest of the             18."Suit" means a civil proceeding in which damages
                                                                 t:ecause of "bodily injury", "property damage" or
          following times:
                                                                 "personal and advertising injury'' to which this
          (a) When all of the work called for in your            insurance applies are alleged. "Suit'' includes:
              contract has been completed.
                                                                 a. An arbitration proceeding in which such
         (b) When all of the work to t:e done at the                damages are claimed and tow hich the insured
              job site has been completed if your                   must submit or does submit with our consent;
              contract calls for work at more than one              or
              job site.
                                                                 b. Any other alternative dispute      resolution
          (c) When that part of the work done at a job              proceeding in which such damages are
              site has been put to its intended use by              claimed and to which the insured submits with
              any person or organization other than                 our consent.
              another contractor or subcontractor
              working on the same project                     19. 'Temporary worke-" means a person who is
                                                                  furnished to you to substitute for a permanent
          Work that may need service, maintenance,                "employee" on leave or to meet seasonal or short-
          correction, repair or replacement, but which            term workload conditions.
          is otherwise complete, will be treated as
          completed.                                          20."Volunteer worker" means a person who is not
                                                                 your "employee", and who donates his or her work
    b. Does not include "bodily injury" or "r:rnperty            and acts at the direction of and within the scope of
       damage" arising out of:                                   duties determined by you, and is not paid a fee,
      (1) The transportation of property, unless the             salary or other compensation by you or anyone
          injury or damage arises out of a condition in          else for their work r:erformed for you.
          or on a vehicle not owned or operated by            21. 'Your product":
          you, and that condition was created by the
          "loading or unloading" of that vehicle by any          a. Means:
          insured;                                                  (1) Any goods or products, other than real
      (2) The    existence of tools, uninstalled                        property, manufactured, sold, handled,
          equipment or abandoned or unused                              distributed or disposed of ty
          materials; or                                                   (a) You;
      (3) Products or operations for which the                            (b) others trading under your name; or
          classification, listed in the Declarations or in                (c) A persm      or organization  whose
          a policy schedule, states that products-                            business or assets you have acquired;
          completed operations are subject to the                             and
          General Aggregate Limit.
                                                                    (2) Containers (other than vehicles), materials,
 17. ''R"operty damage" means:
                                                                        parts or equipment furnished in connection
    a. Physical injury to tangible property, including                  with such gmds or products.
       all resulting loss of use of that property. All           b. Includes:
       such loss of use shall be deemed to occur at
       the time of the physical injury that caused it; or           (1) Warranties or representations made at any
                                                                        time with respect to the fitness, quality,
                                                                        durability, r:erformance or use of "your
                                                                        product"; and


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      (2) The providing of or failure         to   provide
          warnings or instructions.
    c. Does not include vending machines or other
       property rented to or located for the use of
       others but not sold.
 22 "Your work'.':
    a. Means:
      (1) Work or operations performed by you or on
          your behalf; and
      (2) Materials, parts or equipment furnished in
          connection with such work or operations.
    b. Includes:
      (1) Warranties or representations rnade at any
          tirne with respect to the fitness, quality,
          durability, performance or use of "your
          work", ard
                   (2) The providing of or failure to
                       provide warnings or instructions.




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                                                                                                             IL 001711 98


                                  COMMON POLICY CONDITIONS
All Coverage Parts included in this policy are subject to the following conditions.
A. Cancellation                                                             b. G~e you reports on the conditions we find;
    1. The first Named Insured shown in the                                      and
       Declarations may cancel this policy by mailing or                 c. Recommend changes.
       del~ering to us advance written notice of                      2. We are not obligated to make any inspections,
       cancellation.                                                     surveys, reports or recommendations and any
    2. We may cancel this policy by mailing or                           such actions we do undertake relate only to
       del~ering to the first Named Insured written                      insurability and the premiums to be charged.
       notice of cancellation at least:                                  We do not make safety inspections. We do not
         a. 10 days before the effective date of                         undertake to perform the duty of any person or
            cancellation if we cancel for nonpayment of                  organization to provide for the health or safety of
            premium; or                                                  workers or the public. And we do not warrant
                                                                         that conditions:
         b. 30 days before the effective date of
            cancellation if we cancel for any other                      a. Are safe or healthful; or
            reason.                                                      b. Compfy with laws, regulations, codes or
    3.   We will mail or deliver our notice to the first                      standards.
         Named I nsured's last mailing address known to               3. Paragraphs 1. and 2. of this condition appy not
         US.                                                             only to us, but also to any rating, advisory, rate
    4.   Notice of cancellation will state the effective date            service or similar organization which makes
         of cancellation. The policy period will end on                  insurance inspections, surveys, reports or
         that date.                                                      recommendations.
    5.  If this policy is cancelled, we will send the first           4. Paragraph 2. of this condition does not apply to
        Named Insured any premium refund due. If we                      any      inspections,   surveys,     reports     or
        cancel, the refund will be pro rata. If the first                recommendations we may make relative to
        Named Insured cancels, the refund may be less                    certification, under state or municipal statutes,
        than pro rata. The cancellation will be effective                ordinances or regulations, of boilers, pressure
        even if we have not made or offered a refund.                    vessels or elevators.
   6. If notice is mailed, proof of mailing will be                E. Premiums
        sufficient proof of notice.                                   The first Named Insured shown in the Declarations:
B. Changes                                                            1. Is responsil)e for the payment of all premiums;
   This policy contains all the agreements between you                     and
   and us concerning the insurance afforded. The first                2. Vv111  be the payee for any return premiums we
   Named Insured shown in the Declarations is                              pay.
   authorized to make changes in the terms of this                 F. Transfer Of Your Rights And Duties Under This
   policy with our consent This policy's terms can be                 Policy
   amended or waived only by endorsement issued by
                                                                      Your rights and duties under this policy may not be
   us and made a part of this policy.
                                                                      transferred without our written consent except in the
C. Examination Of Your Books And Records                              case of death of an individual named insured.
   We may examine and aud[ your books and records                     If you die, your rights and duties will be transferred
   as they relate to this policy at any time during the               to your legal representative but only while acting
   policy period and up to three years afterward.                     wrnn     the scope of duties as your legal
D. Inspections And Surveys                                            representative. Until your legal representative is
   1. We have the right to:                                           appointed, anyone having proper temporary custody
                                                                      of your property will have your rights and duties but
        a. Make inspections and surveys at any time;
                                                                      only with respect to that property.




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                                                                                                          CICMSJ0168
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                                         SERVICE OF SUIT

The Company agrees that in the event of its failure to pay any amount claimed to be due hereunder, the
Company, at the request of the Insured, will submit to the jurisdiction of any court of competent jurisdictbn
within the United States of America and will comply with all requirements necessary to give such Court
jurisdiction, and all matters arising hereunder shall be determined in accordance with the law and practice of
such Court.

The Company hereby designates the Commissioner, Director or Superintendent of Insurance, or other officer
specified by law for that purpose, or his successor or successors in office, or the person designated below, in
the space indicated, as ~s true and lawful attorney upon whom may be served any lawful process in any
action, su~ or proceeding instituted by or on behalf of the Insured arising out of this contract of insurance. It is
further agreed that the Company shall abide by the final decision of any court having jurisdiction in which such
action is filed, or by the decision of any appellate court in the event of an appeal.

Upon receip: of process served hereunder, the Company hereby designates Marcia M. Paulsen, Vice
President; 26600 Telegraph Rd. Southfield, Michigan 48033 as the person to whom the officer designated
above is authorized to mail such process.

In the alternative, process may be served upon the authorized agent of the Company whose name and
address are:

                                  FIRST MERCURY INSURANCE COMPANY
                                         26600 TELEGRAPH RD.
                                      SOUTHFIELD, MICHIGAN 48033




FMIC LEGAL (10/2007)




                                                                                                 CICMSJ0169
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            (The Attaching Clause need to be completed only when this endorsement is issued subsequentto preparationof the policy.)


                                                      ENDORSEMENT                    # 1

This endorsement, effective on                        4/21/2012                 at 12:01 AM. standard time, forms a part of
                                                        (DATE)

Policy No. NJ-CGL-0000009684-01                         of the                  First Mercury Insurance Company
                                                                                  (NAME OF INSURANCE COMPANY)
Issued to_ D L Phillips Construction Inc (OBA) Ja Mar Roofing


By CoverX Specialty
                                                                                          Authorized Representative



THIS ENDORSEMENT CHANGES THE POLICY                       PLEASE READ IT CAREFULLY




EARNED PREMIUM AND COMPOSITE RATE ENDORSEMENT




This endorsement forms a part of the policy to which it is attached.




In consideration of Crum & Forster's acceptance of this insurance, the Named Insured hereby agrees that the
minimum earned premium(s) due for this policy shall be calculated in accordance with the following:


1.   In the event of cancellation of this policy by the Named Insured after this policy has been in effect
for more than 90 days, the return premium due, if any, shall be computed at a rate equal to ninety percent
(90%) of the pro-rata unearned policy premium, subject however, to final premium adjustment in accordance with
our rules, rates and the Premium Audit provisions of this policy. Within the first 90 days of coverage under
this insurance, a twenty-five percent (25%) absolute minimum earned premium is applicable, unless another
higher premium is designated specifically as a minimum premium in the declarations.


2.   Failure by the Named Insured to remit premium payments when due shall be considered a request by the
Named Insured for the Company to cancel this policy. Cancellation shall be computed in accordance with
paragraph 1 above.


3.   In the event of cancellation of this policy by the Company for reasons other than nonpayment of
premium, the earned premium for this policy shall be computed on a pro-rata basis, subject, however, to final
premium adjustment in accordance with our rules, rates and the Premium Audit provisions of this policy. A



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                                                                                                                      CICMSJ0170
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            (The Attaching Clause need to be completed only when this endorsement is issued subsequentto preparationof the policy.)


                                                      ENDORSEMENT                    # 1

This endorsement, effective on                        4/21/2012                 at 12:01 AM. standard time, forms a part of
                                                        (DATE)

Policy No. NJ-CGL-0000009684-01                         of the                  First Mercury Insurance Company
                                                                                  (NAME OF INSURANCE COMPANY)
Issued to_ D L Phillips Construction Inc (OBA) Ja Mar Roofing


By CoverX Specialty
                                                                                          Authorized Representative
twenty five percent (25%) absolute minimum earned premium shall apply.


4.   The premium entered on the Declarations page of this policy as DEPOSIT PREMIUM is a provisional premium
only and is subject to upward adjustment only in accordance with our rules, rates and the Premium Audit
provisions of this policy. This policy has a Minimum Annual Premium that applies to the term of insurance as
shown on the policy declarations. Unless otherwise stated below, the Minimum annual Premium is equal to the
Deposit Premium as shown in the declarations page. Premium adjustments effected as a result of premium audits
will be done after the policy is no longer in effect, but may be done by the Company while the policy is in
effect


Minimum Annual Premium is 85% of the Deposit Premium as stated in the policy declarations.


5.   The amount entered as DEPOSIT PREMIUM on the Declarations page of this policy has been computed on a
composite rate basis for both "bodily injury" and "property damage" as follows:


Exposure Base


If the Exposure Basis is Payroll, then the Composite Rate shall be applied per thousand dollars of Payroll.
If the Exposure Basis is Gross Sales, then the Composite Rate shall be applied per thousand dollars of Gross
Sales. If the exposure is Cost, then the composite rate shall be applied per thousand dollars of cost If the
exposure is Units, then the composite rate shall be applied per unit




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                                                                                                                      CICMSJ0171
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   POLICY NUMBER• NJ-CGL-0000009684-01                                        COMMERCIAL GENERAL LIABILITY
                                                                                             CG 20 10 07 04

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



           ADDITIONAL INSURED-OWNERS, LESSEES OR
             CONTRACTORS - SCHEDULED PERSON OR
                         ORGANIZATION
   This endorsement modifies insurance provided under the following•

      COM MERCI AL GENERAL LIABILITY COVERAGE PART

                                                     SCHEDULE
            Name Of Additional Insured Person(s)
                      Or Organization(s):                                Location(s) Of Covered Operations
            As Required By Written Contract                              As required by written contract.




   Information required to complete this Schedule, if not shown above, will be shown in the Declarations.



   A. Section II - Who Is An Insured is amended to             B. Vv1th respect to the insurance afforded to these
      include as an additional insured the person(s) or           additional insureds, the following additional
      organization(s) shown in the Schedule, but only             exclusions apply•
      with respect to liability for "bodily injury",              This insurance does not apply to "bodily injury"
      "property damage" or "personal and advertising              or "property damage" occurring after.
      injury" caused, in whole or in part, by•
                                                                  1. All work, including materials, parts or
      1. Your acts or omissions; or                                  equipment furnished in connection with such
      2. The acts or omissions of those acting on                    work, on the project (other than service,
         your behalf;                                                maintenance or repairs) to be performed by
      in the performance of your ongoing operations                  or on behalf of the additional insured(s) at
      for the additional insured(s) at the location(s)               the location of the covered operations has
      designated above.                                              been completed; or
                                                                  2. That portion of "your work" out of which the
                                                                     injury or damage arises has been put to its
                                                                     intended use by any person or organization
                                                                     other     than    another    contractor    or
                                                                     subcontractor    engaged     in    performing
                                                                     operations for a principal as a part of the
                                                                     same project.




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                                                                                                   CICMSJ0172
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POLICY NUMBERNJ-CGL-0000009684-01                                         COMMERCIAL GENERAL LIABILITY
                                                                                         CG 20 37 07 04

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

         ADDITIONAL INSURED- OWNERS, LESSEES OR
          CONTRACTORS-COMPLETED OPERATIONS
This endorsement modifies insurarce provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                   SCHEDULE

        Name Of Additional lnsu red Person(s)
                 Or Orqanization{sl:                     Location And Description Of Completed Operations
~s Required By Written Contract                          As required by written contract.




Information required to compete this Schedule, if not shown above will be shown in the Declarations.

Section II -Who Is An Insured is amended to inclu:Je
as    an additional     insured  the person(s)      or
organization(s) shown in the Schedule, but only with
respect to Iiability for "bodily injury" or "property
damage" caused, in whole or in part, by 'Your work" at
the location designated and described in the schedule
of this endorsement performed for that additional
insured and included in the "products-completed
operations hazard".




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                                                                                                CICMSJ0173
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POLICY NUMBER: NJ-CGL-0000009684-01                                        COMMERCIAL GENERAL LIABILITY
                                                                                                  00 213510 01


      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


      EXCLUSION - COVERAGE C - MEDICAL PAYMENTS
This endorsement modifies insurance provided under thefollowng:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART


                                                  SCHEDULE

Description And Location Of Premises Or Classification:
All locations.




(If no entry appears above, information required to complete this endorsement will be shown in the Declarations
as applicable to this endorsement.)


VI/Ith respect to any premises or classification shown        2. The following is added to Section I -
in the Schedule:                                                 Supplementary Payments:
   1. Section I - Coverage C - Medical Payments                   h. Expenses incurred by the insured for first
       does not apply and none of the references to ~                  aid administered to others at the time of an
       in the Coverage Part apply: and                                 accident for "bodily injury" to which this
                                                                       insurance applies.




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                                                                                                  CICMSJ0174
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                                                                          COMMERCIAL GENERAL LIABILITY
                                                                                         CG 214707 98

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        EMPLOYMENT-RELATED PRACTICES EXCLUSION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following exclusion is added to Paragraph 2.,      B. The following exclusion is added to Paragraph 2.,
   Exclusions of Section I - Coverage A - Bodily             Exclusions of Section I - Coverage B - Per-
   Injury And Property Damage Liability:                     sonal And Advertising Injury Liability:
   This insurance does not apply to:                         This insurance does not apply to:
   "Bodily injury" to                                        "Personal and advertising injury" to:
     (1) A person arising out of any:                           (1) A person arising out of any:
         (a) Refusal to employ that person;                         (a) Refusal to employ that person;
         (b) Termination of that person's employ-                   (b) Termination of that person's employ-
             ment; or                                                   ment; or
         (c) Employment-related practices, policies,                (c) Employment-related practices, policies,
             acts or omissions, such as coercion,                       acts or omissions, such as coercion,
             demotion, evaluation, reassignment,                        demotion, evaluation, reassignment,
             discipline,  defamation,     harassment,                   discipline,  defamation,     harassment,
             humiliation or discrimination directed at                  humiliation or discrimination directed at
             that person; or                                            that person; or
     (2) The spouse, child, parent, brother or sister           (2) The spouse, child, parent, brother or sister
         of that person as a consequence of "bodily                 of that person as a consequence of "per-
         injury" to that person at whom any of the                  sonal and advertising injury" to that person
         employment-related practices described in                  at whom any of the employment-related
         Paragraphs (a), (b), or (c) above is di-                   practices described in Paragraphs (a), (b),
         rected.                                                    or (c) above is directed.
      This exclusion applies:                                    This exclusion applies:
     (1) Whether the insured may be liable as an                (1) Whether the insured may be liable as an
         employer or in any other capacity; and                     employer or in any other capacity; and
     (2) To any obligation to share damages with or             (2) To any obligation to share damages with or
         repay someone else who must pay dam-                       repay someone else who must pay dam-
         ages because of the injury.                                ages because of the injury.




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                                                                                                     CICMSJ0175
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                                                                            COMMERCIAL GENERAL LIABILITY
                                                                                           CG 214909 99

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          TOTAL POLLUTION EXCLUSION ENDORSEMENT
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

Exclusion f. under Paragraph 2., Exclusions of                (2) Any loss, cost or expense arising out of any:
Section I - Coverage A - Bodily Injury And                        (a) Request, demand, order or statutory or
Property Damage Liability is replaced by the                          regulatory requirement that any insured or
following:                                                            others test for, monitor, clean up, remove,
This insurance does not apply to:                                     contain, treat, detoxify or neutralize, or in
f. Pollution                                                          any way respond to, or assess the effects
                                                                      of "pollutants"; or
    (1) "Bodily injury" or "property damage" which
        would not have occurred in whole or part but              (b) Claim or suit by or on behalf of a
        for the actual, alleged or threatened discharge,              governmental       authority   for  damages
        dispersal, seepage, migration, release or                     because of testing for, monitoring, cleaning
        escape of "pollutants" at any time.                           up,     removing,      containing,   treating,
                                                                      detoxifying or neutralizing, or in any way
                                                                      responding to, or assessing the effects of,
                                                                      "pollutants".




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                                                                                                   CICMSJ0176
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POLICY NUMBER: NJ-CGL-0000009684-01                                     COMMERCIAL GENERAL LIABILITY
                                                                                                CG 21 54 01 96

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

 EXCLUSION- DESIGNATED OPERATIONS COVERED BY
 A CONSOLIDATED (WRAP-UP) INSURANCE PROGRAM
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART


                                                 SCHEDULE



Description and Location of Operation(s):
All locations.




(If no entry appears above, information required to complete this endorsement will be shown in the Dedarations
as applicable to this endorsement.)

The following exdusion is added to paragraph 2.,          This exclusion applies whether or not the
Exdusions of COVERAGE A- BODILY INJURY AND                consolidated (wrap-up) insurance program:
PROPERTY DAMAGE LIABILITY (Sedion I -                     (1) Provides coverage identical to that provided by
Coverages):                                                   this Coverage Part;
                                                          (2) Has limits adequate to cover all claims; or
This insurance does not apply to "bodily injury" or
"property damage" arising out of e~her your ongoing       (3) Remains in effect.
operations or operations included ~hin          the
"products-completed operations hazard" at the
location described in the Schedule of this
endorsement, as a consolidated (wrap-up) insurance
program has been provided by the prime
contractor/project manager or owner of the
construction project in which you are involved.




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                                                                                                 CICMSJ0177
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                                                                             COMMERCIAL GENERAL LIABILITY
                                                                                            CG 2167 0402

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                         FUNGI OR BACTERIA EXCLUSION
  This endorsement modifies insurance provided underthe following:

     COMMERCIAL GENERAL LIABILl1Y COVERAGE PART



  A. The following exclusion is added to Paragraph 2.,         B. The following exclusion is adde d to Paragraph 2.,
     Exclusions of Section I - Coverage A - Bodily                Exclusions of Section I - CoverageB -Personal
     lnjuryAnd PropertyDamageliability:                           And Advertising Injury Liability:
     2. Exclusions                                                 2. Exclusions
        This insurance does not apply to:                             This insurance does not apply to:
        Fungi or Bacteria                                             Fungi or Bacteria
        a. "Bodily injury" or "property damage" which                 a. "Personal and advertising injury" which
           would not have occurred, in whole or in                       would not have taken place, in whole or in
           part, but for the actual, alleged or                          part, but for the actual, alleged or
           threatened inhalation of, ingestion of,                       threatened inhalation of, ingestion of,
           contact with, exposure to, existence of, or                   contact with, exposure to, existence of, or
           presence of, any "fungi" or bacteria on or                    presence of any 'fungi" or bacteria on or
           within a building or structure, including its                 within a building or structure, including its
           contents, regardless of whether any other                     contents, regardless of whether any other
           cause, event, material or product                             cause,      event, material or product
           contributed concurrently or in any sequence                   contributed concurrently or in any sequence
           to such injury or damage.                                     to such injury.
        b. Any loss, cost or expenses arising out of                  b. Any loss, cost or expense arising out of the
           the abating, testing for, monitoring, cleaning                abating, testing for, monitoring, cleaning up,
           up, removing, containing, treating,                           removing, containing, treating, detoxif ying,
           detoxifying, neutralizing, remediating or                     neutralizing, remediating or disposing of, or
           disposing of, or in anyway responding to,                     in anyway responding to, or asses sing the
           or assessing the el      feels of, 'fungi" or                 effects of, "fungi"or bacteria, by any
           bacteria, by any insured or by any other                      insured or by any other person or entity.
           person or entity.                                   C. The following definition is added to the Definitions
        This exclusion does not apply to any "fungi" or           Section:
        bacteria that are, are on, or are contained in, a         "Fungi" means any type or form of fungus,
        good or product intended for consumption.                 including mold or mildew and any mycotoxins,
                                                                  spores, scents or byproducts produced or
                                                                  released by fungi.




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                                                                                                      CICMSJ0178
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                                                                               COMMERCIAL GENERAL LIABILITY
                                                                                              CG 21 960305

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

           SILICA OR SILICA-RELATED DUST EXCLUSION

This endorsement modifies insurarce provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART


A. The following exclusion is added to Paragraph 2.,         B. The following exclusion is ad:Jed to Paragraph 2.,
   Exclusions of Section I - Coverage A - Bodily                Exclusions of Section I - Coverage B - Personal
   Injury And Property Damage Liability:                        And Advertising Injury Liability:
   2. Exclusions                                                2. Exclusions
      This insurance does not appy to:                              This insurance does not apply to:
      Silica Or Silica-Related Dust                                 Silica Or Silica-Related Dust
      a. "Bodily injury" arising, in whole or in part, out          a. "Personal and advertsing injury" arising, in
          of the actual, alleged, threatened or                         whole or in part, out of the actual, alleged,
          suspected inhalation of, or ingestion of,                     threatened or suspected inhalation of,
          "silica" or "silica-related dust".                            ingestion of, contact with, exposure to,
      b. "Property damage" arising, in whole or in                      existence of, or presence of, "silica" or
          par 1 out of the actual, alleged, threatened or               "silica-related dust".
          suspected contact with, exposure to,                      b. Any loss, cost or expense arising, in whole
          existence of, or presence of, "silica" or                    or in part, out of the abating, testing for,
          "silica-related dust".                                       monitoring,        cleaning     up,     removing,
      c. Any loss, cost or expense arising, in whole                   containing, treating, ds:oxifying, neutralizing,
         or in part, out of the abating, testing for,                  remediating or disposing of, or in any way
         monitoring,        cleaning     up,     removing,             responding to or asS=ssing the effects of,
         containing, treating, detoxifying, neutralizing,              "silica" or "silica-related dust", by any insured
         remediating or disposing of, or in any way                    or by any other person or entity.
         responding to or assessing the effects of,          C. The following definitions       are   added    to the
         "silica" or "silica-related dust", by any insured      Definitions Section:
         or by any other person or entity.                       1. "Silica"   means silicon dioxide (occurring in
                                                                    crystalline, amorphous and impure forms), silica
                                                                    particles, silica dust or silica compounds.
                                                                 2. "Silica-related dust' means a mixture or
                                                                    combination of silica and ether dust or particles.




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                                                                                                      CICMSJ0179
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                                                                          COMMERCIAL GENERAL LIABILITY


      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                    REAL ESTATE PROPERTY MANAGED
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART


This insurance does not apply to "property damage" to property you operate or manage or as to which you act as
agent for the collection of rents or in any other supervisory capacity.
With respect to your liability arising out of your management of property for which you are acting as real estate
manager this insurance is excess over any other valid and collectible insurance available to you.




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                                                                                               CICMSJ0180
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                                                                             COMMERCIAL GENERAL LIABILITY
                                                                                            CG 2279 07 98


       THIS ENOORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          EXCLUSION - CONTRACTORS - PROFESSIONAL
                          LIABILITY
This endorsement modifies insurance provided under the follavving:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

The following exclusion is added to Paragraph 2.,            2. Subject to Paragraph 3. below, professional
Exclusions of Section I - Coverage A - Bodily                   services include:
Injury And Property Damage Liability and Paragraph              a. Preparing, approving, or failing to prepare or
2., Exclusions of Section I -Coverage B - Personal                 approve, maps, shop drawings, opinions,
And Advertising Injury Liability:                                  reports, surveys, field orders, change orders, or
1. This insurance does not apply to "b:Jdily injury",              drawings and specifications; and
    "property damage" or "personal and advertising              b. Supervisory or inspection activities performed
    injury" arising out of the rendering of or failure to          as part of any related architectural or
    render any professional services by you or on your             engineering activities.
    behalf, but only with respect to either or both of the
    following operations:                                    3. Professional services do not include services within
                                                                construction    means,     methods,     techniques,
     a. Providing engineering, arch[ectural or surveying        sequences and procedures employed by you in
         services to others in your capacity as an              connection with your operations in your capacity as
         engineer, architect or surveyor; and                   a construction contractor.
     b. Providing, or hiring independent professionals to
         provide, engineering, architectural or surveying
         services in connection with construction work
         you perform.




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                                                                                                    CICMSJ0181
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                                                                           COMMERCIAL GENERAL LIABILITY
                                                                                          CG 23 0112 04

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

      EXCLUSION - REAL ESTATE AGENTS OR BROKERS
                  ERRORS OR OMISSIONS
This endorsement modifies insurance provided under the fol lowing:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

The following exclusion is added to Paragraph 2.
Exclusions of Section I - Coverage A - Bodily
Injury And Property Damage Liability and Paragraph
2. Exclusions of Section I - Coverage B - Personal
And Advertising Injury Liability:
This insurance does not apply to "bodily injury",
"property damage" or "personal and advertising injury"
arising out of any misrepresentation, error or omission
by you or any real estate agent or broker who is either
employed by you or performing work on your behalf in
such                                           capacity.




CG 23 0112 04                               © ISO Properties, Inc., 2003                  Page 1 of 1   •




                                                                                            CICMSJ0182
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POLICY NUMBER       NJ-CGL-0000009684-01                                   COMMERCIAL GENERAL LIABILITY
                                                                                          CG 24 04 05 09


      WAIVER OF TRANSFER OF RIGHTS OF RECOVERY
                AGAINST OTHERS TO US
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

                                                  SCHEDULE

Name Of Person Or Organization:

As Required By Written Contract




Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

The following is added to Paragraph 8. Transfer Of
Rights Of Recovery Against Others To Us of
Section IV- Conditions:
We waive any right of recovery we may have against
the person or organization shown in the Schedule
above because of payments we make for injury or
damage arising out of your ongoing operations or
"your work" done under a contract with that person
or organization and included in the "products-
completed operations hazard". This waiver applies
only to the person or organization shown in the
Schedule above.




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                                                                                                CICMSJ0183
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                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                                       CROSS SUITS ENDORSEMENT

This endorsement modifies insurance provided under the following:

                                 COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                PRODUCTS/COMPLETED OPERATIONS COVERAGE PART


SECTION I - COVERAGES, COVERAGE A BODILY INJURY AND PROPERTY DAMAGE LIABILITY, 2. Exclusions and
COVERAGE B PERSONAL AND ADVERTISING INJURY LIABILITY, 2. Exclusions and SECTION I - COVERAGES
PRODUCTS/COMPLETED          OPERATIONS BODILY INJURY AND PROPERTY DAMAGE LIABILITY, 2. Exclusions are
amended and the following is added:


CROSS SUITS EXCLUSKlN
This Policy does not apply to a claim, demand or "suit" for damages initiated, alleged, or caused to be brought aOOut by a
Named Insured covered by this Policy against any other Named Insured. It is the intent of this exclusion to exclude from this
insurance all claims, demands or "suits" as above described.




This encbrsement forms a part of the Policy to which attached, effective on the inception da1e of the Policy unless otherwise
stated herein.

(The following information is required only when this endorsement is issued subsequent to preparation of the Policy.)


Endorsement effective                                 Policy No.                           Endorsement No.

Named Insured
                                                               Countersigned by _______________                           _
                                                                                           (Authorized Representative)


FMIC-GL-2010(11/2011)




                                                                                                              CICMSJ0184
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                      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




     CONTINUOUS OR PROGRESSIVE INJURY AND DAMAGE EXCLUSION

This endorsement modifies insurance provided under the following:

                                 COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                PRODUCTS/COMPLETED OPERATIONS COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE COVERAGE PART

It is agreed under Section I - COVERAGES, COVERAGE A BODILY INJURY AND PROPERTY DAMAGE LIABILITY,
1. Insuring Agreement, Paragraph b (3), c and dare deleted in their entirety and the following exclusion is added to Section I,
2. Exclusions of this policy.

This insurance does not apply to:

    1.   Any damages arising out of or rela1ed to "bodily injury" or "pror:erty damage" whether such "bodily injury" or
         "property damage" is known or unknown,

         (a) which first occurred in whole or in part prior to the inception date of this policy (or the retroactive date of this
             policy, if any; whichever is earlier); or

         (b) which are, or are alleged to t:e, in the process of occurring as of the inception date of the policy (or the retroactive
             date of this policy, if any; whichever is earlier) even if the "bodily injury," or "pror:erty damage" continues during
             this policy period; or

         (c) which were caused, or are alleged to have been caused, by the same condition(s) or defective construction which
             first existed prior to the inception date of this policy.

    2.   Any damages arising out of or related to "bodily injury" or "property damage" whether known or unknown, which are
         in the process of adjustment, settlement, or "suit" as of the inception date of this policy (or the retroactive date of
         this policy, if any; whichever is earlier)

 We shall have no duty to defend any insured against any loss, claim, "suit," or other proceeding alleging damages arising out of
 or related to "OOdily injury" or "property damage" to which this endorsement applies.



                     ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




This encbrsement forms a part of the Policy to which attached, effective on the inception da1e of the Policy unless otherwise
stated herein.

(The following information is required only when this endorsement is issued subsequent to preparation of the Policy.)


Endorsement effective                                   Policy No.                            Endorsement No.

Named Insured
                                                                 Countersigned by ________________                                  _




FMIC-GL-2011(04/2011)




                                                                                                                 CICMSJ0185
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                            THIS ENDORSEMENT CHANGES THE POLICY.               PLEASE READ IT CAREFULLY.



                                        POLICY DEDUCTIBLE ENDORSEMENT

This endorsement modifies insurance provided under the following:


                                    COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                              SCHEDULE

                                                                                    AMOUNT AND BASIS OF DEDUCTIBLE
COVERAGE A                                                                 PER CLAIM               PER OCCURRENCE
BODILY INJURY LIABILITY                                                    $                       $
               OR
PROPERTY DAMAGE LIABILITY                                                  $                       $
          OR
BODILIY INJURY LIABILITY AND/OR                                            $                       $5,000
PROPERTY DAMAGE LIABILITY COMBINED


COVERAGE B                                                                 PER INJURY
PERSONAL AND ADVERTISING                INJURY LIABILITY                   $5,000

A.   Our obligation under the Bodily Injury Liability, Property Damage Liability, Personal and Advertising Injury Liability
     Coverages to pay damages and Supplementary Payments on your t:ehalf apf)ies only to the amount of damages and
     Supplementary Payments in excess of any deductible amounts stated in the Schedule above as applicable to such
     coverages

B.   Your rx,licy may have a deductible amount on either a per claim, a per "occurrence" or a per injury basis. Your deductible
     apf)ies to the coverage option and to the basis of the deductible indicated by the placement of the deductible amount in the
     Schedule above. The deductible amount stated in the Schedule above ar:plies as follows:
     1.   PER CLAIM BASIS. If the deductible amount indicated in the Schedule aOOve is on a per claim basis, that dedu:tible
          apf)ies as follows:
          a.     Under Bodily Injury Liability Coverage, to all damages sustained by any one person because of "bodily injury";
          b.     Under Property Damage Liability Coverage, to all damages sustained by any one person because of "pror:erty
                 damage";
          c.     Under Bodily Injury Liability and/or Property Damage Liability Coverage Combined, to all damages sustained by
                 any one person because of:
                 (1) "Bodily injury";

                 (2) "Property damage"; or

                 (3) "Bodily injury" and"property   damage" combined; or
          d.     Under Supplementary Payments-Coverages A and B, to all amounts we pay in the defense and investigation of
                 any claim or "suif' to which this insurance applies
          as the result of any one "occurrence."
          If damages are claimed for care, loss of services or death resulting at any time from "bodily injury," a separate
          deductible amount will be applied to each person making a claim for such damages.
          With respect to "property damage," person includes an organization.




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                                                                                                                 CICMSJ0186
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     2.   PER OCCURRENCE BASIS. If the deductible amount indicated in the Schedule above is on a per "occurrence" basis,
          that deductible amount applies as follows:
          a.   Under Bodily Injury Liability Coverage, to all damages because of "bodily injury";
          b.   Under Property Damage Liability Coverage, to all damages because of "property damage";
          c.   Under Bodily Injury Liability and/or Property Damage Liability Coverage Combined, to all damages because of:
               (1) "Bodily injury";

               (2) "Property damage"; or
               (3) "Bodily injury" and"property   damage" combined; or
          d.   Under Supplementary Payments-Coverages A and B, to all amounts we pay in the defense and investigation of
               any claim or "suit" to which this insurance applies
          as the result of any one "occurrence,"    regardless of the number of persons or organizations who sustain damages
          because of that "occurrence."
     3.   PER INJURY BASIS. If the deductible amount indicated in the Schedule above is on a per injury basis. the deductible
          amount applies as follows:

          a.   Under the Personal and advertising Injury Liability Coverage to all damages because of "personal and advertising
               injury" sustained by any one person or organization as a result of any one injury.
          b.   Under Supplementary Payments-Coverages A and B, to all amounts we pay in the defense and investigation of
               any claim or "suit" to which this insurance applies.
C.   The terms of this insurance, including those with resr:ect to:
     1.   Our right and duty to defend the insured against any "suits" seeking those damages; and
     2.   Your duties in the event of an "occurrence," claim, or "suit"
     apply irresr:ective of the application of the deductible amount.
D.   We, at our sole election and option, may either:
     1.   Pay any part of or all of the deductible amount to effect settlement of any claim or "suit" or payment of Supplementary
          Paymen1s. Upon notification of the action taken, you shall promptly reimburse us for such part of the deductible amount
          as has been paid by us; or
     2.   Simultaneously upon receipt of notice of any claim or "suit," or at any time thereaf1er, request you pay or derx,sit with
          us all or any part of the deductible amount, to be held and applied by us as herein provided.
E.   The deductible may not be satisfied by payments made by any additional insured, any other insurance, or any other insurer,
     unless such payments are made under a policy written specifically to cover the deductible obligations under this policy.


                       ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




This endorsement forms a part of the rx,licy to which attached, effective on the inception date of the policy unless otherwise
stated herein.

(The following information is required only when this endorsement is issued subsequent to preparation of the policy.)

Endorsement effective                                    Policy No.                           Endorsement No.

Named Insured

                                                         Countersigned by ___________________                                  _


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                                                                                                                CICMSJ0187
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                        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                            DESIGNATED CONSTRUCTION PROJECT(S)
                           GENERAL AGGREGATE LIMIT SUBJECT TO A
                                TOTAL POLICY AGGREGATE LIMIT

This endorsement modifies insurance provided under the following:

                                  COMMERCIAL GENERAL LIABILITY COVERAGE PART
                             PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART


                                                         SCHEDULE
Designated Construction Projects:

All projects where required     by written contract




(If no entry appears above, information required to complete this endorsement will be shown in the Declarations as applicable
to this endorsement.)


A. For all sums which the insured becomes legally obligated to pay as damages caused by "occurrences" under
   COVERAGE A (SECTION I), which can be attributed only to ongoing operations at a single designated construction
   project shown in the Schedule above:
    1. A separate Designated Construction Project General Aggregate Limit applies to each designated construction project,
       and that limit is equal to the amount shown in the Declarations of this policy.
    2. Subject to the Total Policy Aggregate Limit, the Designated Construction Project General Aggregate Limit is the most
       we will pay for the sum of all damages under COVERAGE A, except damages because of "bodily injury" or "property
       damage" included in the "products-completed operations hazard," regardless of the number of:
        a. lnsured's;
       b. Claims made or "suits" brought; or
        c. Persons or organizations making claims or bringing "suits."




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                                                                                                            CICMSJ0188
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3.Any payments made under COVERAGE A for damages shall reduce the Designated Construction Project General
      Aggregate Limit for that designated construction project. Subject to the Policy Aggregate Limit, such payments shall
      not reduce the General Aggregate Limit shown in the Declarations nor shall they reduce any other Desig:,ated
      Construction Project General Aggregate Limit for any other designated construction project shown in the Schedule
      above.
    4. The limits shown in the Declarations for Each Occurrence continue to apply. However, instead of being subject to the
       General Aggregate Limit shown in the Declarations, such limits will be subject to the applicable Designated
       Construction Project General Aggregate Limit and the Total Policy Aggregate Limit.
B. For all sums which the insured becomes legally obligated to pay as damages caused by "occurrences" under COVERAGE
   A (SECTION I), which can rot be attributed only to ongoing operations at a single designated construction project shown in
   the Schedule aOOve:
    1. Any payments     made under COVERAGE A for damages shall reduce the amount available under the General
        Aggregate Limit or the Products-Completed Operations Aggregate Limi~ whichever is applicable; and
    2. Such payments shall not reduce any Designated Construction Project General Aggregate Limit.

    3. Such payments will reduce the Policy Aggregate Limit.
C. When coverage for liability arising out of the "products-completed operations hazard" is provided, any payments for
   damages because of "OOdily injury" or "property damage" included in the products-completed operations hazard will reduce
   the Products-Completed Operations Aggregate Limit, and not reduce the General Aggregate Limit, the Designated
   Construction Project General Aggregate Limit nor the Total Policy Aggregate Limit.
D. If the apf)icable designated construction project has been abandoned, delayed, or abandoned and then restarted, or if the
   authorized contracting parties deviate from plans, blueprints, designs, sr:ecifications or timetables, the project will still be
   deemed to be the same construction project.
E. The Total Policy Aggregate Limit scheduled in the Declarations of this policy is the most we will pay for the sum of: (a) all
   damages covered under this policy and falling within the scheduled Designated Construction Project General Aggregate
   Limits descrit:ed in Paragraph A. of this endorsement; and, (b) all damages covered under this policy and falling within the
   General Aggregate Limit, as described in Paragraph B. of this endorsement and as set forth in the provisions of Limits of
   Insurance (SECTION Ill) not otherwise modeled by this endorsement. The Total Policy Aggregate Limit applies regardless
   of the sums indicated in the Declarations for any General Aggregate Limit, or Designated Construction Project General
   Aggregate Limit, as applicable to all construction projects set forth in the Schedule above. The Total Policy Aggregate
   Limit applies collectively, rather than separately, to all of your scheduled construction projects. The Total Policy Aggregate
   Limit is not reduced by payments for damages covered under this policy and falling within the "products-completed
   operations hazard," but such payments will reduce the Products-Completed Operations Aggregate Limit, as described in
   Paragraph C. of this endorsement.
F. The provisions of Limits Of Insurance (SECTION Ill) not otherwise modified by this endorsement shall continue to apply as
   stipulated.




                         ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




  This endorsement   forms          a part of the Policy to which    attached,   effective    on the inception    date of the Policy    unless
  otherwise stated herein.

   (The following     information   is required   only when this endorsement      is issued   subsequent    to preparation     of the Policy.)


   Endorsement      effective                                       Policy No.                                   Endorsement     No.

   Named    Insured

                                                         Countersigned     by ___________________                                            _




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                                                                                                                                 CICMSJ0189
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                      Tl-iIS ENDORSEMENT CHANGES Tl-iE POLICY PLEASE READ IT CAREFULLY



                                                 NAMEDINSURED

This endorsement modifies insurance provided under the follovving:


                                  COMMERCIAL GENERAL LIABILITY COVERAGE PART


Item 1. Named Insured is hereby amended on the Policy Declarations Page to include the folla,ving:
D L Phillips Construction, Inc. dba
Ja-Mar Roofing, Ja-Mar Exteriors, Ja-Mar Roofing & Sheet Metal, Ja-Mar Solar




                     ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




This endorsement forms a part of the Policy to which attached, effective on the inception date of the Policy unless otherwise
stated herein.

(The following information is required only when this endorsement is issued subsequent to preparation of the Policy.)


Endorsement effective                                 Policy No.                          Endorsement No.

Named Insured
                                                      Countersigned by __________________                                _


FMIC-GL-2052(10/201 OJ




                                                                                                            CICMSJ0190
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                  TH IS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                             HAZARDOUS MATERIALS EXCLUSION

This endorsement modifies insurance provided under the following:

                             COMMERCIAL GENERAL LIABILITY COVERAGE PART
                            PRODUCTS/COMPLETED OPERATIONS COVERAGE PART
                          OWNERS AND CONTRACTORS PROTECTIVE COVERAGE PART


A.   SECTION I - COVERAGES, COVERAGE A BODILY INJURY AND PROPERTY DAMAGE LIABILITY,
     2. Exclusions, and SECTION I - COVERAGES, COVERAGE B PERSONAL AND ADVERTISING INJURY
     LIABILITY, 2. Exclusions, and SECTION I - COVERAGES, PRODUCTS/COMPLETED           OPERATIONS
     BODILY INJURY AND PROPERTY DAMAGE LIABILITY, 2. Exclusions, and SECTION I - COVERAGES
     BODILY INJURY AND PROPERTY DAMAGE LIABILITY are amended and Ire following Exclusion is added:

     Hazardous Materials

     (1)   "Bodily injury," "property damage" or "personal and advertising injury" which would not have occurred in
           whole or part but for the actual, alleged or threatened discharge, ingestion, inhalation, dispersal, seepage,
           migration, release or escape of "hazardous materials" at any time.

     (2) Any loss, cost or expense arising out of any:
           (a) Request, demand, order or statutory or regulatory requirement that any insured or others test for,
               monitor, clean up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or assess the
               effects of "hazardous materials"; or
           (b) Claim or "suit" by or on behalf of a governmental authority for damages because of testing for,
               monitoring, cleaning up, removing, containing, treating, detoxifying or neutralizing, or in any way
               responding to, or assessing the effects of "hazardous materials."
     (3) Any obligations to share damages with or indemnify another party whom must pay damages because of
         injury or damage relating to" hazardous materials."
     (4)   Any supervision, instru:tions, recommendations, warnings or advice given or which should have been given
           in connection with paragraphs(1), (2), or(3)above.
     This exclusion applies whether or not such "hazardous            material(s)"   has any function   in your business,
     operations, premises, site or location.

B.   SECTION V-DEFINITIONS          is amended and the following added:
     "Hazardous     materials" means "pollutants," toxic substances,     lead, asbestos, silica and materials containing
     them.



                  ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




This endorsement forms a part of the Policy to which attached, effective on the inception date of the Policy unless
otherwise stated herein.

(The following information is required only when this endorsement is issued subsequent to preparation of the Policy.)


Endorsement effective                                    Policy No.                            Endorsement No.

Named Insured

                                               Countersigned by ___________________                                   _


FM IC-GL-2076(04/2011)




                                                                                                            CICMSJ0191
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                        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                      EXCLUSION - PUNITIVE OR EXEMPLARY DAMAGES

This endorsement modifies insurance provided under the following:

                                COMMERCIAL GENERAL LIABILITY COVERAGE PART
                           PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                             OWNERS AND CONTRACTORS PROTECTIVE COVERAGE PART


This insurance does not apply to any claim for punitive or exemplary damages, fines or penalties imposed by law, restitution or
any damages which are a multiple of, or in addition to, compensatory damages including related interest or costs whether or not
such damages, related interest or costs are characterized as punitive or exemplary damages (hereinafter referred to as punitive
or exempary damages). If a "suit" shall have been brought against the insured for a claim falling within the coverage provided
under the policy, seeking both compensatory and punitive or exemplary damages, then the company will afford a defense to
such action; however, the company shall not have an obligation to pay for any costs, interest, or damages attributable to p..rnitive
or exemplary damages.




                      ALL 0TH ER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




This endorsement forms a part of the Policy to which attached, effective on the inception date of the Policy unless otherwise
stated herein.

(The following information is required only when this endorsement is issued subsequent to preparation of the Policy.)


Endorsement effective                                  Policy No.                            Endorsement No.

Named Insured
                                                       Countersigned by ____________________                                     _


FM IC-GL-2088(05/2011)




                                                                                                                CICMSJ0192
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                        THIS ENDORSEMENT CHANGES THE POLI CY PLEASE READ IT CARE FU LLY



                EXCLUSION -SPECIFIED STATE OPERATIONS EXCLUSION

This endorsement modifies insurance provided under the foll ONing:

                                COMMERCIAL GENERAL LIABILITY COVERAGE PART
                           PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                         OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART


SECTION I - COVERAGES, COVERAGE A BODILY INJURY AND PROPERTY DAMAGE LIABILITY, 2. Exclusions, and
SECTION I - COVERAGES, PRODUCTS/COMPLETED OPERATIONS BODILY INJURY AND PROPERTY DAMAGE
LIABILITY, 2. Exclusions, and SECTION I - COVERAGES, BODILY INJURY AND PROPERTY DAMAGE LIABILITY,
2. Exel usions are amended and the following Exclusion 5 added:


This pol Cy does not apply to "bodily injury," "property damage" or arising out of "your work" or out of any insured's VvOrk,
operations or contractual obligations in the following states:
Alaska, Arizona, California,
Colorado, Hawaii, Nevada, New
York, Oregon,
South Carolina, Washington




This exclusion applies regard less of whether such work or operations are conducted by the insured or on behalf of the insured
or whether the operations are conducted for the insured or for others. This exclusion applies to all work and cperations whether
c011pleted or in progress.




                     ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




This endorsement forms a part of the Policy to which attached, effective on the irception date of the Pd icy unless otherwise
stated here in.

(The follovvi ng information is required only when this endorsement is issued subsequent to preparation of the Policy.)


Endorsement effective                                  Policy No.                           Endorsement No.

Named Insured
                                                       Countersigned by __________________                                      _


FMIC-GL-2125(07/2011)




                                                                                                               CICMSJ0193
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                        THIS ENDORSEMENT CHANGES THE POLICY PLEASE READ IT CAREFULLY



                                             SUBSIDENCE EXCLUSION

This endorsement modifies insurance provided under the foll ONing:

                                  COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                 PRODUCTS/COMPLETED OPERATIONS COVERAGE PART
                               OWNERS AND CONTRACTORS PROTECTIVE COVERAGE PART


SECTION I - COVERAGES, COVERAGE A BODILY INJURY AND PROPERTY DAMAGE LIABILITY, 2. Exclusions and
COVERAGE B PERSONAL AND ADVERTISING INJURY LIABILITY, 2. Exclusions and SECTION I - COVERAGES
PRODUCTS/COMPLETED OPERATIONS BODILY INJURY AND PROPERTY DAMAGE LIABILITY, 2. Exclusions and
SECTION I - COVERAGES BODILY INJURY AND PROPERTY DAMAGE LIABILITY, 2. Exclusions are amended and the
follo¼ing is added:

This insu ranee does not apply to:

"Bodily injury'' or "property damage" directly or indirectly arising out of caused by, resulting from, contributed to, aggravated by 01
related to the subsidence, settling, settlement, expansion, sinking, slipping, falling away, tilting, caving in, shifting eroding, rising
heaving, landslide, flood or mud flow, earthquake, volca ni:: eruption or other tectoni:: processes or any other movemen~ of lane
or earth, hov,,ever caused, and whether by natural, manmade, a::cid ental or artifr:ial means. This exclusion app ies regardless o·
any other cause or event th at contributes concurrently or in any sequence to the "bodily injury'' or "property damage."

We shall have no duty or ob ligation on our part under th is insurance to defend, respond to, investigate or indemnify any insured
against any loss, claim, "suit," or other proceeding alleging danages arising out of or related to "bodily injury" or "property
damage" to which this endorsement applies.

This exclusion also applies to any obligation to, share damages with, repay or indemnify someone else who must pay damages
because of su::h "bodily injury" or "property damage."


                      ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




This endorsement forms a part of the Policy to which attached, effective on the irception date of the Pd icy unless otherwise
stated here in.

(The fo llovving information is required only when this endorsement is issued subsequent to preparation of the Policy.)


Endorsement effective                                    Policy No.                             Endorsement No.

Named Insured
                                                         Countersigned by


FMIC-GL-2152(07/2011)




                                                                                                                   CICMSJ0194
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                       THIS ENDORSEMENT CHANGES THE POLICY                  PLEASE READ IT CAREFULLY



                                  ROOFING OPERATIONS WARRANTIES

This endorsement modifies insurance provided under the foll ONing:

                                    COMMERCIAL GENERAL LIABILITY COVERAGE PART

It is understood and agreed that such Insurance as provided by this policy is modified and subject to the follONing provisions:

It is a condition precedent to liability and coverage under this policy \A/hen performing roofing operations work that the insured,
additional insured or subcontractor comply with all roofing operations procedures, prd:ective safeguards, conditions and
warranties as i ndi::ated in th is en cbrsement

    1.   You have taken "appropriate"     steps to determine any approaching adverse weather in advance of any job or work
         commencing.

    2.   You have taken "appropriate" steps to provide a temporary waterproof covering for an "open roof" able to withstand the
         normal elements.

    3.   The cover must be put in place if the "open roof" and job-site is to be left unattended for more then four hours.

    4.   You must condu::t a diligent inspection of any hot tar or heat application work immediately preceding your departure
         from the premises. You are further required to "document'' the inspection.

    5.   The insured will remain at the job-site of any hot tar or heat application job-site for a period of not less than one hour
         after the hot tar or heat application precess has been canp leted. You are further required to "document'' the timeline.

    6.   The insured vvill have at hand a functional fully charged 15 lb. or larger dry chemical fire extinguisher when hot tar or
         other heat appicat ion processes are being used.

The foll o\Mng additional definitions as used in th is endorsement apply:

         Open Roof- The term "open roof" as used herein shall include any roof or section of roof thereof where shingles, tar,
         felt paper or any other protective covering has been removed, thereby leaving exposed any supporting structure,
         decking, wood she II, building interior or contents of any bu iiding to the elements.

         Appropriate - The term "appropriate" as used herein means actions customarily and normally taker\fused by roofing
         contractors in the same field to protect or prevent damage under similar circumstances.

         Document - The term "document'' as used herein means the insured or others working on your behalf will have a
         designated employee complete a signed and dated written report for each job site of each inspection shONing the time
         of the comp etion of work and the time of any required and completed inspections.

The failure to fulfill the conditions precedent to liability and coverage under this policy as stated will render coverage under this
policy null and void, at the sole option of the company. However, these warranties and policy conditioos do not apply to
"property damage" included within the "products-competed operations hazard."


                      ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.



This endorsement forms a part of the Pd icy to which attached, effective on the inception date of the Policy unless otherwise
stated here in.

(The fo llovving information is required only when this endorsement is issued subsequent to preparation of the Policy.)


Endorsement effective                                   Policy No.                           Endorsement No.

Named Insured
                                                        Countersigned by ___________________                                    _


FMIC-GL-2169 (07/2011)




                                                                                                                 CICMSJ0195
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                        THIS ENDORSEMENT CHANGES THE POLICY                  PLEASE READ IT CAREFULLY



                                           EXCLUSION OF TERRORISM

Notwithstatldi ng anything to the contrary contained in the policy or any endorsement attached thereto, it is agreed that this
insurance does not ar:ply to "any injury or damage" caused directly by or as a consequence of a "certified act of terrorism" or
"other act of terrorism," including any action not othervvise excluded under the War and Military Action exclusion that is taken
by a government or severe ign pov,,er (de jure or de facto) in controlling, preventing, sur:pressi ng, retaliating against or in any
way responding to a "certified act of terrorism" or "other act of terrorism."    Such injury or damage is excluded regardless of
any other cause or event that contributes cona..mently or in any sequence to the loss, even if the act of a "certified act of
terrorism" or "other act of terrorism," that causes or results in the loss or damage itself is itself a cause of loss that is
othel"\Mse insured against under this pdicy.

If, by reason of this exclusion, we allege that any loss or damage under this policy is not covered, the burden of proving that
such loss or damage is cove red shall be upon you.

The foll o¼ing definitions are added:
1.     For the purposes of this endorsement, ''any injury or damage" means any injury or damage covered under any
       Coverage Part to which this encbrsement is applica~e, and includes b.Jt is not limited to "bodily injury," "property
       damage," "personal and advertising injury," 'l njury," "environmental danag e" or ''errors or omissions" as may be defined
       in any applica~e Coverage Part
2.    "Certified act of terrorism" means an act that is certified by the Secretary of the Treasury, in concurrence \Mth the
      Secretary of State and the Attorney General of the United States, to be an act of terrorism pursuant to the federal
      Terrorism Risk Insurance kt. The criteria contained in the Terrorism Risk Insurance Act fcr a "certified act of terrorism"
      include the follo¼i ng:
       a.     The act resulted in insured losses in excess of$5 million in the aggregate, attributable to all types of insurance
              subject to the Terrorism Risk Insurance Ac~ and
       b.     The act is a violent act or an act that is dangerous to human life, property or infrastructure and is committed by an
              individual or individuals as part of an effort to coerce the civilian population of the United States or to influence the
              policy or affect the conduct of the United States Government by coercion.
3.    "Other act of terrorism" means any violent act that is dangerous or destructive to human life, property or infrastructure,
      whether actual or threatened, and Vv'hether committed by one or more persons acting a looe or in connection with any
      group or organization. The act must not be certified as a "certified act of terrorism" pursuant to the federal Terre rism
      Risk lnsuran::e Act and the act must contain one or more of the follovving criteria:
       a.     The act is intended to influence, coerce or protest against the a::tions, behavior or policies of any government or
              sovereign power (de jure or de facto) or any segment of the government or sovereign; or
       b.     To further any political, ideological, econ011ic, religious or social aim, objective or cause; or
       c.     To disrupt any segment of the global econcrny or the econcrny of any country or political state.
It is the intent of this endorsement to exclude from this insurance all daims, demands or "suits" arising from the insurable
coverage excluded under th is endorsement There shall, therefore, be no duty or obligatioo on our part under this insurance to
defend, respond to, investigate or indemnify anyone, including but not limited to you, your agents, servants or employees, or any
third parties for any such claim, demand or suit.



                      ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.



This endorsement forms a part of the Pd icy to which attached, effective on the inception date of the Policy unless otherwise
stated here in.

(The fo llovving information is required only when this endorsement is issued subsequent to preparation of the Policy.)


Endorsement effective                                    Policy No.                             Endorsement No.

Named Insured
                                                         Countersigned by ___________________                                     _

FMIC-GL-2172 (07/2011)




                                                                                                                  CICMSJ0196
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                        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                        EXCLUSION - BLASTING AND USE OF EXPLOSIVES

This encbrsement modifies insurance provided under the following:

                                   COMMERCIAL GENERAL LIABILITY COVERAGE PART


SECTION I - COVERAGES, COVERAGE A BODILY INJURY AND PROPERTY DAMAGE LIABILITY, 2. Exclusions and
COVERAGE B PERSONAL AND ADVERTSING INJURY LIABILITY, 2. Exclusions are amended and the following added:

This insurance does not apply to any "bodily injury," "property damage" or "personal and advertising injury" arising out of,
resulting from, or in any way related to blasting activities or use of explosives. The use of explosives includes the making,
handling, storage, or transportation of exposives.

It is the intent of this endorsement to exclude from this insurance all claims, demands or suits and there shall be no duty or
obligation on our part under this insurance to defend, respond to, investigate, or indemnify anyone, including but not limited to
you, your agents, servants, or employees, or any third parties for any such claim, demand or suit that arises out of any blasting
activities or use of explosives.



                     ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




This endorsement forms a part of the Policy to which attached, effective on the inception date of the Policy unless otherwise
stated herein.

(The fol lowing information is required only when this endorsement is issued subsequent 1Dpreparation of the Policy.)


Endorsement effective                                 Policy No.                           Endorsement No.

Naned Insured
                                                      Oiuntersigned by________________                                       _


RVIIC-G..-2196(CB/2011)




                                                                                                             CICMSJ0197
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                         TH IS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                                     BASIS OF PREMIUM ENDORSEMENT

This encbrsement modifies insurance provided under the following:

                                      COMMERCIAL GENERAL LIABILITY COVERAGE PART


It is understood and agreed that Section IV - Commercial General Liability Conditions               is amended to include the following
definitions of basis of premium used for computing premiums for this coverage:

  Gross Sales or Receipts is defined as the gross amount charged by the named insured, concessionaires of the named insured,
  or by others trading under the insured's name for:

    1.   All goods or products, sold or distributed in the coverage territory as defined in the policy;
    2.   Operations performed during the policy period;
    3.   Rentals during the policy period; and
    4.   Dues or fees during the policy period.

  Only the following items shall be deducted from Gross Sales or Receipts:

    1.   Sales or excise taxes which are collected and remitted directly to a governmental division;
    2.   Credits for repossessed merchandise and products returned;
    3.   Finan:e charges for items sold on installmen~
    4.   Freight charges on sales if freight is charged as a separate item on customer's invoice; and
    5.   Royalty income from patent rights or copyrights which are not product sales.

  Construction Cost is defined as the total cost of all work let or sublet, in connection with each specific project including:

    1.   The cost of all labor, materials and equipment furnished, used or delivered for use in the execution of the work; and
    2.   The other costs associated with the execution of the work including office costs and overhead expenses, as well as all
         other fees involved in the completion of the project such as Attorney fees, Professional fees, Testing, Appraisal, Marketing;
         and
    3.   All bonuses or commissions, paid or due on the project.

    Total cost does not include the cost of the land, financing and insurance charges and fees for permits.

  Payroll or Remuneration is defined as the sum of salaries, wages, tips, piece of work, commission, bonuses, overtime, board
  and meals for work performed and excluding excess in accordance with the state payroll limitation rules.

  Overtime is defined as hours worked at increased rates of pay in excess of hours normally worked in a given day or week. If
  there is a guaranteed wage plan which assures employees a given wage for working a specific number of hours per week, then
  the overtime means only the hours worked in excess of that specific amount. If there are records available showing the wages
  paid for overtime separately, which exceed the amount that would have been paid for the same work during normal hours, then all
  such excess wages are excluded. If these records show only the total of wages paid, including overtime on a time and one-half
  basis, then one-third of those wages should be excluded. If double time is paid for overtime and the total pay for such overtime is
  recorded separately, one-half of the total pay for double time shall t:e excluded.

  Excluded from payroll is remuneration paid to clerical office employees, including those whose duties are strictly limited to
  keeping the insured's books or records, conducting correspondence, or engaged in clerical work in these areas. Anyone who
  does not work in the area separated physically by walled floors, or partitions from all other work areas of the insured is not
  considered. An exception to this is if the payroll or clerical office employees are specifically included in a classification wording or
  footnote of the ISO general liability classification.

  Total Cost or Cost is defined as the total cost of all work, let or sublet in connection with each specific project including:

    1.   The cost of labor, materials and equipment furnished, used or delivered for use in the execution of the work; and
    2.   All fees, bonuses or commissions made, paid or due.




FM IC-GL-2203(01/2012)                                                                                                         Page 1 of 2




                                                                                                                    CICMSJ0198
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 Units is defired as the number of r:ersons or items described.

 Rental Receipts is defined as the gross amount charged by the named insured, concessionaires of the named insured, or by
 others trading under the insured' s name for rental of equipment.

 Admissions is defined as the total numter of persons, other than employees of the named insLred, admitted to an event or events
 corducted on the premises, whether on paid admission, tickets, complimentary tickets, or passes.




This endorsement forms a part of the Policy to whi:h attached, effective on the inceptioo date of the Policy unless otherwise stated
herein.

(Thefollowinginformation   is required only when this endorsement is Ssued subsequentto preparation of the Policy.)

Endorse me nteffective                                Policy No.                          Endorsement No.

Named Insured
                                                       Countersigned by ____________________                                _
                                                                                (Authorized Represen1ative)




FM IC-GL-2203(01/2012)                                                                                                   Page 2 of 2




                                                                                                                CICMSJ0199
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                        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                    EXCLUSION - PRODUCTS/COMPLETED OPERATIONS
                       EXTERIOR INSULATION AND FINISH SYSTEMS

This endorsement modifies insurance provided under the following:

                                  COMMERCIAL GENERAL LIABILITY COVERAGE PART
                           PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

A. This insurance does not apply to "bodily injury" or "pror:erty damage" included in the "produc-ts-completed operations hazard"
   arising out of, caused by, or attribu1able to, whether in whole or in part, the following:

    1. The   design, manufacture, construction, fabrication, preparation, distribution and sale, installation, application,
       maintenance or repair, including remodeling, service, correction or replacement, of any "exterior insulation and finish
       systems" or any part thereof, or any substantially similar system or any part thereof, including the application or use of
       conditioners, primers, accessories, flashings, coatings, caulking or sealants in connection with such a system; or

    2. "Your product" or "your work" with respect to any exterior component, fixture or feature of any structure if an "exterior
       insulation and finish systems," or any substantially similar system, is used on the part of that structure containing that
       component, fixture or feature.

B. The fol lowing definition is added to the Definitions Section:

    "Exterior insulation and finish systems" means a non-load bearing exterior cladding or finish system, and all component
    parts therein, used on any part of any structure, and consisting of:

    1. A rigid or semi-rigid insulation OOardmade of expanded polystyrene and other ma1erials;

    2. The adhesive and/or mechanical fasteners used to attach the insulation board to the substrate;

    3. A reinforced or unreinforced base coa~

    4. A finish coat providing surface texture to which color may be added; and

    5. Any flashing, caulking or sealant used with the system for any purpose.




This endorsement forms a part of the Policy to which attached, effective on the inception date of the Policy unless otherwise
stated herein.

(The following information is required only when this endorsement is issued subsequent to preparation of the Policy.)


Endorsement effective                                    Policy No.                             Endorsement No.

Named Insured
                                                         Countersigned by ____________________                                  _


FM IC-GL-2215(12/2011)




                                                                                                                  CICMSJ0200
      Case 1:20-cv-00474-RP Document 15-2 Filed 09/02/21 Page 55 of 119



                                                                                                       INTERLINE
                                                                                                    IL 00 210498

     lHIS    ENDORSEMENT            CHANGES        THE POLICY.       PLEASE      READ IT CAREFULLY.

                NUCLEAR ENERGY LIABILITY EXCLUSION
                          ENDORSEMENT
                                                    (Broad Form)


This erdorsemert modifies insurance provided under the fdlowirg:

   BUSINESSQ/1/NERSPOLICY
   COVIMERCIPLAUTO OOVERAGE PART
   COVIMERCIPL GENERAL LIABILITY COVERAGE PART
   EMPLO'IMENT-RELATED PRACTICES LIAS LITYCOJERAGE PART
   FARM OOVERAGE PART
   LIQUOR LIABILITY COVERJlGE PART
   O\/1.NERSANDCa\JTRACTCRS ffiOTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMR...ETEDCFERATIONS LIABILITY COVERAGE PAITT
   PROFESSIONA.LLIABILITY OOVERAGE PART
   RAILROII.D ffiOTECTIVE LIABILITY OOVERAGE PART
   SPECIAL PROTECTIVE AND HIGHWAY LIABILllY PQJ CY NEW YORK CEPARTMENT a=
   TRANSPORTATla\J
   UNDERGROUNDSTORAGETANK PQJCY


1. The insu-ance does not apply:                                C. Under any Liability Cove-a,9e,to 'bodily injury"
  A. Under any Lial:ility O:Jverage,1o "bcdily iljury"             or   "property damage'          resulting from
      or "property damage":                                        "hazardous properties'' cf "nuclear material", W:
     (1) V\Ath respect to which an "insured" under                 (1) The ''nuclear material" (a) is at any "nuclear
          the policy is aso an insured under a                         facility" owned by, or operate:l by or on
          nuclear energy liabilly pdicy issued by                      behalf of, an "insured" or (b) has been
          Nuclear      Energy     Liabiliy       Insurance             discharged or dispersed therefrom;
          Associalion, Mutual Abmic Energy Liability               (2) The "nudear mate-ial" is contained in
          Underwriers,         Nuclear           Insurance             "spent fuel" or "waste" at any time
          Associalion of Canada cr arv of their                        possessed, handled, used, processed,
          successors, or 11\0uldbe an insured under                    stored, transported cr disp:ised of, by or on
          any such pdicy but for its termination upon                  behalf of an "imrned"; or
          exhaustion of its limi cf liability; or                 (3) The "bodily inj.Jry" or "property damagi"
     (2) Resultilg from the "hazardous properties"                    arises out of the furnishing by an "insure:l"
          of "nuclear male"ial" and ~h respect to                     of services, materials, parts or equirrnent in
          V\hich (a) any i;erson or organization is                   connection with the planning, construction,
          re:iuired to mailtain financial protection                  maintenance, operalion or use of any
          pursuant to the Jltomic Ene-gy Act of 1954,                 "nuclear facility', tut if such faciliy is
          or any law amendatory thereof, or (b) the                   located wlhin the Urited States of Jlrnerica,
          "insure:l" is, or had this p:ilicy not been                 its te-rfories orpossessiors or Canada, Ins
          issued would be, entitled to inde-nnity from                exclusion (3) applies mly to "property
          the Unied States of America, or any                         damage" to such "nuclear facrny'' and any
          agency thereof, under any agreement                         property thereat.
          ente-ed in1o by the Urned Slates of                2. As used in this erdorsemert:
          America, or any agency thereof, with any
          person or organization.                               "Hazardous proi;erties'' includes radicactive, toxic
                                                                or explosive proi;erties.
   B. Under arv Me:lical Payments c01erage, to
      expenses incu-red with resi;ect to ''bodily               "N..Jclear rraterial"   mears   "source    material",
      injury"   resulting from the         'hazardous           "Special nuclear material" or "by-product material".
      properties" of "nuclear malerial" and arising out
      of the ope-ation of a "nuclear facilfy" by any
      persm or orgarization.

IL 00 21 0498                     Copyright, Insurance Services Ofice, Inc., 1997                       Page 1 of2      •



                                                                                                      CICMSJ0201
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  Source maleral", "spa:ial nuclea rraterial", and              (c) Any eqLipment or device used for the
  "by-product material" have 1he meanirgs given                     processirg, fabricating or alloying of
  them in the A1omi:: Energy Jlct of 1954 or in arv                 "special nuclear material" if at any time the
  law amendatory therecf.                                           tctal amount of such material in the oustody
  "Spent fuel" means any fuel element or fuel                       of the "insured" al the premses WlErn such
  component, solid or liquid, which has been used or                equiJTnentor device is located consis1s of
  exposed toradatim ina ''nuclearreacto(.                           or contains more than 25 grams of
                                                                    plutorium or uranium 233 a any
  'Waste' means any 11\Bstematerial (a) containing                  coml:ination thereof, or more than 250
  "by-product material" other than the tailings or                  gramsofurarium 235;
  wastes     JTOduoed by the extraction or
  concert ration of uranium or 1horiumfrom arv ore              (d) Any structure, basin, excavation, prerrises
  processed prirrarily for its "source rraterial"                   or place J)"er:ared or used fa the storage or
  content, and (b) rest.mng from 1he operatim t,,,                  dispcsal of "11\Bste";
  any person or organization of any "nuclear facility"       and includes the s~eon which any of the faegoing
  incuded under the first t\/\/0 paragraphs cf the           is located, all operalions conducted on such s~e
  definitim cf "nuclear facility".                           and all premises used fa such opErntims.
  "Nuclea facility" means:                                   'Nudear reacto(' means any apparatus designed
    (a) Any "nuclear reacta";                                a used to sustain nuclear fission in a self-
                                                             supporting chain reactbn or to cmtain a critical
    (b) Any equipment or device designed or used             rrass offissionable material.
        for (1) separatirg the isotopes of uranium or
        r:lutmium, (2) processing a utilizing 'spent         "Property darrage'       incudes all forms of
        fuel", or (3) handing,       processing or           radioactive contaminatim of property.
        r:ackaging'waste";




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                                                                                                 CICMSJ0202
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Policy Number: NJ-CGL-0000009684-01                                                                  IL 09 85 01 08

    THIS ENDORSEMENT IS ATTACHED TO AND MADE PART OF YOUR POLICY IN
    RESPONSE TO THE DISCLOSURE REQUIREMENTS OF THE TERRORISM RISK
   INSURANCE ACT. THIS ENDORSEMENT DOES NOT GRANT ANY COVERAGE OR
  CHANGE THE TERMS AND CONDITIONS OF ANY COVERAGE UNDER THE POLICY.

          DISCLOSURE PURSUANT TO TERRORISM RISK
                      INSURANCE ACT
                                                    SCHEDULE

 Terrorism Premium (Certified Acts): Not Covered
 This premium is the total Certified Acts premium attributable to the following Coverage Part(s),
 Coverage Form(s) and/or Policy(s):



Additional information, if any, concerning the terrorism premium:




 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. Disclosure Of Premium                                     C. Cap On Insurer Participation In Payment Of
   In accordance with the federal Terrorism Risk In-            Terrorism Losses
   surance Act, we are required to provide you with a           If aggregate insured losses attributable to terrorist
   notice disclosing the portion of your premium, if            acts certified under the Terrorism Risk Insurance
   any, attributable to coverage for terrorist acts certi-      Act exceed $100 billion in a Program Year (Janu-
   fied under the Terrorism Risk Insurance Act. The             ary 1 through December 31) and we have met our
   portion of your premium attributable to such cov-            insurer deductible under the Terrorism Risk Insur-
   erage is shown in the Schedule of this endorse-              ance Act, we shall not be liable for the payment of
   ment or in the policy Declarations.                          any portion of the amount of such losses that ex-
B. Disclosure Of Federal Participation In Payment               ceeds $100 billion, and in such case insured
   Of Terrorism Losses                                          losses up to that amount are subject to pro rata al-
                                                                location in accordance with procedures estab-
   The United States Government, Department of the              lished by the Secretary of the Treasury.
   Treasury, will pay a share of terrorism losses in-
   sured under the federal program. The federal
   share equals 85% of that portion of the amount of
   such insured losses that exceeds the applicable
   insurer retention. However, if aggregate insured
   losses attributable to terrorist acts certified under
   the Terrorism Risk Insurance Act exceed $100 bil-
   lion in a Program Year (January 1 through De-
   cember 31), the Treasury shall not make any
   payment for any portion of the amount of such
   losses that exceeds $100 billion.




IL 09 85 01 08                               © ISO Properties, Inc., 2007                                 Page 1 of 1   •



                                                                                                    CICMSJ0203
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                                           CLAIM NOTIFICATION



         Send all claim notifications and information to:


                                     First Mercury Insurance Company
                                                P .0. Box 5096
                                         Southfield, Michigan 48086
                                                         Or

                                            26600 Telegraph Rd.
                                            Southfield, Ml 48033

                                                     Or Fax to:


                                     First Mercury Insurance Company
                                          Attn: Claim Department
                                        Fax Number: (248) 357-5036




This endorsement forms a part of the Policy to Vv'hich attached, effective on the inceptioo date of the Policy unless
othervvise stated herein.




FMIC - Oain Notification (12/2006)




                                                                                                       CICMSJ0204
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                IMPORTANT NOTICE                                        AVISO IMPORTANTE


To obtain information or make a complaint:               Para obtener informaci6n o para someter una queja:

1. You may contact your insurance agent.                 Puede comunicarse con su agente de seguro.

2. You may call the company's toll-free telephone        Usted puede llamar al numero de telefono gratis de
   number for information or to make a complaint         la companfa para informaci6n o para someter una
   at:                                                   queja al:

                    1-800-762-6837                                       1-800-762-6837

3. You may write to the company at:                      Usted tambien puede escribir la companfa:

         First Mercury Insurance Company                     First Mercury Insurance Company
         26600 Telegraph Rd.                                 26600 Telegraph Rd.
         Southfield, MI 48033                                Southfield, MI 48033

4    You may contact the Texas Department of             Puede comunicarse con el Departamento de
     Insurance to obtain information on companies,       Seguros de Texas para obtener informaci6n acera
     coverages, rights or complaints at:                 de companies, coberturas, derechos o quejas al:

                    1-800-252-3439                                       1-800-252-3439

5. You may write the Texas Department of                 Puede escribir al Departamento de Seguros de
   Insurance:                                            Texas:

     PO Box 149104                                       PO Box 149104
     Austin, TX 78714-9104                               Austin, TX 78714-9104
     FAX (512) 475-1771                                  FAX (512) 475-1771
     Web: http:lwww.tdi.state.tx.us                      Web: http:/www.tdi.state.tx.us
     E-mail: ConsumerProtection@tdi. state. tx. us       E-mai I: ConsumerProtection@tdi. state.Ix. us

6.   PREMIUM OR CLAIM DISPUTES:                          DISPUTAS SOB RE PRIMAS O RECLAMOS:

     Should you have a dispute concerning your           Si tiene una disputa concerniene a su prima o
     premium or about a claim you should contact         a un reclamo, debe comunicarse con el agente
     your agent first. If the dispute is not resolved,   primero. Si no se resuelve la disputa, puede
     you may contact the Texas Department of             comunicarse con el departamento (TOI).
     Insurance.

ATTACH THIS NOTICE TO YOUR POLICY:                       UNA ESTE AVISO A SU POLIZA:

This notice is for information only and does not         Este aviso es solo para prop6sito de lnformaci6n y
become a part or condition of the attached               no se convierte en parte o condici6n del documento
document.                                                adj unto.




TXSLF0RM(0?/2007)




                                                                                                   CICMSJ0205
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CaverXsPECIALTY
             EXPERIENCE   MATTERS
                                                                           26600 Telegraph Rd.
                                                                           Southfield, MI 48033

                                                                           PO Box 5069
                                                                           Southfield, MI 48086


05/15/2012


Re: D L Phillips Construction Inc (OBA) Ja Mar Roofing
    NJ-CGL-0000009684-01



                          THANK YOU FOR THE ORDER


               PLEASE REVIEW THIS POLICY
                      CAREFULLY.

      THE COVERAGES AND TERMS OF THE POLICY
        MAY DIFFER FROM THOSE REQUESTED IN
           YOUR APPLICATION AND/OR YOUR
                   EXPIRING POLICY.


  PLEASE REVIEW AND ADVISE US IMMEDIATELY
              IN WRITING OR VIA FAX
   IF YOU HAVE ANY CHANGES TO THIS POLICY.




                           Telephone: 1 (800) 762-6837 - Fax: 1 (248) 358-2459




                                                                                                  CICMSJ0206
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    FIRST MERCURY INSURANCE POLICY
               2013 - 2014
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                                           FIRST MERCURY INSURANCE COMPANY
                                                      (A STOCK COMPANY)
                             STATUTORYHOME OFFICE: ONE SOUTH WACKER DRIVE, SUITE 1350, CHICAGO, IL 60606
                                  ADMINISTRATIVEOFFICE: 26600 TELEGRAPH RD., SOUTHFIELD, Ml 48033
                                                         GENERAL LIABILITY POLICY
                                                         RENEWAL DECLARATIONS
Serviced by CoverX Specialty                                                    POLICY NUMBER NJ-CGL-0000009684-02
                                                                                RENEWAL OF:   NJ-CGL-0000009684-01
I NAMED INSURED AND MAILING ADDRESS                                       I I BROKER NAME AND ADDRESS                                      I
D L Phillips Construction Inc (OBA) Ja Mar Roofing                          Southwest Risk LP - Dallas


PO Box 40159                                                                8144 Walnut Hill Lane Suite 1010
Austin, TX 78704                                                            Dallas, TX 75231
POLICY PERIOD          From: 4/21/2013     To: 4/21/2014
                       AT 12:01 AM. STANDARDTIME AT YOUR MAILINGADDRESS SHOWN ABOVE
IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS POLICY, WE AGREE WITH
YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY
LIMITS OF INSURANCE: Defense Costs are outside the limits of Liabilty
Each Occurrence Limit:                         $1,000,000                                 Employee Benefits Liability:       Excluded
Personal & Advertising Injury Limit:           $1,000,000                                 Employee Benefits Aggregate Limit: Excluded
General Aggregate Limit:                       $2,000,000                                 Liquor Liability Limit:            Excluded
Products-Completed Operations Aggregate Limit: $2,000,000                                 Liquor Liability Aggregate:        Excluded
Damage To Premises Rented To You:              $50,000                                    Designated Construction Projects
Medical Payment Limit:                         $5,000                                     General Aggregate Limit:           $2,000,000



                                                                                          Total Policy Aggregate Limit:       $5,000,000
RETAINED LIMIT: $5,000             Deductible Per Occurrence, Including LAE
PREMIUM COMPUTATION:               Premium:    $35,250
Coverage for certified acts of terrorism has been rejected; exclusion attached.       [2g
(Per TRIA Disclosure Notice.)
                                                           DEPOSIT PREMIUM:              $35,250
 DESCRIPTION OF BUSINESS:Contrs-subwork-in connect w/cnstr,recnstr, repair or erection of bldg

 ••
 FORM OF BUSINESS:
                                                                     [5<J
                              §
      INDIVIDUAL                   PARTNERSHIP                          ORGANIZATION, INCLUDING A CORPORATION (BUT NOT
      JOINT VENTURE                LIMITED PARTNERSHIP                    INCLUDING A PARTNERSHIP, JOINT VENTURE OR LIMITED
                                   LIMITED LIABILITY COMPANY              LIABILITY COMPANY)
ENDORSEMENTS ATTACHED TO THIS POLICY:                         See Schedule FM IC-END - Schedule of Forms and Endorsements

This insurance contract is with an insurer not licensed to transact insurance in this state and is issued
and delivered as surplus line coverage pursuant to the Texas insurance statutes. The Texas Department
of Insurance does not audit the finances or review the solvency of the surplus lines insurer providing this
coverage, and this insurer is not a member of the property and casualty insurance guaranty association
created under Chapter 462, Insurance Code. Chapter 225, Insurance Code, requires payment of a 4.85
percent tax on gross premium.
IMPORTANT! Please carefully examine your policy as it may contain significant coverage modifications or exclusions.
If this policy is a renewal, it may not contain the same precise terms and conditions as the prior policy.




Date: 4/30/2013          Authorized Representative:
THESE DECLARATIONS,TOGETHERWITH THE COMMON POLICY CONDITIONSAND COVERAGE FORM(S)
AND ANY ENDORSEMENT(S),COMPLETETHE ABOVE NUMBEREDPOLICY.                                                      FMIC-GL-DS-0001(12/10)




                                                                                                                      CICMSJ0207
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                                         Attachment A


NAMED INSURED:                      DL Phillips Construction Inc

CARRIER:                             First Mercury Insurance Co

POLICY NUMBER:                          NJCGL000000968402

EFFECTIVE DATE:                             04/21/13-14




                  PREMIUM:                         $          35,250.00
                  AGENCY FEE                       $           1,100.00
                  CARRIER FEE                      $
                  STATE TAX:                       $              1,762.98
                  STAMPING FEE:                    $                 21.81

                  DRIVE OUT:                       $          38,134.79




    This insurance contract is with an insurer not licensed to transact insurance in
     his state and is issued and delivered as surplus line coverage under the Texas
    insurance statutes. The Texas Department of Insurance does not audit the
     inances or review the solvency of the surplus lines insurer providing this
    coverage, and the insurer is not a member of the property and casualty insurance
    guaranty association created under Article 21.28-C, Insurance Code. Section 12,
      rticle 1.14-2, Insurance Code, requires payment of a 4.85 percent tax on gross
    premium.




                                                                                   CICMSJ0208
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                                             EXTENSION OF DECLARATIONS

Policy Number    NJ-CGL-0000009684-02


Location of Premises:
Schedule of Locations on File with Company
Classification and Premium:

Exposure Basis                                       Exposure Amount     Rate              Deposit Premium

Gross Sales                                          $3,000,000          $11 .7500/Per     $35,250
                                                                         $1,000 of Gross   subject to $29,963
                                                                         Sales             minimum premium




FMIC-GL-DS-EXT (12/1 OJ                                                                           Page 1 of 1



                                                                                       CICMSJ0209
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Insured           Ja Mar Roofing (OBA)

Policy Number     NJ-CGL-0000009684-02



                   SCHEDULE OF FORMS AND ENDORSEMENTS
                             (other than applicable forms shown elsewhere in the policy)

Forms and Endorsements applying to and made part of this policy at the time of issuance:

CG 00 01 (12/07) - COMMERCIAL GENERAL LIABILITY COVERAGE FORM
IL 00 17 (11/98) - COMMON POLICY CONDITIONS
FMIC LEGAL (10/07) - SERVICE OF SUIT
CG 00 68 (05/09) - RECORD AND DISTRIBUTE OF MATERIAL IN VIOLATION
CG 02 12 (11/85) - CANCELLATION ENDST BY US
CG 20 10 (07/04) - ADDITIONAL INSURED OWNERS, LESSEES OR CONTRACTORS
CG 20 37 (07/04) - Al - OWNERS, LESSEES OR CONTRACTORS COMPLETED OPERATIONS
CG 21 47 (07/98) - EMPLOYMENT-RELATED PRACTICES EXCLUSION
CG 21 54 (01/96) - EXCL DESG OP COVERED BY CONSOLIDATED WRAP UPS
CG 21 55 (09/99) - TOTAL POLLUTION EXCLUSION WITH A HOSTILE FIRE EXCEPTION
CG 21 67 (04/02) - FUNGI OR BACTERIA EXCLUSION
CG 21 96 (03/05) - SILICA OR SILICA RELATED DUST EXCLUSION
CG 22 70 (11/85) - REAL ESTATE PROPERTY MANAGED
CG 22 79 (07/98) - EXCLUSION - CONTRACTORS PROFESSIONAL LIABILITY
CG 23 01 (12/04) - EXCL - REAL ESTATE AGENTS OR BROKERS ERRORS & OM MISSIONS
CG 24 04 (05/09) - WAIVER OF TRANSFER OF RIGHTS OF RECOVERY AGAINST OTHERS
FMIC GL 1002 (10/12) - PRIMARY AND NON-CONTRIBUTING INSURANCE
FMIC GL 2010 (11/11) - CROSS SUITS ENDORSEMENT
FMIC GL 2011 (04/11) - CONTINUOUS OR PROGRESSIVE INJURY AND DAMAGE EXCL
FMIC GL 2015 (10/11) - POLICY DEDUCTIBLE ENDORSEMENT
FMIC GL 2017 (01/11) - DESIGNATED CONSTRUCT PROJECT GEN AGG LIMIT
FMIC GL 2052 (10/10) - NAMED INSURED
FMIC GL 2076 (04/11) - HAZARDOUS MATERIALS EXCLUSION
FMIC GL 2125 (07/11) - EXCLUSION - SPECIFIED STATE OPERATIONS EXCLUSION
FMIC GL 2152 (07/11) - SUBSIDENCE EXCLUSION
FMIC GL 2163 (05/12) - MINIMUM EARNED PREMIUM ENDORSEMENT
FMIC GL 2169 (09/12) - ROOFING OPERATIONS WARRANTIES
FMIC GL 2172 (07/11) - EXCLUSION OF TERRORISM
FMIC GL 2196 (09/11) - EXCLUSION - BLASTING AND USE OF EXPLOSIVES
FMIC GL 2203 (05/12) - BASIS OF PREMIUM ENDORSEMENT
FMIC GL 2215 (12/11) - EXCLUSION - PROD/COMP OPS EXTERIOR INSULATION
IL 00 21 (04/98) - NUCLEAR ENERGY LIABILITY EXCLUSION ENDORSEMENT
FMIC CLAIM NOTIFICATION (12/2006)




Schedule FMIC-END (12/1 OJ                                                                       Page 1 of 1




                                                                                           CICMSJ0210
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                                                                         COMMERCIAL GENERAL LIABILITY
                                                                                        CG 00 0112 07

    COMMERCIAL GENERAL LIABILITY COVERAGE FORM
 Various provisions in this policy restrict coverage.          b. This insurance appies to "bodily injury" and
 Read the entire policy carefully to determine rights,            "property damage" only if:
 duties and what is and is not covered.                          (1) The "bodily injury" or "property damage" is
 Throughout this policy the words "you" and "your'                   caused by an "occurrence" that takes place
 refer to the Named Insured shown in the Declarations,               in the "coverage territory";
 and any other porson or organization qualifying as a            (2) The "bodily injury' or "proporty damage"
 Named Insured under this policy. The words ''we",                   occurs during the policy period; and
 "us" and "our" refer to the company providing this
 insurance.                                                      (3) Prior to the pol icy period, no insured listed
                                                                     under Paragraph 1. of Section II - Who Is
 The word "insured" means any person or organization                 An Insured and no "employee" authorized
 qualifying as such under Section II - Who Is An                     by you to give or receive notice of an
 Insured.                                                            "occurrence" or claim, knew that the "bodily
 other words and phrases that appoar in quotation                    injury" or "r:rnperty damage" had occurred,
 marks have special meaning. Refer to Section V -                    in whole or in part. If such a listed insured
 Definitions.                                                        or authorized "employee" knew, prior to the
 SECTION I -COVERAGES                                                policy period, that the "bodily injury" or
                                                                     "property damage" occurred, then any
 COVERAGE A BODILY INJURY AND PROPERTY                               continuation, change or resumption of such
 DAMAGE LIABILITY                                                    "bodily injury" or "property damage" during
 1. lnsu ring Agreement                                              or after the policy period will be deemed to
                                                                     have been known prior to the policy period.
    a. We will pay those sums that the insured
       becomes legally obligated to pay as damages             c. "Bodily injury" or "property damage" which
       because of "bodily injury" or "property damage"            occurs during the policy period and was not,
       to which this insurance applies. We will have              prior to the policy poriod, known to have
       the right and duty to defend the insured against           occurred by any insured           listed under
       any "suit" seeking those damages. However,                 Paragraph 1. of Section II -Who Is An Insured
       we will have no duty to defend the insured                 or any "employee" authorized by you to give or
       against any "suit" seeking damages for "bodily             receive notice of an "occurrence" or claim,
       injury" or "r:rnperty damage" to which this                includes    any   continuation,     change   or
       insurance does not apply. We may, at our                   resumption of that "bodily injury" or "property
       discretion, irrvestigate any "occurrence" and              damage" after the end of the policy period.
       settle any claim or "suit" that may result. But:        d. "Bodily injury" or "property damage" will be
       (1) The amount we will pay for damages is                  deemed to have been known to have occurred
           limited as described in Section Ill - Limits           at the earliest time when any insured listed
           Of Insurance; and                                      under Paragraph 1. of Section II - Who Is An
                                                                  Insured or any "employee" authorized by you to
       (2) Our right and duty to defend ends when we              give or receive notice of an "occurrence" or
           have used up the applicable limit of
                                                                  claim:
           insurance in the payment of judgments or
           settlements under Coverages A or B or                 (1) Reports all, or any part, of the "bodily injury"
           medical expenses under Coverage C.                        or "property damage" to us or any other
                                                                     insurer;
       No other obligation or liability to pay sums or
       perform acts or services is covered unless                (2) Receives a written or verbal demand or
       expicitly provided for under Supplementary                    claim for damages because of the "bodily
       Payments - Coverages A and B.                                 injury" or "property damage"; or
                                                                 (3) Becomes aware bf any other means that
                                                                     "bodily injury" or "proporty damage" has
                                                                     occurred or has begun to occur.




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                                                                                                   CICMSJ0211
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 e.Damages because of "bodily injury' include                   c. Liquor Liability
      damages       claimed    by any person          or           "Bodily injury" or "proporty damage" for which
      organization for care, loss of services or death             any insured may be held liable by reason of:
      resulting at any time from the "bodily injury'.
                                                                  (1) Causing or contributing to the intoxication of
 2. Exclusions                                                        any person;
    This insurance does not apply to:                             (2) The furnishing of alcoholic beverages to a
    a. Expected Or Intended Injury                                    porson under the legal drinking age or
       "Bodily injury" or "proporty damage" expected                  under the influence of alcohol; or
       or intended from the standpoint of the insured.            (3) Any statute, ordinance or regulation relating
       This exclusion does not apply to "bodily injury"               to the sale, gift, distribution or use of
       resulting from the use of reasonable force to                  alcoholic beverages.
       protect persons or property.                                This exclusion applies only if you are in the
    b. Contractual Liability                                       business of manufacturing, distributing, selling,
                                                                   serving or furnishing alcoholic beverages.
       "Bodily injury" or "property damage" for which
       the insured is ol)igated to pay damages by               d. Workers' Compensation And Similar Laws
       reason of the assumption of liability in a
                                                                   Any obligation of the insured under a workers'
       contract or agreement. This exclusion does not              componsation,       disability  benefits    or
       apply to liability for damages                              unemployment compensation law or any
       (1) That the insured would have in the absence              si mi lar Iaw
           of the contract or agreement; or                     e. Employer's Liability
       (2) Assumed in a contract or agreement that is              "Bodily injury" to
           an "insured contract", provided the "bodily
           injury" or "property       damage" occurs              (1) An "employee" of the insured arising out of
           subsequent to the execution of the contract                and in the course of:
           or agreement Solely for the purposes of                    (a) Empoyment by the insured; or
           liability assumed in an "insured contract",               (b) Performing duties related to the conduct
           reasonable attorney fees and necessary
                                                                           of the insureds business; or
           litigation expenses incurred by or for a party
           other than an insured are deemed to be                 (2) The spouse, child, parent, t:rnther or sister
           damages because of "bodily injury" or                       of that "employee" as a consequence of
           "property damage", provided:                                Paragraph (1) above.
          (a) Liability to such party for, or for the cost         This exclusion applies whether the insured
              of, that partys defense has also been                may be liable as an employer or in any other
              assumed in the same "insured contract";              capacity and to any obligation to share
              and                                                  damages with or repay someone else who
                                                                   must pay damages because of the injury.
          (b) Such attorney fees and litigation
              expenses are for defense of that party               This exclusion does not appy to liability
              against a civil or alternative dispute               assumed by the insured under an "insured
              resolution proceeding in which damages               contract''.
              to which this insurance applies are
              alleged




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                                                                                                   CICMSJ0212
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f.Pollution                                                           (d) At or from any premises, site or location
      (1) "Bodily injury" or "property damage" arising                    on which any insured or any contractors
          out of the actual, alleged or threatened                        or subcontractors working directly or
          discharge, dispersal, seepage, migration,                       indirectly on any insured's behalf are
          release or escape of "pollutants":                              perforrring operations if the "pollutants"
                                                                          are brought on or to the premises, site
         (a) At or from any premises, site or location                    or location in connection with such
             which is or was at any ti me owned or                        operatbns by such insured, contractor
             occupied by, or rented or loaned to, any                     or    subcontractor.    However,       this
             insured. However, this subparagraph                          subparagraph does not apply to:
             does not apply to:
                                                                            (ij "Bodily injury" or "property damage"
               (i) "Bodily injury' if sustained within a                        arisng out of the escape of fuels,
                   building and caused by smoke,                                luaicants or other operating fluids
                   fumes, vapor or soot produced by or                          whch are needed to perform the
                   originating from equipment that is                           normal     electrical,   hydraulic   or
                   used to hea 1 cool or dehumidify the                         mechanical functions necessary for
                   building, or equipment that is used to                       the operation of "mobile equipment"
                   heat water for personal use, by the                          or its parts, if such fuels, lubricants
                   building's occupants or their guests;                        or other operating fluids escape from
              (ii) "Bodily injury' or "property damage"                         a vehicle part designed to hold, store
                   for which you may t:e held liable, if                        or receive them. This exception does
                   you are a contractor and the owner                           not apply if the "bodily injury" or
                   or lessee of such premises, site or                          "property damage" arises out of the
                   location has been added to your                              intentional discharge, dispersal or
                   pol icy as an additional insured with                        rele,se of the fuels, lubricants or
                   respect to your ongoing operations                           othe- operating fluids, or if such
                   performed for that additional insured                        fues, lurricants or other operating
                   at that premises, site or location and                       fluid; are brought on or to the
                   such p-emises, site or location is not                       premises, site or location with the
                   and never was owned or occupied                              intent that they t:e discharged,
                   by, or rented or loaned to, any                              disr:ersed or released as part of the
                   insured, other than that additional                          ope-ations t:eing performed by such
                   insured; or                                                  insLied, contractor or subcontractor;
              (iii) "Bodily injury' or "property damage"                   (iij "Bodily injury" or "property damage"
                    arising out of heat, smoke or fumes                         sustained within a building and
                    from a "hostile fire";                                      caused by the release of gases,
                                                                                fumes or vapors from materials
         (b) At or from any premises, site or location
                                                                                brought     into that    building    in
             which is or was at any time used by or
                                                                                connection with operations t:eing
             for any insured or others for the
             handling, storage, disposal, processing                            performed by you or on your t:ehalf
             or treatment of waste;                                             by a contractor or subcontractor; or
                                                                           (iiij "Bodily injury" or "property damage"
         (c) Which are or were at any ti me
                                                                                 arisng out of heat, smoke or fumes
             transported, handled, stored, treated,
                                                                                 from a "hostile fire".
             disposed of, or processed as waste by
             or for:                                                   (e) At or from any premises, site or location
                                                                           on which any insured or any contractors
               (i) Any insured; or
                                                                           or subcontractors working directly or
              (ii) Any person or organization for whom                     indirectly on any insured's behalf are
                   you may t:e legally respcnsible; or                     perforrring operations if the operations
                                                                           are to test for, monitor, clean up,
                                                                           removi;    contain, treat, detoxify or
                                                                           neutralize, or in any way respond to, or
                                                                           assess the effects of, "pollutants".




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                                                                                                       CICMSJ0213
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 (2)Any loss, cost or expense arising out of any:                   (5) "Bodily injury" or "property damage" arising
          (a) Request, demand, order or statutory or                    out of:
              regulatory requirement that any insured                      (a) The     operation   of    machinery    or
              or others test for, monitor, clean up,                           equipment that is attached to, or part of,
              remove, contain, treat, detoxify or                              a land vehicle that would qualify under
              neutralize, or in any way respond to, or                         the definition of "mobile equipment' if it
              assess the effects of, "pollutants"; or                          were not subject to a compulsory or
          (b) Claim or "suit" by or on behalf of a                             financial responsibility law or other
              governmental authority for damages                               motor vehicle insurance law in the state
              because of testing for, monitoring,                              where it is licensed or principally
              cleaning     up, removing, containing,                           garaged; or
              treating, detoxifying or neutralizing, or in                 (b) the operation of any of the machinery or
              any way responding to, or assessing the                          equipment listed in Paragraph q2) or
              effects of, "pollutants".                                        f.(3) of the definition of "moble
           However, this paragraph does not apply to                           equipment".
           liability for damages because of "r:rnperty            h. Mobile Equipment
           damage" that the insured would have in the                "Bodily injury" or "property damage" arising out
           absence of such reques 1 demand, order or                 of:
           statutory or regulatory requirement, or such
           claim or "suit" by or on behalf of a                     (1) The transportation of "mobile equipment" by
           governmental authority.                                      an "auto" owned or operated by or rented or
                                                                        loaned to any insured; or
    g. Aircraft, Auto Or Watercraft
                                                                    (2) The use of "mobile equipment" in, or while
       "Bodily injury" or "property damage" arising out                 in practice for, or while being prepared for,
       of the ownership, maintenance, use or                            any prearranged racing, speed, demolition,
       entrustment to others of any aircraft, "auto" or                 or stunting activity.
       watercraft owned or operated by or rented or
       loaned to any insured. Use includes operation               i. War
       and "loading or unloading".                                   "Bodily injury" or "property damage", however
       This exclusion applies even if the claims                     caused, arising, directly or indirectly, out of:
       against any insured allege negligence or other               (1) War, including undeclared or civil war;
       wrongdoing      in the      supervision,  hiring,
                                                                    (2) Warlike action by a military force, including
       employment, training or monitoring of others by
                                                                        action in hindering or defending against an
       that insured, if the "occurrence" which caused                   actual   or expected      attack, by any
       the "bodily injury" or "property damage"
                                                                        government, sovereign or other authority
       involved the ownership, maintenance, use or                      using military personnel or other agents; or
       entrustment to others of any aircraft, "auto" or
       watercraft that is owned or operated by or                   (3) Insurrection, rebellion, revolution, usurped
       rented or loaned to any insured.                                 power, or action taken by governmental
                                                                        authority in hindering or defending against
       This exclusion does not apply to:
                                                                        any of these.
       (1) A watercraft while ashore on premises you              j. Damage To Property
           own or rent;
                                                                     "Property damage"to:
       (2) A watercraft you do not own that is:
                                                                    (1) Property you own, rent, or occupy, including
          (a) Less than 26 feet long; and
                                                                        any costs or expenses incurred by you, or
          (b) Not being used to carry persons or                        any other person, organization or entity, for
               property for a charge;                                   repair,     replacement,      enhancement,
       (3) Parking an "auto" on, or on the ways next                    restoration or maintenance of such property
           to, premises you own or rent, provided the                   for any reason, including prevention of
           "auto" is not owned by or rented or loaned                   injury to a person or damage to another's
           to you or the insured;                                       property;
       (4) Liability assumed under any "insured                     (2) Premises you sell, give away or abandon, if
           contract" for the ownership, maintenance or                  the "property damage" arises out of any
           use of aircraft or watercraft; or                            part of those premises;
                                                                    (3) Property loaned to you;
                                                                    (4) Personal property in the care, custody or
                                                                        control of the insured;

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                                                                                                       CICMSJ0214
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 (5)That particular part of real property on which you or           This exclusion does not apply to the loss of use
           any contractors or subcontractors working                of other property arising out of sudden and
           directly or indirectly on your behalf are                accidental physical injury to "your product" or
           performing operations, if the "r:rnperty                 ''your work" after it has been put to its intended
           damage" arises out of those operations; or               use.
       (6) That particular part of arry property that            n. Recall Of Products, Work Or Impaired
           must be restored, repaired or replaced                   Property
           because ''your work" was incorrectly                     Damages claimed for any loss, cost or
           performed on it                                          expense incurred by you or others for the loss
       Paragraphs (1 ), (3) and (4) of this exclusion do            of use, withdrawal, recall, inspection, repair,
       not apply to "property damage" (other than                   replacement, adjustment, removal or disposal
       damage by fire) to premises, including the                   of:
       contents of such premises, rented to you for a              (1) "Your product";
       period of 7 or fewer consecutive days. A
       separate limit of insurance applies to Damage               (2) "Your work"; or
       To Premises Rented To You as described in                   (3) "Impaired property";
       Section Ill- Limits Of Insurance.
                                                                    if such product, work, or property is withdrawn
       Paragraph (2) of this exclusion does not apply               or recalled from the market or from use by any
       if the premises are "your work" and were never               person or organization because of a known or
       occupied, rented or held for rental by you.                  suspected defect, deficiency, inadequacy or
       Paragraphs (3), (4), (5) and (6) of this                     dangerous condition in it
       exclusion do not apply to liability assumed               o. Personal And Advertising Injury
       under a sidetrack agreement.                                 "Bodily injury' arising out of "personal and
       Paragraph (6) of this exclusion does not apply               advertising injury".
       to "property damage" included in the "products-           p. Electronic Data
       completed operations hazard".
                                                                    Damages arising out of the loss of, loss of use
    k. Damage To Your Product
                                                                    of, damage to, corruption of, inability to access,
       "Property damage" to "your product" arising out              or inability to manipulate electronic data.
       of it or any part of it
                                                                    As used in this exclusion, electronic data
     I. Damage To Your Work                                         means information, facts or programs stored as
       "Property damage" to ''your work" arising out of             or on, created or used on, or transmitted to or
       it or any part of it and included in the "products-          from computer software, including systems and
       completed operations hazard".                                applications software, hard or floppy disks, CD-
                                                                    ROMS, tapes, drives, cells, data processing
       This exclusion does not apply if the damaged                 devices or any other media which are used
       work or the work out of which the damage                     with electronically controlled equipment.
       arises was performed on your behalf by a
       subcontractor.                                            q. Distribution Of Material In Violation Of
                                                                    Statutes
   m. Damage To Impaired Property Or Property
      Not Physically Injured                                        "Bodily injury" or "property damage" arising
                                                                    directly or indirectly out of any action or
       "Property damage" to "impaired property" or                  omission that violates or is alleged to violate:
       property that has not been physically injured,
       arising out of:                                             (1) The Telephone Consumer Protection Act
                                                                       (TCPA), including any amendment of or
       (1) A defect, deficiency,    inadequacy   or                    addition to such law; or
           dangerous condition in "your product" or
           "yourwork'';or                                          (2) The CAN-SPAM Act of 2003, including any
                                                                       amendment of or addition to such law; or
       (2) A delay or failure bf you or anyone acting
           on your behalf to perform a contract or                 (3) Any statute, ordinance or regulation, other
           agreement in accordance with its terms.                     than the TCPA or CAN-SPAM Act of 2003,
                                                                       that prohibits or limits the sending,
                                                                       transmitting, communicating or distribution
                                                                       of material or information.




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                                                                                                    CICMSJ0215
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   Exclusions c. through n. c!J not apply to damage             c. Material Published Prior To Policy Period
   by fire to premises while rented to you or                      "Personal and advertising injury' arising out of
   temporarily occupied by you with permission of the              oral or written publication of material whose
   owner. A separate limit of insurance applies to this            first publication took pace before the beginning
   coverage as described in Section Ill - Limits Of                of the policy period.
   lnsurarce.
                                                                d. Criminal Acts
COVERAGE B PERSONAL AND ADVERTISING
INJURY LIABILITY                                                   "Personal and advertising injury' arising out of
                                                                   a criminal act committed by or at the direction
1. lnsu ring Agreement                                             of the insured
   a. We will pay those sums that the insured                   e. Contractual Liability
      becomes legally ol) igated to pay as damages
      because of "personal and advertising injury" to              "Personal and advertising injury" for which the
      which this insurance applies. We will have the               insured has assumed liability in a contract or
      right and duty to defend the insured against                 agreement. This exclusion c!Jes not appy to
      any "suit" seeking those damages. However,                   liability for damages that the insured would
      we will have no duty to defend the insured                   have in the abserce of the contract or
      against any "suit' seeking damages for                       agreement.
      "parsonal and advertising injury" to which this           f. Breach Of Contract
      insurance does not apply. We may, at our
                                                                   "Personal and advertising injury' arising out of
      discretion, investigate any offense and settle
                                                                   a breach of contrac 1 except an implied
      any claim or 'suit" that may result. But:
                                                                   contract to use anothers advertising idea in
     (1) The amount we will pay for damages is                     your "advertisement".
         limited as described in Section Ill - Limits
                                                                g. Quality Or Pafonnance Of Goods - Failure
         Of Insurance; and
                                                                   To Conform To Statements
     (2) Our right and duty to defend end when we
                                                                   "Personal and advertising injury' arising out of
         have used up the applicable limit of
                                                                   the failure of goods, products or services to
         insurance in the payment of judgments or                  conform with any statement of quality or
         settlements under Coverages A or B or
                                                                   parformance rrade in your "advertisement".
         medical expenses under Coverage C.
                                                                h. Wrong Description Of Prices
      No other obligation or liability to pay sums or
      perform acts or services is covered unless                   "Personal and advertising injury' arising out of
      explicitly provided for under Supplementary                  the wrong description of the price of goods,
      Payments- Coverages A and B.                                 products    or services     stated     in your
                                                                   ''advertisemert''.
   b. This insurance applies to "parsonal and
      advertising injury' caused by an offense arising          i. Infringement Of Copyright, Patent,
      out of your business but only if the offense was             Trademark Or Trade Secret
      committed in the "coverage territory" during the             "Personal and advertising injury' arising out of
      policy period.                                               the    infringement    of    copyright,    paten 1
2. Exclusions                                                      trademark, trade secret or other intellectual
                                                                   property rights. Under this exclusion, such
   This insurance does not apply to:
                                                                   other intellectual proparty rights do not include
   a. Knowing Violation Of Rights Of Another                       the use of another's advertising idea in your
      "Personal and advertising injury" caused by or               ''advertisemert''.
      at the direction of the insured with the                     However, this exclusion does not apply to
      knowledge that the act would violate the rights              infringement, in your "advertisement", of
      of another and would inflict "personal and                   copyright, trade dress or slogan.
      advertising injury".
                                                                j. Insureds In 1\/ladiaAnd Internet Type
   b. Material Published With Knowledge Of                         Businesses
      Falsity
                                                                   "Personal and advertising injury" committed by
      "Personal and advertising injury" arising out of             an insured wrose business is:
      oral or written publication of material, if done by
                                                                  (1) Advertising    broadcasting,   pul)ishing   or
      or at the direction of the insured with
                                                                      telecasting;
      knowledge of its falsity.
                                                                  (2) Designing or determining content of web-
                                                                      sites for others; or


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     (3) An Internet search,     access,   content    or          (3) lnsurrectim, rebellion, revolution, usurped
         service provider.                                            power, or action taken by governmental
      However, this exclusion does not apply to                       authority in hindering or defending against
      Paragraphs 14.a., b. and c. of "personal and                    any of these.
      advertising injury'  under the Definitions                p. Distribution a Material In Violation Of
      Section.                                                     Statutes
     For the purposes of this exclusion, the placing               "Personal and advertising injury" arising
     of frames, oorders or links, or advertising, for              directly or irdirectly out of any action or
     you or others anywhere on the Internet, is not                omission that violates or is alleged to violate:
     by itself, considered      the business       of             (1) The Telepione Consumer Protection Act
     advertising,  broadcasting,     publishing    or                 (TCPA), including any amendment of or
     telecasting.                                                     addition to such law; or
   k. Electronic Ch at rooms Or Bulletin Boards                   (2) The CAN-SPAM Act of 2003, including any
      "Personal and advertising injury" arising out of                amendment of or addition to such law; or
      an electronic chatroom or bulletin board the
                                                                  (3) Any statute, ordinance or regulation, other
      insured hosts, owns, or over which the insured                  than the TCPA or CAN-SPAM Act of 2003,
      exercises control.
                                                                      that r:rnhibits or limits the sending,
   I. Unauthorized Use Of Another's Name Or                           transmitting, communicating or distribution
      Product                                                         of material or information.
     "Personal and advertising injury" arising out of       COVERAGE C MEDICAL PAYMENTS
     the unauthorized use of another's name or              1. Insuring Agreement
     product in your e-mail address, domain name
     or metatag, or any other similar tactics to                a. We will pay medical expenses as described
     mislead another's potential customers.                        below for "oodly injury" caused by an accident:
  m. Pollution                                                    (1) On premises you own or rent;
     "Personal and advertising injury" arising out of             (2) On ways rext to premises you own or rent;
     the actual, alleged or threatened discharge,                     or
     dispersal, seepage, migration, release or                    (3) Because d your operations;
     escape of"pollutants" at any time.
                                                                   provided that:
   n. Pollution-Related                                               (a) The accident takes place in the
      Any loss, cost or expense arising out of any:                       "cover2ge territory" and during the policy
     (1) Request, demand, order or statutory or                           period;
         regulatory requirement that any insured or                  (b) The expenses are incurred and reported
         others test for, monitor, clean up, remove,                      to us within one year of the date of the
         contain, trea 1 detoxify or neutralize, or in                    accidert; and
         any way respond to, or assess the effects
                                                                      (c) The    injured   person   submits    to
         of, "pollutants"; or
                                                                          examiration,   at our expense,      by
     (2) Claim or suit by or on behalf of a                               physicans of our choice as often as we
         governmental      authority   for  damages                       reasorably require.
         because of testing for, monitoring, cleaning
                                                                b. We will make these payments regardless of
         up,     removing,     containing,   treating,
                                                                   fault. These payments will not exceed the
         detoxifying or neutralizing, or in any way
                                                                   applicable limit of insurance. We wi II pay
         responding to, or assessing the effects of,
                                                                   reasonable expenses for:
         "pollutants".
                                                                  (1) First aid administered    at the time of an
   o. War
                                                                      accident;
      "Personal and advertising injury", however                  (2) Necessary medical, surgical,      x-ray and
      caused, arising, directly or indirectly, out of:
                                                                      dental    services, including      r:rnsthetic
     (1) War, including undeclared or civil war;                      devices; and
     (2) Warlike action bf a military force, including            (3) Necessary         ambulance,        hospital,
         action in hindering or defending against an                  professional nursing and funeral services.
         actual or expected        attack,   by any
         government, sovereign or other authority
         using military personnel or other agents; or



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 2. Exclusions                                                    f. R"ej udgment   irterest awarded against the
    We wil I not pay expenses for "bodily injury":                   insured on that part of the judgment we pay. If
                                                                     we make an offer to pay the applicable limit of
    a. Any Insured                                                   insurance, we will not pay any prejudgment
       To any insured, except "volunteer workers".                   interest based on that period of time after the
    b. Hired Person
                                                                     offer.
                                                                 g. Al I interest on the full amount of any judgment
       To a person hired to do work for or on behalf of
                                                                    that accrues after entry of the judgment and
       any insured or a tenant of any insured.
                                                                    before we have paid, offered to pay, or
    c. Injury On Normally Occupied Premises                         deposited in co LIi the part of the judgment that
       To a person injured on that part of premises                 is within the applicable limit of insurance.
       you own or rent that the person normally                  These payments will not reduce the limits of
       occupies.                                                 insurance.
    d. Workers Compensation And Similar Laws                  2. If we defend an i rsured against a 'suit" and an
       To a person, whether or not an "employee" of              indemnitee of the insured is also named as a party
       any insured, if benefits for the "b:Jdily injury"         to the "suit", we will defend that indemnitee if all of
       are payable or must be provided under a                   the following conditions are met:
       workers' compensation or disability benefits              a. The "suit" against the indemnitee seeks
       law or a similar law.                                        damages for which the insured has assumed
    e. Athletics Activities                                         the liability of the indemnitee in a contract or
                                                                    agreement that is an "insured contract";
       To a person injured while practicing, instructing
       or partici paling in any physical exercises or            b. This insurance applies          to    such   liability
       games, sports, or athletic contests.                         assumed by the insured;
    f. Products-Completed Operations Hazard                      c. The obligation to defend, or the cost of the
                                                                    defense of, Iha: indemnitee, has also been
       Included   within   the      "products-completed
                                                                    assumed by the insured in the same "insured
       operations hazard".                                          contract'';
    g. Coverage A Exclusions                                     d. The allegations in the "suit" and the information
       Excluded under Coverage A.                                   we know ab:Jut the "occurrence" are such that
 SUPPLEMENTARY PAYMENTS - COVERAGES A                               no conflict ar:pears to exist between the
 ANDB                                                               interests of the insured and the interests of the
                                                                    indemnitee;
 1. We will    pay, with respect to any claim we
    investigate or settle, or any "suit" against an              e. The indemnitee and the insured ask us to
    insured we defend:                                              conduct and control the defense of that
                                                                    indemnitee against such "suit'' and agree that
    a. All expenses we incur.                                       we can assign the same counsel to defend the
    b. Up to $250 for cost of bail bonds required                   insured and the indemnitee; and
       because of accidents or traffic law violations             f. The indemnitee:
       arising out of the use of any vehicle to which
       the Bodily Injury Liability Coverage applies. We             (1) Agrees in wnting to
       do not have to furnish these b:Jnds.                               (a) Cooperate with us in the investigation,
    c. The cost of bonds to release attachments, but                          settlemert or defense of the "suit";
       only for b:Jnd amounts within the applicable                       (b) Immediately send us copies of any
       limit of insurance. We do not have to furnish                          demands, notices, summonses or legal
       these bonds.                                                           papers rECeived in connection with the
    d. All  reasonable expenses i rcurred by the                              "suit";
       insured at our request to assist us in the                         (c) Notify any other insurer whose coverage
       investigation or defense of the claim or "suit",                       is available to the indemnitee; and
       including actual loss of earnings up to $250 a
                                                                          (d) Cooperate with us with respect to
       day because of time off from work.                                     coordinating other applicable insurance
    e. All court costs taxed against the insured in the                       available to the indemnitee; and
       "suit". However, these payments do not include
                                                                    (2) Provides us with written authorization to:
       attorneys' fees or attorneys' expenses taxed
       against the insured.                                               (a) Obtain records and other information
                                                                              related to the "suit"; and


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 (b)Condu:t and control the defense of the indemnitee        2. Each of the following is also an insured:
             in such "suit".                                    a. Your "vol unteerworkers" only while performing
    So long as the above conditions are met,                       duties related to the conduct of your business,
    attorneys' fees incurred by us in the defense of               or your "emplOfees", other than either your
    that indemnitee, necessary litigation expenses                 "executive officers" (if you are an organization
    incurred by us and necessary litigation expenses               other than a partnership, joint venture or limited
    incurred by the indemnitee at our request wi II be             liab lily company) or your managers (if you are
    paid        as       Supplementary     Payments.               a limited liabi lily company), but only for acts
    Notwithstanding the provisions of Paragraph                    within the scope of their employment by you or
    2.b.(2) of Section I - Coverage A - Bodily Injury              while performing duties related to the conduct
    And R"operty Damage Liability, such payments will              of your businESs. However, non= of these
    not be deemed to be damages for "bodily injury"                "employees"       or "volunteer   workers" are
    and "property damage" and will not reduce the                  insureds for:
    limits of insurance.                                           (1) "Bodily injury' or "personal and advertising
    Our obi igation to defend an insured's indemnitee                  injury"
    and to pay for attorneys' fees and n=cessary
                                                                         (a) To you, to your partners or members (if
    litigation expenses as Supplementary Payments                            you are a partnership or joint venture),
    ends when we have used up the applicable limit of
                                                                             to your members (if you are a Ii mited
    insurance in the payment of judgments or                                 liability ocmpany), to a co-"employee"
    settlements or the conditions set forth above, or                        while in the course of his or her
    the terms of the agreement described in                                  employrrent or performing dU[ies related
    Paragraph f. above, are no longer met.                                   to the conduct of your business, or to
 SECTION II -WHO 15 AN INSURED                                               your other "volunteer workers" while
 1. If you are designated in the Declarations as:                            performi rg dU[ies related to the conduct
                                                                             of your bLSiness;
    a. An individual, you and your spouse are
       insureds, but only W[h respect to the conduct                     (b) To the srnuse, child, parent, brother or
       of a business of which you are the sole owner.                        sister    of that    co-"employee"    or
                                                                             '\/oluntee- worker" as a consequence of
    b. A partnership or joint venture, you are an                            Paragraph (1)(a) above;
       insured. Your members, your partn=rs, and
       their spouses are also insureds, but only with                    (c) For which there is any obligation to
       respect to the conduct of your business.                              share damages with or repay someone
                                                                             else who must pay damages because of
    c. A Iimited liability company, you are an insured.                      the injury described in Paragraphs (1 )(a)
       Your members are also insureds, but only with                         or (b) abcve; or
       respect to the conduct of your business. Your
       managers are insureds, but only with respect                      (d) Arising out of his or her providing or
       to their duties as your managers.                                     failing to provide r:rnfessional health
                                                                             care services.
    d. An organization other than a partnership, joint
       venture or Ii mited liability company, you are an           (2) "Property damage" to property
       insured. Your "executive officers" and directors                  (a) Own=d, occupied or used by,
       are insureds, but only with respect to their                      (b) Rented to, in the care, custody or
       dU[ies as your officers or directors. Your                            control o( or over which physical control
       stockholders are also insureds, but only with                         is being exercised for any purpose by
       respect to their liability as stockholders.
                                                                          you, any of your "employees", "volunteer
    e. A trus 1 you are an insured. Your trustees are                     workers", any partner or member (if you are
       also insureds, but only with respect to their                      a partnership or joint venture), or arry
       dU[ies as trustees.                                                member (if you are a limited liability
                                                                          company).




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    b. Any person (other than your "employee" or              3. The Products-Completed Operations Aggregate
        "volunteer worker'), or any organization while           Limit is the most we will pay under Coverage A for
        acting as your real estate manager.                      damages because of "bodily injury" and "property
    c. Any person or organization having proper                  damage" included in the "products-completed
       temporary eustacy of your property if you die,            operations hazard".
       but only                                               4. Sut:ject to Paragraph 2. above, the Personal and
       (1) With respoct to liability arising out of the          Advertising Injury Li mil is the most we will pay
           maintenance or use of that property; and              under Coverage B for the sum of all damages
                                                                 because of all "personal and advertising injury"
       (2) Until your legal representative      has been         sustained by any one person or organization.
           appointed.
                                                              5. Sut:ject to Paragraph 2. or 3. above, whichever
    d. Your legal representative if you die, but only            applies, the Each Ctcurrence Limit is the most we
       with respect to duties as such. That                      will pay for the sum of:
       representative will have all your rights and
       duties under this Coverage Part                           a. Damages under Coverage A; and
 3. Any organization you newly acquire or form, other            b. Medical expenses under Coverage C
    than a partnership, joint venture or limited I iability      because of all 'bodily injury" and "property
    company, and over which you maintain ownership               damage" arising out of any one "occurrence".
    or majority interest, will qualify as a Named             6. Sut:ject to Paragraph 5. above, the Damage To
    Insured if there is no other similar insurance               Premises Rented To You Limit is the most we will
    avail able to that organization. However:                    pay under Coverage A for damages because of
    a. Coverage under this provision is afforded only            "proporty damage" to any one premises, while
       until the 9oth day after you acquire or form the          rented to you, or in the case of damage by fire,
       organization or the end of the policy period,             while rented to you or temporarily occupied by you
       whichever is earlier;                                     with permission oflhe owner.
    b. Coverage A does not apply to "bodily injury" or        7. Sut:ject to Paragraph 5. above, the Medical
        "property damage" that occurred before you               Expense Limit is the most we will pay under
        acquired or formed the organization; and                 Coverage C for all medical expenses because of
    c. Coverage B does not apply to "personal and                "bodily injury"sustaned by any one person.
       advertising injury" arising out of an offense          The Limits of lnsuranoe of this Coverage Part apply
       committed before you acquired or formed the            separately to each corsecutive annual period and to
       organization.                                          any remaining poriod d less than 12 months, starting
 No porson or organization is an insured with respect         with the beginning of the policy period shown in the
 to the conduct of any current or past partnership, joint     Declarations, unless the policy period is extended
 venture or limited liability company that is not shown       after issuance for an additional period of less than 12
 as a Named Insured in the Declarations.                      months. In that case, the additional period will be
                                                              deemed part of the last preceding period for purposes
 SECTION Ill - LIMITS OF INSURANCE                            of determining the Limls of Insurance.
 1. The Limits of Insurance shown in the Declarations         SECTION IV-COMMERCIAL          GENERAL LIABILITY
    and the rules below fix the most we will pay              CONDITIONS
    regardless of the number of:
                                                              1. Bankruptcy
    a. Insureds;
                                                                 Bankruptcy or insdvency of the insured or of the
    b. Claims made or "suits" brought; or                        insured's estate wi II not relieve us of our
    c. Persons or organizations       making claims or           obligations under ths Coverage Part.
       bringing "suits".                                      2. Duties In The Event Of Occurrence, Offense,
 2. The General Aggregate Limit is the most we will              Claim Or Suit
    pay for the sum of:                                          a. You must see to it that we are notified as soon
    a. Medical expenses under Coverage C;                           as practicable of an "occurrence" or an offense
                                                                    which may result in a claim. To the extent
    b. Damages under Coverage A, except damages
                                                                    possible, notice should include:
        because of "bodily injury" or "property damage"
        included in the "products-completed operations              (1) How, when and where the "occurrence" or
        hazard"; and                                                    offense took place;
    c. Damages under Coverage B.                                              (2) The names and addresses of any
                                                                                  injured persons and witnesses;
                                                                                  and

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  (3)Tre nature and location of any injury or damage         4. Other Insurance
           arising out of the "occurrence" or offense.          If other valid and collectible insurance is available
     b. If a claim is made or "suit" is brought against         to the insured for a loss we cover under
        any insured, you must:                                  Coverages A or B of this Coverage Part, our
       (1) Immediately record the specifics of the              obligations are limited as follows:
           claim or 'suit" and the date received; and           a. Primary Insurance
       (2) Notify us as soon as practicable.                       This insurance is primary except when
        You must see to it that we receive written                 Paragraph b. below applies. If this insurance is
        notice of the claim or "suit" as soon as                   primary, our obligations are not affected uni ess
        practicable.                                               any of the other insurance is also primary.
                                                                   Then, we will share with all that other
     c. You and any other involved insured must:                   insurance by the method described               in
       (1) Immediately send us copies of any                       Paragraph c. below.
           demands, notices, summonses or legal                 b. Excess Insurance
           papers received in connection with the
           claim or ''suit";                                       (1) This insurance is excess over:
       (2) Authorize us to attain   records and other                   (a) Any of the other insurance, whether
           information;                                                     primary, excess, contingent or on any
                                                                            other basis:
       (3) Cooperate with us in the i rrvestigation or
           settlement of the claim or defense against                       (i) That is Fire, Extended Coverage,
           the "suit";and                                                       Builder's Risk, Installation Risk or
                                                                                similar coverage for"yourwork";
       (4) Assist us, upon our request, in the
           enforcement of any right against any                            (ii) That is Fire insurance for premises
           person or organization which may be liable                           rented to you       or temporarily
           to the insured because of injury or damage                           occupied by you with permission of
           to which this insurance may also apply.                              the owner;

     d. No insured will, excep: at that i nsured's own                     (iii) That is insurance purchased by you
        cost, voluntarily make a payment, assume any                             to cover your liability as a tenant for
        obligation, or incur any expense, other than for                         "proporty damage" to premises
        first aid, without our consent.                                          rented to you          or temporarily
                                                                                 occupied by you with permission of
  3. Legal Action Against Us                                                     the owner; or
     No person or organization has a right under this                      (iv) If the loss arises out of the
     Coverage Part:                                                             maintenance or use of aircraft
     a. To join us as a party or otherwise bring us into                        "autos" or watercraft to the extent not
        a "suit" asking for damages from an insured; or                         subject to Exel usion g. of Section I -
                                                                                Coverage A - Bodily Injury And
     b. To sue us on this Coverage Part unless all of
                                                                                R"operty Damage Liability.
        its terms have been fully complied with.
     A person or organization may sue us to recover on                  (b) Any other primary insurance available to
                                                                            you covering liability for damages
     an agreed settlement or on a final judgment
                                                                            arising out of the            premises or
     against an insured; but we will not be liable for
                                                                            operations,     or the      p-oducts     and
     damages that are not payable under the terms of
                                                                            completed oporations, for which you
     this Coverage Part or that are in excess of the
                                                                            have been added as an additional
     applicable limit of insurance. An agreed settlement
                                                                            insured      by     attachment       of   an
     means a settlement and release of liability signed
     by us, the insured and the claimant or the                             endorsement.
     claimants legal representative.                                           (2) When this insurance is excess,
                                                                                   we will have no duty under
                                                                                   Coverages A or B to defend the
                                                                                   insured against any "suit" if any
                                                                                   other insurer has a duty to defend
                                                                                   Ire insured against that 'suit". If
                                                                                   no other insurer defends, we will
                                                                                   undertake to do so, but we will be
                                                                                   entitled to the ins ured's rights
                                                                                   against all those other insurers.

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 (3)When    this insurance is excess over other                    c. We have issued this policy in reliance upon
           insurance, we will pay only our share of the               your representations.
           amount of the loss, if any, that exceeds the         7. Separation Of Insureds
           sum of:
                                                                   Except with respect to the Limits of Insurance, and
           (a) The total amount that all such other                any rights or duties specifically assigned in this
               insurance would pay for the loss in the             Coverage Part to the first Named Insured, this
               absence of this insurance; and                      insurance applies:
           (b) The total of all deductibleand self-                a. As if each Named Insured were the only
               insured amounts under all that other                   Named Insured; and
               insurance.
                                                                   b. Separately to each insured against whom claim
      (4) We will share the remaining loss, if any,                   is made or "suit' is brought
          with any other insurance that is not
          descrired    in this   Excess     Insurance           8. Transfer Of Rights Of Recovery Against Others
          provision and was not b:Jught specifically to            To Us
          apply in excess of the Limits of Insurance               If the insured has rights to recover all or part of
          shown in the Declarations of this Coverage               any payment we have made under this Coverage
          Part                                                     Part, those rights are transferred to us. The
    c. Method Of Sharing                                           insured must do ncthing after loss to impair them.
                                                                   At our request, the insured will bring "suit" or
       If all of the other insurance permits contribution          transfer those rights to us and help us enforce
       by equal shares, we will follow this method                 them
       also. Under this approach each insurer
       contributes equal amounts until it has paid its          9. When We Do Not Renew
       applicable limit of insurance or none of the loss           If we decide not to renew this Coverage Part, we
       remains, whichever comes first                              will mail or delive- to the first Named Insured
       If any of the other insurance does not permit               shown in the Dedarations written notice of the
       contribution by equal shares, we will contribute            nonrenewal not less than 30 days before the
       by limits. Under this method, each insurer's                expiration date.
       share is based on the ratio of its applicable               If notice is mailed, proof of mailing wil I re sufficient
       limit of insurance to the total applicable limits of        proof of notice.
       insurance of all insurers.                               SECTION V- DEFINITIONS
 5. Premium Audit                                               1. "Advertisement' means a notice that is broadcast
    a. We will compute all premiums for this                       or published to the general pul)ic or specific
       Coverage Part in accordance with our rules                  market segments about your goods, products or
       and rates.                                                  services for the purpose of attracting customers or
    b. Premium shown in this Coverage Part as                      supporters. For the purp::,ses of this definition:
       advance premium is a deposit premium only.                  a. Notices that are published include material
       At the close of each audit period we will                      placed on the Internet or on similar electronic
       compute the earned premium for that period                     means of communication; and
       and send notice to the first Named Insured.
                                                                   b. Regarding web-sites, only that part of a web-
       The due date for audit and retrospective
                                                                      site that is at:out your goods, p-oducts or
       premiums is the date shown as the due date
                                                                      services for the purposes of attracting
       on the bill. If the sum of the advance and audit
                                                                      customers or supporters is considered an
       premiums paid for the policy period is greater
                                                                      advertisement.
       than the earned premium, we will return the
       excess to the first Named Insured.                       2. "Auto" means:
    c. The first Named Insured must keep records of                a. A land motor vehicle, trailer or semitrailer
       the information    we need for premium                         designed for tratel on public roads, including
       computation, and send us copes at such times                   any attached machinery or equipment; or
       as we may request                                           b. Any other land vehicle that is subject to a
 6. Representations                                                   compulsory or financial resp::,nsibility law or
                                                                      other motor vehicle insurance law in the state
    By accepting this p::,licy, you agree:
                                                                      where it is licensed or principally garaged.
    a. The statements in the           Declarations    are         However, "auto"        does    not    include   "mobile
       accurate and complete;
                                                                   equipment".
    b. Those     statements    are    based           up::,n
       representations you made to us; and

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 3. "B:Jdily injury" means bodily injury, sickness or          9. "Insured contract" means:
    disease sustained by a person, including death                a. A contract for a lease of premises. However,
    resulting from any of these at any time.                         that portion of the contract for a lease of
 4. "Coverage territory" means:                                      premises that indemnifies any person or
    a. The United States of America (including its                   organization for damage by fire to premises
       territories and possessions), Puerto Rico and                 while rented to you or temporarily occupied bf
       Canada;                                                       you with permssion of the owner is not an
                                                                     ''insuredcontract'';
    b. International waters or airspace, but only if the
       injury or damage occurs in the course of travel            b. A sidetrack agrEEment;
       or transportation between any places included              c. Any easement a license agreement, except in
       in Paragraph a. abcve; or                                     connection with construction or demolition
    c. All other parts of the world if the injury or                 operations on orwithin 50 feet of a railroad;
       damage arises out of:                                      d. An obligation, as required by ordinance, to
      (1) Goods or products made or sold by you in                   indemnify a municipality, except in connection
          the territory described in Paragraph a.                    with work for a municipality;
          above;                                                  e. An elevator maintenance agreement;
      (2) The activities of a person whose home is in             f. That part of any other contract or agreement
          the territory described in Paragraph a.                    pertaining to your business (including an
          above, but is away for a short time on your                indemnification of a municipality in connection
          business; or                                               with work performed for a municipality) under
      (3) "Personal and advertising injury" offenses                 which you assume the tort liability of another
          that take place through the Internet or                    party to pay fa "bcdily injury' or "property
          similar electronic means of communication                  damage" to a thrd person or organization. Tort
                                                                     liablity means a liability that would be imposed
    provided the insured's responsibility to pay                     by law in the absence of any contract or
    damages is determined in a "suit" on the merits, in              agreement.
    the territory described in Paragraph a. above or in
    a settlement we agree to.                                        Paragraph f. does not include that part of any
                                                                     contract or agreement:
 5. "Employee"      includes    a     "leased worker".
    "Employee"     does not     include a 'temporary                (1) That indemnifies a railroad for "bodily injury"
    worker''.                                                           or "property damage" arising out of
                                                                        construction or demolition operations, within
 6. "Executive officer" means a person holding any of                   50 feet of any rai Iroad property and
    the officer positions created by your charter,                      affecting any railroad bridge or trestle,
    constitution, by-laws or any other similar governing                tracks, road-beds, tunnel, underpass or
    document.                                                           crossing;
 7. "Hostile fire" means one which becomes                          (2) That indemnifies an architec 1 engineer or
    uncontrollable or breaks out from where it was                      surveyor for injury or damage arising out of:
    intended to be.
                                                                           (a) Preparing approving, or failing to
 8. "Impaired property' means tangible property, other                         prepare or approve,        maps, shop
    than ''your product" or ''your work", that cannot be                       drawings, opinions, reports, surveys,
    used or is less useful because:                                            field orde-s, change orders or drawings
    a. It incorpcrates "your product" or "your work"                           and specifications; or
       that is known or thought to be defective,                           (b) Giving drections or instructions, or
       deficient, inadequate or dangerous; or                                  failing to give them, if that is the primary
    b. You have failed to fulfill the terms of a contract                      cause of the injury or damage; or
       or agreement;                                                (3) Under which the insured, if an architect,
    if such property can be restored to use by the                      engineer or surveyor, assumes liablity for
    repair, replacement, adjustment or removal of                       an injury or damage arising out of the
    "your product" or ''your work'.' or your fulfilling the             insured's rfflderi ng or failure to render
    terms of the contract or agreement.                                 professional services, including those listed
                                                                        in (2) above and supervisory, inspection,
                                                                        architectural or engineering activities.




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 10. "Leased worker" means a person leased to you by               However, self-propelled vehicles with the
     a labor leasing firm under an agreement between               following types of permanently         attached
     you and the labor leasing firm, to perform duties             equi p-nent are not "mobile equip-nent" but will
     related to the condu:t of your business. "Leased              be considered "autos":
     worker"does not include a 'temporary worker".                (1) Equipment designed primarily for
 11. "Loading or unloading" means the handling of                        (a) Snow removal;
     property
                                                                         (b) Road mantenance, but not construction
    a. After it is moved from the place where it is                          or resurfacing; or
       accepted for movement into or onto an aircraft,
       watercraft or "auto";                                             (c) Street cleaning;
    b. While it is in or on an aircraf 1 watercraft or            (2) Cherry picke-s and similar devices mounted
       "auto";or                                                      on automoble or truck chassis and used to
                                                                      raise or lower workers; and
    c. While it is being moved from an aircraft,
       watercraft or "auto" to the place where it is              (3) Air compressors, pumps and generators,
       finally delivered;                                             including   sp-aying,   welding,   building
                                                                      cleaning, gSJphysical exploration, lighting
    but "loading or unloading" does not include the                   and well servicing equipment
    movement of property by means of a mechanical
    device, other than a hand truck, that is not                However, "mobile equipment" does not include
    attached to the aircraft, watercraft or "auto".             any land vehicles trat are subject to a compulsory
                                                                or financial responsibility law or other motor
 12 "Mobile equipment" means any of the following               vehicle insurance law in the state where it is
    types of land vehicles, including any attached              licensed or principally garaged. Land vehicles
    machinery or equipment:                                     subject to a compulsory or financial responsibility
    a. Bui ldozers, farm machinery, forklifts and other         law or other motor vehicle insurance law are
       vehicles designed for use p-incipally off pubic          considered "autos".
       roads;                                                13. "Occurrence" means an accident,       including
    b. Vehicles maintained for use solely on or next to          continuous or repeated exposure to substantially
       premises you own or rent;                                 the same general rarmful conditions.
    c. Vehicles that travel on crawler treads;               14."Personal and advertising injury" means injury,
    d. Vehicles, whether    self-propelled or not,              including consequential "bodily injury", arising out
       maintained primarily to provide mobility to              of one or more of the following offenses:
       permanently mounted:                                     a. False arrest, detention or imprisonment;
      (1) Power cranes, shovels, loaders, diggers or            b. Malicious prosecution;
          drills; or                                            c. The wrongful eviction from, wrongful entry into,
      (2) Road construction or resurfacing equi p-nent             or invasion of the right of private occupancy of
          such as graders, scrapers or rollers;                    a room, dwelling or premises that a person
                                                                   occupies, committed by or on behalf of its
    e. Vehicles not described in Paragraph a., b., c.
                                                                   owner, landlord or lessor;
       or d. above that are not self-propelled and are
       maintained primarily to provide mobility to              d. Oral or written publication, in any manner, of
       permanently      attached equipment     of the              material that slanders or libels a person or
       fol lowing types                                            organization or disparages a person's or
      (1) Air compressors, pumps and generators,                   organization's goods, products or services;
          including    spraying,    welding, building           e. Oral or written publication, in any manner, of
          cleaning, geophysical exploration, lighting              material that violates a person's right of
          and wel I servicing equipment; or                        privacy;
      (2) Cherry pickers and similar devices used to             f. The use of ancther's advertising idea in your
          raise or lower workers;                                  "advertisement";or
    f. Vehicles not described in Paragraph a., b., c.           g. Infringing upon another's copyright, trade dress
       or d. above maintained primarily for purposes               or slogan in yo LI "advertisement".
       other than the transportation of persons or
       cargo.




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 15. "Pollutants" mean any solid, liquid, gaseous or             b. Loss of use of tangil)e property that is not
     thermal irritant or contaminant, including smoke,              physically injurs:J. All such loss of use shall be
     vapor, soot, fumes, acids, alkalis, chemicals and              deemed to occur at the ti me of the
     waste. Waste includes materials to be recycled,                "occurrence" that caused it.
     reconditioned or reclaimed.                                 For the purposes d this insurance, electronic data
 16. ''R"oducts-competed operations hazard":                     is not tangible property.
    a. Includes all "bodily injury'' and "r:rnperty              As used in this definition, electronic data means
       damage" occurring away from premises you                  information, facts or programs stored as or on,
       own or rent and arising out of "your product" or          created or used on, or transmitted to or from
       "your work" except:                                       computer      software, including    systems  and
      (1) Products that are still in your        physical        applications software, hard or floppy disks, CD-
          possession; or                                         ROMS, tapes, drives, cells, data processing
                                                                 devices or any other media which are used with
      (2) Work that has not yet been completed or                electronically contrdled equipment.
          abandoned. However, "your work" will be
          deemed completed at the earliest of the             18."Suit" means a civil proceeding in which damages
                                                                 t:ecause of "bodily injury", "property damage" or
          following times:
                                                                 "personal and advertising injury'' to which this
          (a) When all of the work called for in your            insurance applies are alleged. "Suit'' includes:
              contract has been completed.
                                                                 a. An arbitration proceeding in which such
         (b) When all of the work to t:e done at the                damages are claimed and tow hich the insured
              job site has been completed if your                   must submit or does submit with our consent;
              contract calls for work at more than one              or
              job site.
                                                                 b. Any other alternative dispute      resolution
          (c) When that part of the work done at a job              proceeding in which such damages are
              site has been put to its intended use by              claimed and to which the insured submits with
              any person or organization other than                 our consent.
              another contractor or subcontractor
              working on the same project                     19. 'Temporary worke-" means a person who is
                                                                  furnished to you to substitute for a permanent
          Work that may need service, maintenance,                "employee" on leave or to meet seasonal or short-
          correction, repair or replacement, but which            term workload conditions.
          is otherwise complete, will be treated as
          completed.                                          20."Volunteer worker" means a person who is not
                                                                 your "employee", and who donates his or her work
    b. Does not include "bodily injury" or "r:rnperty            and acts at the direction of and within the scope of
       damage" arising out of:                                   duties determined by you, and is not paid a fee,
      (1) The transportation of property, unless the             salary or other compensation by you or anyone
          injury or damage arises out of a condition in          else for their work r:erformed for you.
          or on a vehicle not owned or operated by            21. 'Your product":
          you, and that condition was created by the
          "loading or unloading" of that vehicle by any          a. Means:
          insured;                                                  (1) Any goods or products, other than real
      (2) The    existence of tools, uninstalled                        property, manufactured, sold, handled,
          equipment or abandoned or unused                              distributed or disposed of ty
          materials; or                                                   (a) You;
      (3) Products or operations for which the                            (b) others trading under your name; or
          classification, listed in the Declarations or in                (c) A persm      or organization  whose
          a policy schedule, states that products-                            business or assets you have acquired;
          completed operations are subject to the                             and
          General Aggregate Limit.
                                                                    (2) Containers (other than vehicles), materials,
 17. ''R"operty damage" means:
                                                                        parts or equipment furnished in connection
    a. Physical injury to tangible property, including                  with such gmds or products.
       all resulting loss of use of that property. All           b. Includes:
       such loss of use shall be deemed to occur at
       the time of the physical injury that caused it; or           (1) Warranties or representations made at any
                                                                        time with respect to the fitness, quality,
                                                                        durability, r:erformance or use of "your
                                                                        product"; and


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                                                                                                     CICMSJ0225
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      (2) The providing of or failure         to   provide
          warnings or instructions.
    c. Does not include vending machines or other
       property rented to or located for the use of
       others but not sold.
 22 "Your work'.':
    a. Means:
      (1) Work or operations performed by you or on
          your behalf; and
      (2) Materials, parts or equipment furnished in
          connection with such work or operations.
    b. Includes:
      (1) Warranties or representations rnade at any
          tirne with respect to the fitness, quality,
          durability, performance or use of "your
          work", ard
                   (2) The providing of or failure to
                       provide warnings or instructions.




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                                                                                                             IL 001711 98


                                  COMMON POLICY CONDITIONS
All Coverage Parts included in this policy are subject to the following conditions.
A. Cancellation                                                             b. G~e you reports on the conditions we find;
   1. The first Named Insured shown in the                                       and
      Declarations may cancel this policy by mailing or                  c. Recommend changes.
      del~ering to us advance written notice of                       2. We are not obligated to make any inspections,
      cancellation.                                                      surveys, reports or recommendations and any
   2. We may cancel this policy by mailing or                            such actions we do undertake relate only to
      del~ering to the first Named Insured written                       insurability and the premiums to be charged.
      notice of cancellation at least:                                   We do not make safety inspections. We do not
         a. 10 days before the effective date of                         undertake to perform the duty of any person or
            cancellation if we cancel for nonpayment of                  organization to provide for the health or safety of
            premium; or                                                  workers or the public. And we do not warrant
                                                                         that conditions:
         b. 30 days before the effective date of
            cancellation if we cancel for any other                      a. Are safe or healthful; or
            reason.                                                      b. Compfy with laws, regulations, codes or
    3.   We will mail or deliver our notice to the first                      standards.
         Named I nsured's last mailing address known to               3. Paragraphs 1. and 2. of this condition appy not
         US.                                                             only to us, but also to any rating, advisory, rate
    4.   Notice of cancellation will state the effective date            service or similar organization which makes
         of cancellation. The policy period will end on                  insurance inspections, surveys, reports or
         that date.                                                      recommendations.
    5.  If this policy is cancelled, we will send the first           4. Paragraph 2. of this condition does not apply to
        Named Insured any premium refund due. If we                      any      inspections,   surveys,     reports     or
        cancel, the refund will be pro rata. If the first                recommendations we may make relative to
        Named Insured cancels, the refund may be less                    certification, under state or municipal statutes,
        than pro rata. The cancellation will be effective                ordinances or regulations, of boilers, pressure
        even if we have not made or offered a refund.                    vessels or elevators.
   6. If notice is mailed, proof of mailing will be                E. Premiums
        sufficient proof of notice.                                   The first Named Insured shown in the Declarations:
B. Changes                                                            1. Is responsil)e for the payment of all premiums;
   This policy contains all the agreements between you                     and
   and us concerning the insurance afforded. The first                2. Vv111  be the payee for any return premiums we
   Named Insured shown in the Declarations is                              pay.
   authorized to make changes in the terms of this                 F. Transfer Of Your Rights And Duties Under This
   policy with our consent This policy's terms can be                 Policy
   amended or waived only by endorsement issued by
                                                                      Your rights and duties under this policy may not be
   us and made a part of this policy.
                                                                      transferred without our written consent except in the
C. Examination Of Your Books And Records                              case of death of an individual named insured.
   We may examine and aud[ your books and records                     If you die, your rights and duties will be transferred
   as they relate to this policy at any time during the               to your legal representative but only while acting
   policy period and up to three years afterward.                     wrnn     the scope of duties as your legal
D. Inspections And Surveys                                            representative. Until your legal representative is
   1. We have the right to:                                           appointed, anyone having proper temporary custody
                                                                      of your property will have your rights and duties but
        a. Make inspections and surveys at any time;
                                                                      only with respect to that property.




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                                                                                                          CICMSJ0227
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                                         SERVICE OF SUIT

The Company agrees that in the event of its failure to pay any amount claimed to be due hereunder, the
Company, at the request of the Insured, will submit to the jurisdiction of any court of competent jurisdictbn
within the United States of America and will comply with all requirements necessary to give such Court
jurisdiction, and all matters arising hereunder shall be determined in accordance with the law and practice of
such Court.

The Company hereby designates the Commissioner, Director or Superintendent of Insurance, or other officer
specified by law for that purpose, or his successor or successors in office, or the person designated below, in
the space indicated, as ~s true and lawful attorney upon whom may be served any lawful process in any
action, su~ or proceeding instituted by or on behalf of the Insured arising out of this contract of insurance. It is
further agreed that the Company shall abide by the final decision of any court having jurisdiction in which such
action is filed, or by the decision of any appellate court in the event of an appeal.

Upon receip: of process served hereunder, the Company hereby designates Marcia M. Paulsen, Vice
President; 26600 Telegraph Rd. Southfield, Michigan 48033 as the person to whom the officer designated
above is authorized to mail such process.

In the alternative, process may be served upon the authorized agent of the Company whose name and
address are:

                                  FIRST MERCURY INSURANCE COMPANY
                                         26600 TELEGRAPH RD.
                                      SOUTHFIELD, MICHIGAN 48033




FMIC LEGAL (10/2007)




                                                                                                 CICMSJ0228
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                        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                        RECORDING AND DISTRIBUTION OF MATERIAL OR
                        INFORMATION IN VIOLATION OF LAW EXCLUSION

This encbrsement modifies insurance provided under the following:

                                     COMMERCIAL GENERAL LIABILITY COVERAGE PART


A.   Exclusion q. of Paragraph 2. Exclusions of Section I -            B.   Exclusion p. of Paragraph 2. Exclusions of Section I -
     Coverage A Bodily Injury And Property Damage                           Coverage      B Personal And Advertising             Injury
     Liabillty is replaced by the following:                                Liability is replaced by the following:
     2. Exclusions                                                          2. Exclusions
         This insurance does not apply to:                                      This insurance does not apply to:
          q. Recording And Distribution Of Material Or                           p. Recording And Distribution Of Material Or
               Information In Violation Of Law                                        Information In Violation Of Law
               "Bodily injury" or "property damage" arising                           "Personal and advertising injury" arising
               directly or indirectly out of any action or                            directly or indirectly out of any action or
               omission that violates or is alleged to violate:                       omission that violates or is alleged to violate:
               (1) The Telephone Consumer Protection Act                              (1) The Telephone Consumer Protection Act
                    (TCPA), including any amendment of or                                  (TCPA), including any amendment of or
                    addition to such law;                                                  addition to such law;
               (2) The CAN-SPAM Act of 2003, including                                (2) The CAN-SPAM Act of 2003, including
                    any amendment of or addition to such                                   any amendment of or addition to such
                    law;                                                                   law;
               (3) The Fair Credit Reporting Act (FCRA),                              (3) The Fair Credit Reporting Act (FCRA),
                    and any amendment of or addition to                                    and any amendment of or addition to
                    such law, including the Fair and Accurate                              such law, including the Fair and Accurate
                    Credit Transaction Act (FACT A); or                                    Credit Transaction Act (FACTA); or
               (4) Any federal, state or local statulte,                              (4) Any federal, state or local statulte,
                    ordinance or regulation, other than the                                ordinance or regulation, other than the
                    TCPA, CAN-SPAM Act of 2003 or FCRA                                     TC PA, CAN-SPAM Act of 2003 or FCRA
                    and their amendments and additions,                                    and their amendments and additions,
                    that addresses, prohibits, or limits the                               that addresses, prohibits, or limits the
                    printing, dissemination, disposal, collect-                            printing, dissemination, disposal, collect-
                    ing, recording, sending,       transmitting,                           ing, recording, sending, transmitting,
                    communicating or distribution of material                              communicating or distribution of material
                    or information.                                                        or information.


                       ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




This endorsement forms a part of the Policy to which attached, effective on the inception date of the Policy unless otherwise
stated herein.

(The following information is required only when this endorsement is issued subsequent to preparation of the Policy.)


Endorsement effective                                     Policy No.                          Endorsement No.
Named Insured
                                                          Countersigned by ____________________                                     _


CG 00 68 05 09




                                                                                                                  CICMSJ0229
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POLICY NUMBER NJ-CGL-0000009684-02                                         COMMERCIAL GENERAL LIABILITY


      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                  CANCELLATION BY US
This endorsement modifies insurance provided under the followirg:

   COM MERCIAL GENERAL LIABILITY COVERAGE PART
   LIQJOR LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

                                                  SCHEDULE

Number of Days 30


(If no entry appears above, information required to complete this SchedLle will be shown in the Declarations as
applicable to this endorsement.)


Paragraph 2. of CANCELLATION (Common Policy Conditions) is replaced b; the followirg
2. We may cancel this Coverage Part by mailing or delivering to the first Named Insured written notice of
   cancellation at least:
   a. 1 0 days before the effective date of cancellation if we cancel for non payment of p-emium; or
   b. The number of days shown in the Schedule before the effective date of cancellation if we cancel for any
      other reason.




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                                                                                               CICMSJ0230
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  POLICY NUMBER                                                                 COMMERCIAL GENERAL LIABILITY
                                                                                               CG 20 10 07 04
                        NJ-CGL-0000009684-02



           ADDITIONAL INSURED - OWNERS, LESSEES OR
             CONTRACTORS - SCHEDULED PERSON OR
                         ORGANIZATION
 This endorsement modifies insurance provided under
 the following:

     COMMERCIAL GENERAL LIABILITY
     COVERAGE PART

                        SCHEDULE

            Name Of Additional Insured Person(s)
                    Or Orqanization(s):                                   Location(sl Of Covered Operations

  As required by written contract                                  As required by written contract




  Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Section II - Who Is An Insured is amended to                B. With respect to the insu ranee afforded to these
   include as an additional insured the person(s) or              additional  insureds, the following    additional
   organization(s) shown in the Schedule, but only                exclusions apply:
   with respect to liability for "bodily injury", "property        This insuranoe does not apply to "bodily injury" or
   damage" or "personal and advertising injury"                    "property damage" occurring after:
   caused, in whole or in part, by:
                                                                   1. All work,     including materials,   parts or
    1. Your acts or omissions; or                                     equipment furnished in ocnnection with such
   2. The acts or omissions of those acting on your                   work on the project (other than service,
      behalf;                                                         maintenance or repairs) to be performed by or
   in the performance of your ongoing operations for                  on behalf of the additional insured(s) at the
   the additional    insured(s) at the location(s)                    location of the covered operations has been
   designated above.                                                  ocmpleted; or
                                                                   2. That portion of "your work'.' out of which the
                                                                      injury or damage arises has been put to its
                                                                      intended use by any person or organization
                                                                      other than another contractor or subocntractor
                                                                      engaged in performing operations for a
                                                                      principal as a part of the same project


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                                                                                                      CICMSJ0231
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POLICY NUMBERNJ-CGL-0000009684-02                                           COMMERCIAL GENERAL LIABILITY
                                                                                           CG 203707 04




         ADDITIONAL INSURED - OWNERS, LESSEES OR
          CONTRACTORS- COMPLETED OPERATIONS
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                   SCHEDULE

        Name Of Additional Insured Person(s)
                  Or Oraanizationlsl:                     Location And Description Of Completed Operations
As required by written contract                           As required by written contract




Information required to complete th is Schedule, if not shown above, ViiiII be shown in the Declarations.

Section II - Who Is An Insured is amended to
include as an additional insured the person(s) or
organization(s) shown in the Schedule, but only with
respect to liability for "bodily injury'' or "property
damage" caused, in whole or in part, by "your work"
at the location designated and described in the
schedule of this endorsement performed for that
additional insured and included in the "products-
completed operations hazard".




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                                                                                                    CICMSJ0232
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                                                                          COMMERCIAL GENERAL LIABILITY
                                                                                         CG 214707 98

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        EMPLOYMENT-RELATED PRACTICES EXCLUSION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following exclusion is added to Paragraph 2.,      B. The following exclusion is added to Paragraph 2.,
   Exclusions of Section I - Coverage A - Bodily             Exclusions of Section I - Coverage B - Per-
   Injury And Property Damage Liability:                     sonal And Advertising Injury Liability:
   This insurance does not apply to:                         This insurance does not apply to:
   "Bodily injury" to                                        "Personal and advertising injury" to:
     (1) A person arising out of any:                           (1) A person arising out of any:
         (a) Refusal to employ that person;                         (a) Refusal to employ that person;
         (b) Termination of that person's employ-                   (b) Termination of that person's employ-
             ment; or                                                   ment; or
         (c) Employment-related practices, policies,                (c) Employment-related practices, policies,
             acts or omissions, such as coercion,                       acts or omissions, such as coercion,
             demotion, evaluation, reassignment,                        demotion, evaluation, reassignment,
             discipline,  defamation,     harassment,                   discipline,  defamation,     harassment,
             humiliation or discrimination directed at                  humiliation or discrimination directed at
             that person; or                                            that person; or
     (2) The spouse, child, parent, brother or sister           (2) The spouse, child, parent, brother or sister
         of that person as a consequence of "bodily                 of that person as a consequence of "per-
         injury" to that person at whom any of the                  sonal and advertising injury" to that person
         employment-related practices described in                  at whom any of the employment-related
         Paragraphs (a), (b), or (c) above is di-                   practices described in Paragraphs (a), (b),
         rected.                                                    or (c) above is directed.
      This exclusion applies:                                    This exclusion applies:
     (1) Whether the insured may be liable as an                (1) Whether the insured may be liable as an
         employer or in any other capacity; and                     employer or in any other capacity; and
     (2) To any obligation to share damages with or             (2) To any obligation to share damages with or
         repay someone else who must pay dam-                       repay someone else who must pay dam-
         ages because of the injury.                                ages because of the injury.




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                                                                                                     CICMSJ0233
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POLICY NUMBER: NJ-CGL-0000009684-02                                     COMMERCIAL GENERAL LIABILITY
                                                                                                CG 21 54 01 96

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

 EXCLUSION- DESIGNATED OPERATIONS COVERED BY
 A CONSOLIDATED (WRAP-UP) INSURANCE PROGRAM
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART


                                                 SCHEDULE



Description and Location of Operation(s):
All locations.




(If no entry appears above, information required to complete this endorsement will be shown in the Dedarations
as applicable to this endorsement.)

The following exdusion is added to paragraph 2.,          This exclusion applies whether or not the
Exdusions of COVERAGE A- BODILY INJURY AND                consolidated (wrap-up) insurance program:
PROPERTY DAMAGE LIABILITY (Sedion I -                     (1) Provides coverage identical to that provided by
Coverages):                                                   this Coverage Part;
                                                          (2) Has limits adequate to cover all claims; or
This insurance does not apply to "bodily injury" or
"property damage" arising out of e~her your ongoing       (3) Remains in effect.
operations or operations included ~hin          the
"products-completed operations hazard" at the
location described in the Schedule of this
endorsement, as a consolidated (wrap-up) insurance
program has been provided by the prime
contractor/project manager or owner of the
construction project in which you are involved.




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                                                                                                 CICMSJ0234
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                                                                              COMMERCIAL GENERAL LIABILITY
                                                                                             CG 215509 99

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                         TOTAL POLLUTION EXCLUSION
                        WITH A HOSTILE FIRE EXCEPTION

This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART


Exclusion f. under Paragraph 2., Exclusions of Section               (b) At any premises, site or location on which
I - Coverage A- Bodily Injury And Property Damage                        any insured or any contractors or
Liability is replaced by the following                                   subcontractors      working     directly    or
This insurance does not apply to:                                        indirectly on any insured's behalf are
                                                                         performing operations to test for, monitor,
f. Pollution
                                                                         clean up, remove, contain, treat, detoxify,
    (1) "Bodily injury" or "property damage" which                       neutralize or in any way respond to, or
        would not have occurred in whole or part but                     assess the effects of, "pollutants".
        for the actual, alleged or threatened discharge,
                                                                 (2) Any loss, cost or expense arising out of any:
        dispersal, seepage, migration, release or
        escape of "pollutants" at any time.                          (a) Request, demand, order or statutory or
                                                                         regulatory requirement that any insured or
        This exclusion does not apply to "bodily injury"
                                                                         others test for, monitor, clean up, remove,
        or "property damage" arising out of heat,
                                                                         contain, treat, detoxify or neutralize, or in
        smoke or fumes from a "hostile fire" unless
                                                                         any way respond to, or assess the effects
        that "hostile fire" occurred or originated:
                                                                         of "pollutants"; or
        (a) At any premises, site or location which is or
                                                                     (b) Claim or suit by or on behalf of a
            was at any time used by or for any insured
                                                                         governmental      authority for damages
            or others for the handling, storage, disposal,
                                                                         because of testing for, monitoring, cleaning
            processing or treatment of waste; or
                                                                         up,     removing,     containing,    treating,
                                                                         detoxifying or neutralizing, or in any way
                                                                         responding to, or assessing the effects of,
                                                                         "pollutants".




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                                                                             COMMERCIAL GENERAL LIABILITY
                                                                                            CG 2167 0402

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                         FUNGI OR BACTERIA EXCLUSION
  This endorsement modifies insurance provided underthe following:

     COMMERCIAL GENERAL LIABILl1Y COVERAGE PART



  A. The following exclusion is added to Paragraph 2.,         B. The following exclusion is adde d to Paragraph 2.,
     Exclusions of Section I - Coverage A - Bodily                Exclusions of Section I - CoverageB -Personal
     lnjuryAnd PropertyDamageliability:                           And Advertising Injury Liability:
     2. Exclusions                                                 2. Exclusions
        This insurance does not apply to:                             This insurance does not apply to:
        Fungi or Bacteria                                             Fungi or Bacteria
        a. "Bodily injury" or "property damage" which                 a. "Personal and advertising injury" which
           would not have occurred, in whole or in                       would not have taken place, in whole or in
           part, but for the actual, alleged or                          part, but for the actual, alleged or
           threatened inhalation of, ingestion of,                       threatened inhalation of, ingestion of,
           contact with, exposure to, existence of, or                   contact with, exposure to, existence of, or
           presence of, any "fungi" or bacteria on or                    presence of any 'fungi" or bacteria on or
           within a building or structure, including its                 within a building or structure, including its
           contents, regardless of whether any other                     contents, regardless of whether any other
           cause, event, material or product                             cause,      event, material or product
           contributed concurrently or in any sequence                   contributed concurrently or in any sequence
           to such injury or damage.                                     to such injury.
        b. Any loss, cost or expenses arising out of                  b. Any loss, cost or expense arising out of the
           the abating, testing for, monitoring, cleaning                abating, testing for, monitoring, cleaning up,
           up, removing, containing, treating,                           removing, containing, treating, detoxif ying,
           detoxifying, neutralizing, remediating or                     neutralizing, remediating or disposing of, or
           disposing of, or in anyway responding to,                     in anyway responding to, or asses sing the
           or assessing the el      feels of, 'fungi" or                 effects of, "fungi"or bacteria, by any
           bacteria, by any insured or by any other                      insured or by any other person or entity.
           person or entity.                                   C. The following definition is added to the Definitions
        This exclusion does not apply to any "fungi" or           Section:
        bacteria that are, are on, or are contained in, a         "Fungi" means any type or form of fungus,
        good or product intended for consumption.                 including mold or mildew and any mycotoxins,
                                                                  spores, scents or byproducts produced or
                                                                  released by fungi.




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                                                                               COMMERCIAL GENERAL LIABILITY
                                                                                              CG 21 960305

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

           SILICA OR SILICA-RELATED DUST EXCLUSION

This endorsement modifies insurarce provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART


A. The following exclusion is added to Paragraph 2.,         B. The following exclusion is ad:Jed to Paragraph 2.,
   Exclusions of Section I - Coverage A - Bodily                Exclusions of Section I - Coverage B - Personal
   Injury And Property Damage Liability:                        And Advertising Injury Liability:
   2. Exclusions                                                2. Exclusions
      This insurance does not appy to:                              This insurance does not apply to:
      Silica Or Silica-Related Dust                                 Silica Or Silica-Related Dust
      a. "Bodily injury" arising, in whole or in part, out          a. "Personal and advertsing injury" arising, in
          of the actual, alleged, threatened or                         whole or in part, out of the actual, alleged,
          suspected inhalation of, or ingestion of,                     threatened or suspected inhalation of,
          "silica" or "silica-related dust".                            ingestion of, contact with, exposure to,
      b. "Property damage" arising, in whole or in                      existence of, or presence of, "silica" or
          par 1 out of the actual, alleged, threatened or               "silica-related dust".
          suspected contact with, exposure to,                      b. Any loss, cost or expense arising, in whole
          existence of, or presence of, "silica" or                    or in part, out of the abating, testing for,
          "silica-related dust".                                       monitoring,        cleaning     up,     removing,
      c. Any loss, cost or expense arising, in whole                   containing, treating, ds:oxifying, neutralizing,
         or in part, out of the abating, testing for,                  remediating or disposing of, or in any way
         monitoring,        cleaning     up,     removing,             responding to or asS=ssing the effects of,
         containing, treating, detoxifying, neutralizing,              "silica" or "silica-related dust", by any insured
         remediating or disposing of, or in any way                    or by any other person or entity.
         responding to or assessing the effects of,          C. The following definitions       are   added    to the
         "silica" or "silica-related dust", by any insured      Definitions Section:
         or by any other person or entity.                       1. "Silica"   means silicon dioxide (occurring in
                                                                    crystalline, amorphous and impure forms), silica
                                                                    particles, silica dust or silica compounds.
                                                                 2. "Silica-related dust' means a mixture or
                                                                    combination of silica and ether dust or particles.




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                                                                          COMMERCIAL GENERAL LIABILITY


      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                    REAL ESTATE PROPERTY MANAGED
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART


This insurance does not apply to "property damage" to property you operate or manage or as to which you act as
agent for the collection of rents or in any other supervisory capacity.
With respect to your liability arising out of your management of property for which you are acting as real estate
manager this insurance is excess over any other valid and collectible insurance available to you.




CG22701185                   Copyright, Insurance Services Office, Inc., 1984                 Page 1 of 1       •



                                                                                               CICMSJ0238
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                                                                             COMMERCIAL GENERAL LIABILITY
                                                                                            CG 2279 07 98


       THIS ENOORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          EXCLUSION - CONTRACTORS - PROFESSIONAL
                          LIABILITY
This endorsement modifies insurance provided under the follavving:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

The following exclusion is added to Paragraph 2.,            2. Subject to Paragraph 3. below, professional
Exclusions of Section I - Coverage A - Bodily                   services include:
Injury And Property Damage Liability and Paragraph              a. Preparing, approving, or failing to prepare or
2., Exclusions of Section I -Coverage B - Personal                 approve, maps, shop drawings, opinions,
And Advertising Injury Liability:                                  reports, surveys, field orders, change orders, or
1. This insurance does not apply to "b:Jdily injury",              drawings and specifications; and
    "property damage" or "personal and advertising              b. Supervisory or inspection activities performed
    injury" arising out of the rendering of or failure to          as part of any related architectural or
    render any professional services by you or on your             engineering activities.
    behalf, but only with respect to either or both of the
    following operations:                                    3. Professional services do not include services within
                                                                construction    means,     methods,     techniques,
     a. Providing engineering, arch[ectural or surveying        sequences and procedures employed by you in
         services to others in your capacity as an              connection with your operations in your capacity as
         engineer, architect or surveyor; and                   a construction contractor.
     b. Providing, or hiring independent professionals to
         provide, engineering, architectural or surveying
         services in connection with construction work
         you perform.




CG 22 79 07 98                     Copyright, Insurance Services Office, Inc., 1997                 Page 1 of 1   •



                                                                                                    CICMSJ0239
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                                                                           COMMERCIAL GENERAL LIABILITY
                                                                                          CG 23 0112 04

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

      EXCLUSION - REAL ESTATE AGENTS OR BROKERS
                  ERRORS OR OMISSIONS
This endorsement modifies insurance provided under the fol lowing:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

The following exclusion is added to Paragraph 2.
Exclusions of Section I - Coverage A - Bodily
Injury And Property Damage Liability and Paragraph
2. Exclusions of Section I - Coverage B - Personal
And Advertising Injury Liability:
This insurance does not apply to "bodily injury",
"property damage" or "personal and advertising injury"
arising out of any misrepresentation, error or omission
by you or any real estate agent or broker who is either
employed by you or performing work on your behalf in
such                                           capacity.




CG 23 0112 04                               © ISO Properties, Inc., 2003                  Page 1 of 1   •




                                                                                            CICMSJ0240
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POLICY NUMBER       NJ-CGL-0000009684-02                                   COMMERCIAL GENERAL LIABILITY
                                                                                          CG 24 04 05 09


      WAIVER OF TRANSFER OF RIGHTS OF RECOVERY
                AGAINST OTHERS TO US
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

                                                  SCHEDULE

Name Of Person Or Organization:
As required by written contract




Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

The following is added to Paragraph 8. Transfer Of
Rights Of Recovery Against Others To Us of
Section IV- Conditions:
We waive any right of recovery we may have against
the person or organization shown in the Schedule
above because of payments we make for injury or
damage arising out of your ongoing operations or
"your work" done under a contract with that person
or organization and included in the "products-
completed operations hazard". This waiver applies
only to the person or organization shown in the
Schedule above.




CG 24 04 05 09                       © Insurance Services Office, Inc., 2008                             Page 1 of 1   •



                                                                                                CICMSJ0241
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                       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY



                         PRIMARY AND NON-CONTRIBUTING INSURANCE

This endorsement modfies insurance provided under the following:

                                 COMMERCIAL GENERAL LIABILITY COVERAGE PART
                            PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART


 To the extent that this insurance is afforded to any additional insured L11derthis policy, SECTION IV - COMMERCIAL
 GENERAL LIABILITY CONDITIONS, 4. Other lnsu ranc~ is deleted in its entirety and replaced with the following condition:

     4.   Other Insurance

          If all of the other insurance r:ermits contribution by equal shares, we will follow this method unless the insured is
          required Of written contract signed by both parties, to provide insurance that is primary and non-contributory, and the
          "insured contract" is executed prior to any loss. Where required by a written contract signed by bcth parties, this
          insurance will be primary and non-contributing only when and to the extent as required by that contract.

          However, under the contributory approa:: h each insurer contributes equal arrounts until it has paid its applicable Iimit of
          insurance or none of the loss remains, whichever comes first. If any of the otler insurance does not permit contribution
          by equal shares, we will contribute by limits. Under this method, each insurer's share is based on the ratio of its
          applicable limit of insurance to the total applicable Iim its of insurance of all insurers.




                      ALL OTHER TERMS AND CONDITKlNS OF THE POLICY REMAIN UNCHANGED.




 This endorsement forms a part of the Policy to which atE.ched, effective on the inception da1e of the Policy unless otherwise
 stated herein.

 (The following information is required only when this endorsement is issued subsequent to preparation of the Policy.)


 Endorsement effective                                   Policy No.                           EndorsementNo.

 Named Insured
                                                          Countersigned by ____________________                                          _



 FM IC-GL-1002( 10/2012)




                                                                                                                   CICMSJ0242
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                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                                       CROSS SUITS ENDORSEMENT

This endorsement modifies insurance provided under the following:

                                 COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                PRODUCTS/COMPLETED OPERATIONS COVERAGE PART


SECTION I - COVERAGES, COVERAGE A BODILY INJURY AND PROPERTY DAMAGE LIABILITY, 2. Exclusions and
COVERAGE B PERSONAL AND ADVERTISING INJURY LIABILITY, 2. Exclusions and SECTION I - COVERAGES
PRODUCTS/COMPLETED          OPERATIONS BODILY INJURY AND PROPERTY DAMAGE LIABILITY, 2. Exclusions are
amended and the following is added:


CROSS SUITS EXCLUSKlN
This Policy does not apply to a claim, demand or "suit" for damages initiated, alleged, or caused to be brought aOOut by a
Named Insured covered by this Policy against any other Named Insured. It is the intent of this exclusion to exclude from this
insurance all claims, demands or "suits" as above described.




This encbrsement forms a part of the Policy to which attached, effective on the inception da1e of the Policy unless otherwise
stated herein.

(The following information is required only when this endorsement is issued subsequent to preparation of the Policy.)


Endorsement effective                                 Policy No.                           Endorsement No.

Named Insured
                                                               Countersigned by _______________                           _
                                                                                           (Authorized Representative)


FMIC-GL-2010(11/2011)




                                                                                                              CICMSJ0243
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                      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




     CONTINUOUS OR PROGRESSIVE INJURY AND DAMAGE EXCLUSION

This endorsement modifies insurance provided under the following:

                                 COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                PRODUCTS/COMPLETED OPERATIONS COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE COVERAGE PART

It is agreed under Section I - COVERAGES, COVERAGE A BODILY INJURY AND PROPERTY DAMAGE LIABILITY,
1. Insuring Agreement, Paragraph b (3), c and dare deleted in their entirety and the following exclusion is added to Section I,
2. Exclusions of this policy.

This insurance does not apply to:

    1.   Any damages arising out of or rela1ed to "bodily injury" or "pror:erty damage" whether such "bodily injury" or
         "property damage" is known or unknown,

         (a) which first occurred in whole or in part prior to the inception date of this policy (or the retroactive date of this
             policy, if any; whichever is earlier); or

         (b) which are, or are alleged to t:e, in the process of occurring as of the inception date of the policy (or the retroactive
             date of this policy, if any; whichever is earlier) even if the "bodily injury," or "pror:erty damage" continues during
             this policy period; or

         (c) which were caused, or are alleged to have been caused, by the same condition(s) or defective construction which
             first existed prior to the inception date of this policy.

    2.   Any damages arising out of or related to "bodily injury" or "property damage" whether known or unknown, which are
         in the process of adjustment, settlement, or "suit" as of the inception date of this policy (or the retroactive date of
         this policy, if any; whichever is earlier).

 We shall have no duty to defend any insured against any loss, claim, "suit," or other proceeding alleging damages arising out of
 or related to "OOdily injury" or "property damage" to which this endorsement applies.



                     ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




This encbrsement forms a part of the Policy to which attached, effective on the inception da1e of the Policy unless otherwise
stated herein.

(The following information is required only when this endorsement is issued subsequent to preparation of the Policy.)


Endorsement effective                                   Policy No.                            Endorsement No.

Named Insured
                                                                 Countersigned by ________________                                  _




FMIC-GL-2011(04/2011)




                                                                                                                 CICMSJ0244
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                           THIS ENDORSEMENT        CHANGES THE POLICY. PLEASE READ IT CAREFULLY



                                       POLICY DEDUCTIBLE ENDORSEMENT

This endorsement modifies insurance provided under the following:


                                   COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                            SCHEDULE

                                                                                  AMOUNT AND BASIS OF DEDUCTIBLE
COVERAGE A                                                               PER CLAIM                PER OCCURRENCE
BODILY INJURY LIABILITY                                                  $                        $
               OR
PROPERTY DAMAGE LIABILITY                                                $                        $
         OR
BODILY INJURY LIABILITY AND/OR                                                                    $5,000
                                                                         $
PROPERTY DAMAGE LIABILITY COMBINED


COVERAGE B                                                               PER INJURY
PERSONAL AND ADVERTISING INJURY LIABILITY                                $5,000

A.   Our obligation under the Bodily Injury Liability, Property Damage Liability, Personal and Advertising Injury Liability
     Coverages to pay damages and Supplementary Payments on your behalf applies only to the amount of damages and
     Supplementary Payments in excess of any deductible arrounts stated in the Schedule above as applicable to such
     coverages.
B.   Your policy may have a deductible amount on either a per claim, a per "occurrence" or a per injury basis. Your deductible
     applies to the coverage option and to the basis of the deductible indicated by the placement of the deductible amount in the
     Schedule abate. The deductible amount stated in the Schedule above applies as follows:
     1.   PER CLAIM BASIS. If the deductible amount indicated in the Schedule abate is on a per claim basis, that deductible
          applies as follows:
          a.    Under Bodily Injury Liability Coverage, to all damages sustained by any one person because of "bodily injury";

          b.    Under Property Damage Liability CO\lerage, to all damages sustained by any one person because of "property
                damage";

          c.    Under Bodily Injury Liability and/or Property Damage Liability Coverage Combined, to all damages sustained by
                any one person because of:
                (1) "Bodily injury";
                (2) "Property damage"; or
                (3) "Bodily injury" and "property damage" combined; or
          d.    Under Supplementary Payments-Coverages A and B, to all amounts we pay in the defense and investigation of
                any claim or "suit" to which this insurance applies
          as the result of any one "occurrence."

          If damages are claimed for care, loss of services or death resulting at any time from "bodily injury," a separate
          deductible amount will be applied to each person making a claim for such damages.
          With respect to "property damage," person incl L.des an organization.




 FMIC-GL-2015(1 Q/2011)                                                                                                  Page 1 of 2




                                                                                                                CICMSJ0245
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     2.   PER OCCURRENCE BASIS. If the deductible amount indicated in the Schedule above is on a per "occurrence" basis,
          that deductible amount applies as follows:
          a.   Under Bodily Injury Liability Coverage, to all damages because of "bodily injury";
          b.   Under Property Damage Liability Coverage, to all damages because of "property damage";
          c.   Under Bodily Injury Liability and/or Property Damage Liability Coverage Combined, to all damages because of:
               (1) "Bodily injury";

               (2) "Property damage"; or
               (3) "Bodily injury" and"property   damage" combined; or
          d.   Under Supplementary Payments-Coverages A and B, to all amounts we pay in the defense and investigation of
               any claim or "suit" to which this insurance applies
          as the result of any one "occurrence,"    regardless of the number of persons or organizations who sustain damages
          because of that "occurrence."
     3.   PER INJURY BASIS. If the deductible amount indicated in the Schedule above is on a per injury basis. the deductible
          amount applies as follows:

          a.   Under the Personal and advertising Injury Liability Coverage to all damages because of "personal and advertising
               injury" sustained by any one person or organization as a result of any one injury.
          b.   Under Supplementary Payments-Coverages A and B, to all amounts we pay in the defense and investigation of
               any claim or "suit" to which this insurance applies.
C.   The terms of this insurance, including those with resr:ect to:
     1.   Our right and duty to defend the insured against any "suits" seeking those damages; and
     2.   Your duties in the event of an "occurrence," claim, or "suit"
     apply irresr:ective of the application of the deductible amount.
D.   We, at our sole election and option, may either:
     1.   Pay any part of or all of the deductible amount to effect settlement of any claim or "suit" or payment of Supplementary
          Paymen1s. Upon notification of the action taken, you shall promptly reimburse us for such part of the deductible amount
          as has been paid by us; or
     2.   Simultaneously upon receipt of notice of any claim or "suit," or at any time thereaf1er, request you pay or derx,sit with
          us all or any part of the deductible amount, to be held and applied by us as herein provided.
E.   The deductible may not be satisfied by payments made by any additional insured, any other insurance, or any other insurer,
     unless such payments are made under a policy written specifically to cover the deductible obligations under this policy.


                       ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




This endorsement forms a part of the rx,licy to which attached, effective on the inception date of the policy unless otherwise
stated herein.

(The following information is required only when this endorsement is issued subsequent to preparation of the policy.)

Endorsement effective                                    Policy No.                           Endorsement No.

Named Insured

                                                         Countersigned by ___________________                                  _


FM IC-GL-2015( 10/2011)                                                                                                 Page 2 of 2




                                                                                                                CICMSJ0246
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                        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                            DESIGNATED CONSTRUCTION PROJECT(S)
                           GENERAL AGGREGATE LIMIT SUBJECT TO A
                                TOTAL POLICY AGGREGATE LIMIT

This endorsement modifies insurance provided under the following:

                                  COMMERCIAL GENERAL LIABILITY COVERAGE PART
                             PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART


                                                         SCHEDULE
Designated Construction Projects:

All projects where required     by written contract




(If no entry appears above, information required to complete this endorsement will be shown in the Declarations as applicable
to this endorsement.)


A. For all sums which the insured becomes legally obligated to pay as damages caused by "occurrences" under
   COVERAGE A (SECTION I), which can be attributed only to ongoing operations at a single designated construction
   project shown in the Schedule above:
    1. A separate Designated Construction Project General Aggregate Limit applies to each designated construction project,
       and that limit is equal to the amount shown in the Declarations of this policy.
    2. Subject to the Total Policy Aggregate Limit, the Designated Construction Project General Aggregate Limit is the most
       we will pay for the sum of all damages under COVERAGE A, except damages because of "bodily injury" or "property
       damage" included in the "products-completed operations hazard," regardless of the number of:
        a. lnsured's;
       b. Claims made or "suits" brought; or
        c. Persons or organizations making claims or bringing "suits."




FMIC-GL-2017 (01/2011)                                                                                            Page 1 of 2




                                                                                                            CICMSJ0247
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3.Any payments made under COVERAGE A for damages shall reduce the Designated Construction Project General
      Aggregate Limit for that designated construction project. Subject to the Policy Aggregate Limit, such payments shall
      not reduce the General Aggregate Limit shown in the Declarations nor shall they reduce any other Desig:,ated
      Construction Project General Aggregate Limit for any other designated construction project shown in the Schedule
      above.
    4. The limits shown in the Declarations for Each Occurrence continue to apply. However, instead of being subject to the
       General Aggregate Limit shown in the Declarations, such limits will be subject to the applicable Designated
       Construction Project General Aggregate Limit and the Total Policy Aggregate Limit.
B. For all sums which the insured becomes legally obligated to pay as damages caused by "occurrences" under COVERAGE
   A (SECTION I), which can rot be attributed only to ongoing operations at a single designated construction project shown in
   the Schedule aOOve:
    1. Any payments     made under COVERAGE A for damages shall reduce the amount available under the General
        Aggregate Limit or the Products-Completed Operations Aggregate Limi~ whichever is applicable; and
    2. Such payments shall not reduce any Designated Construction Project General Aggregate Limit.

    3. Such payments will reduce the Policy Aggregate Limit.
C. When coverage for liability arising out of the "products-completed operations hazard" is provided, any payments for
   damages because of "OOdily injury" or "property damage" included in the products-completed operations hazard will reduce
   the Products-Completed Operations Aggregate Limit, and not reduce the General Aggregate Limit, the Designated
   Construction Project General Aggregate Limit nor the Total Policy Aggregate Limit.
D. If the apf)icable designated construction project has been abandoned, delayed, or abandoned and then restarted, or if the
   authorized contracting parties deviate from plans, blueprints, designs, sr:ecifications or timetables, the project will still be
   deemed to be the same construction project.
E. The Total Policy Aggregate Limit scheduled in the Declarations of this policy is the most we will pay for the sum of: (a) all
   damages covered under this policy and falling within the scheduled Designated Construction Project General Aggregate
   Limits descrit:ed in Paragraph A. of this endorsement; and, (b) all damages covered under this policy and falling within the
   General Aggregate Limit, as described in Paragraph B. of this endorsement and as set forth in the provisions of Limits of
   Insurance (SECTION Ill) not otherwise modeled by this endorsement. The Total Policy Aggregate Limit applies regardless
   of the sums indicated in the Declarations for any General Aggregate Limit, or Designated Construction Project General
   Aggrega1e Limit, as applicable to all construction projects set forth in the Schedule above. The Total Policy Aggregate
   Limit applies collectively, rather than separately, to all of your scheduled construction projects. The Total Policy Aggregate
   Limit is not reduced by payments for damages covered under this policy and falling within the "products-completed
   operations hazard," but such payments will reduce the Products-Completed Operations Aggregate Limit, as described in
   Paragraph C. of this endorsement.
F. The provisions of Limits Of Insurance (SECTION Ill) not otherwise modified by this endorsement shall continue to apply as
   stipulated.




                         ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




  This endorsement   forms          a part of the Policy to which    attached,   effective    on the inception    date of the Policy    unless
  otherwise stated herein.

   (The following     information   is required   only when this endorsement      is issued   subsequent    to preparation     of the Policy.)


   Endorsement      effective                                       Policy No.                                   Endorsement     No.

   Named    Insured

                                                         Countersigned     by ___________________                                            _




FMIC-GL-2017 (01/2011)                                                                                                                     Page 2 of 2




                                                                                                                                 CICMSJ0248
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                      THIS ENDORSEMENT CHANGES THE POLICY                  PLEASE READ IT CAREFULLY



                                                   NAMED INSURED

This endorsement modifies insurance provided under the follovving:


                                   COMMERCIAL GENERAL LIABILITY COVERAGE PART

 Item 1. Named Insured is hereby amended on the Policy Declarations Page to include the follovving:
D L Phillips Construction, Inc. dba
Ja-Mar Roofing, Ja-Mar Exteriors, Ja-Mar Roofing & Sheet Metal, Ja-Mar Solar




                      ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.


This endorsement forms a part of the Policy 1DVv'hichattached, effective on the inception date of the Policy unless othervvise
stated herein.

 (f he follovving information is required only when this endorsement is issued subsequent to preparation of the Policy.)


 Endorsement effective                                  Policy No.                           Endorsement No.

 Named Insured
                                                        Countersignedby


 FMIC-GL-2052(1 Q/2010)




                                                                                                               CICMSJ0249
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                  TH IS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                             HAZARDOUS MATERIALS EXCLUSION

This endorsement modifies insurance provided under the following:

                             COMMERCIAL GENERAL LIABILITY COVERAGE PART
                            PRODUCTS/COMPLETED OPERATIONS COVERAGE PART
                          OWNERS AND CONTRACTORS PROTECTIVE COVERAGE PART


A.   SECTION I - COVERAGES, COVERAGE A BODILY INJURY AND PROPERTY DAMAGE LIABILITY,
     2. Exclusions, and SECTION I - COVERAGES, COVERAGE B PERSONAL AND ADVERTISING INJURY
     LIABILITY, 2. Exclusions, and SECTION I - COVERAGES, PRODUCTS/COMPLETED           OPERATIONS
     BODILY INJURY AND PROPERTY DAMAGE LIABILITY, 2. Exclusions, and SECTION I - COVERAGES
     BODILY INJURY AND PROPERTY DAMAGE LIABILITY are amended and Ire following Exclusion is added:

     Hazardous Materials

     (1)   "Bodily injury," "property damage" or "personal and advertising injury" which would not have occurred in
           whole or part but for the actual, alleged or threatened discharge, ingestion, inhalation, dispersal, seepage,
           migration, release or escape of "hazardous materials" at any time.

     (2) Any loss, cost or expense arising out of any:
           (a) Request, demand, order or statutory or regulatory requirement that any insured or others test for,
               monitor, clean up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or assess the
               effects of "hazardous materials"; or
           (b) Claim or "suit" by or on behalf of a governmental authority for damages because of testing for,
               monitoring, cleaning up, removing, containing, treating, detoxifying or neutralizing, or in any way
               responding to, or assessing the effects of "hazardous materials."
     (3) Any obligations to share damages with or indemnify another party whom must pay damages because of
         injury or damage relating to" hazardous materials."
     (4) Any sur:ervision, instru:tions, recommendations, warnings or advice given or which should have been given
         in connection with paragraphs(1), (2), or(3)above.
     This exclusion applies whether or not such "hazardous            material(s)"   has any function   in your business,
     operations, premises, site or location.

B.   SECTION V-DEFINITIONS          is amended and the following added:
     "Hazardous     materials" means "pollutants," toxic substances,     lead, asbestos, silica and materials containing
     them.



                  ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




This endorsement forms a part of the Policy to which attached, effective on the inception date of the Policy unless
otherwise stated herein.

(The following information is required only when this endorsement is issued subsequent to preparation of the Policy.)


Endorsement effective                                    Policy No.                            Endorsement No.

Named Insured

                                               Countersigned by ___________________                                   _


FM IC-GL-2076(04/2011)




                                                                                                            CICMSJ0250
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                        THIS ENDORSEMENT CHANGES THE POLICY                PLEASE READ IT CAREFULLY



                EXCLUSION - SPECIFIED STATE OPERATIONS EXCLUSION

This endorsement modifies insurance provided under the follovving:

                                COMMERCIAL GENERAL LIABILITY COVERAGE PART
                           PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                         OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART


SECTION I - COVERAGES, COVERAGE A BODILY INJURY AND PROPERTY DAMAGE LIABILITY, 2. Exclusions, and
SECTION I - COVERAGES, PRODUCTS/COMPLETED OPERATIONS BODILY INJURY AND PROPERTY DAMAGE
LIABILITY, 2. Exclusions, and SECTION I - COVERAGES, BODILY INJURY AND PROPERTY DAMAGE LIABILITY,
2. Exclusions are amended and the follovving Exclusion is added:


This policy does not apply to "bodily injury" or "property damage" arising out of "your work" or out of any lnsured's work,
operations or contractual obligations in the following states:
Alaska, Arizona, California,
Colorado, Hawaii, Nevada, New
York, Oregon,
South Carolina, Washington




This exclusion applies regardless of Vv'hethersuch work or operations are conducted by the insured or on behalf of the insured
or Vv'hetherthe operations are conducted for the insured or for others. This exclusion applies to all work and operations whether
completed or in progress.




                      ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




This endorsement forms a part of the Policy to Vv'hichattached, effective on the inception date of the Policy unless othervvise
stated herein.

(fhe following information is required only \A/henthis endorsement is issued subsequent to preparation of the Policy.)


Endorsement effective                                  Policy No.                           Endorsement No.

Named Insured
                                                       Countersigned by ___________________                                       _


FMIC-G L-2125(07/2011)




                                                                                                                CICMSJ0251
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                        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                                             SUBSIDENCE EXCLUSION

This endorsement modifies insurance provided under the following:

                                  COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                 PRODUCTS/COMPLETED OPERATIONS COVERAGE PART
                               OWNERS AND CONTRACTORS PROTECTIVE COVERAGE PART


SECTION I - COVERAGES, COVERAGE A BODILY INJURY AND PROPERTY DAMAGE LIABILITY, 2. Exclusions and
COVERAGE B PERSONAL AND ADVERTISING INJURY LIABILITY, 2. Exclusions and SECTION I - COVERAGES
PRODUCTS/COMPLETED    OPERATIONS BODILY INJURY AND PROPERTY DAMAGE LIABILITY, 2. Exclusions      and
SECTION I - COVERAGES BODILY INJURY AND PROPERTY DAMAGE LIABILITY, 2. Exclusions are amended and the
following is added:

This insurance does not apply to:

"Bodily injury" or "property damage" directly or indirectly arising out of caused by, resulting from, contributed to, aggravated by 01
related to the subsidence, settling, settlement, expansion, sinking, slipping, falling away, tilting, caving in, shifting eroding, rising,
heaving, landslide, flood or mud flow, earthquake, volcanic eruption or other tectonic processes or any other movement, of land
or earth, however caused, and whether by natural, manmade, accidental or artificial means. This exclusion applies regardless o1
any other cause or event that contributes concurrently or in any sequence to the "bodily injury" or "property damage."

We shall have no duty or obligation on our part under this insurance to defend, respond to, investigate or indemnify any insured
against any loss, claim, "suit," or other proceeding alleging damages arising out of or related to "bodily injury" or "property
damage" to which this endorsement applies.

This exclusion also applies to any obligation to, share damages with, repay or indemnify someone else who must pay damages
because of such "bodily injury" or "pror:erty damage."


                      ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




This endorsement forms a part of the Policy to which attached, effective on the inception date of the Policy unless otherwise
stated herein.

(The following information is required only when this endorsement is issued subsequent to preparation of the Policy.)


Endorsement effective                                     Policy No.                            Endorsement No.
Named Insured
                                                         Countersigned by ____________________                                         _


FM IC-GL-2152(07/2011)




                                                                                                                     CICMSJ0252
          Case 1:20-cv-00474-RP Document 15-2 Filed 09/02/21 Page 108 of 119



                       THIS ENDORSEMENT CHAN3ES THE POLICY PLEASE READ IT CAREFULLY


                            MINIMUM EARNED PREMIUM ENDORSEMENT

The following additional policy Conditions supersede any other policy conditions and the Named Insured hereby agrees that the
total policy premium and minimum earned premium(s) due for th is policy shal I be calculated in aocordance with the lo llowing:

Total Policy Premium

This policy is subject to a Total Policy Premium which means the premium that is calculated as fdlows

     1.   The deposit premium as shown in the policy Declarations, plus
     2.   Any premium adjustment by endorsement, plus
     3.   Any additional premium developed by audit

The premium entered on the Declarations page of this policy as DEPOSIT PREMIUM is a prm,isional premium only and is
subject to adjustment in accordance wth our rules rates and the Premium Audit provisions of this policy.

A.   Minimum Earned Premium by Date Certain

     If the box below is checked and a date filled in where applicable the minimum earned premium for this policy will be 100%
     earned by the specific date referenced in this endorsement and there wl I be no return of prennum if you cancel this policy.

      D      After (                  ) the premium is fully earned.

B. Audits and Minimum Earned Premium
   With regard to audits the Minimum Annual Premium is 85% of the DEPOSIT PREMIUM as stated in the policy
   Declarations. Premium adjustments affected as a result of premium audits may be done while the policy is in
   effect or after the policy is no longer in effect. The due date for audit premiums is the date shown as the due
   date on the bill.
C.   Cancellation and Minimum Earned Premium

     1.   If you cancel this policy, the return premium w II be the lesser of:
                   a. 90% of the pro rata unearned premium or
                   b. 75 % of the Daposit Premium.

     2.   If the Named Insured fails to remit premium payment when due, such failure shall te considered a request by the
          Named Insured to cancel this policy and the return premium wll be determined in aocordance with C 1.

     3.   If we cancel the policy for any reason, other than for non-payment of premium, the "nnnimum earned premium" shall
          not apply. We will return to you the pro rata amount of the unearned premium.


                       AU. OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.



This endorsement forms a part of the Policy to which attached, effective on the inception date of the Policy unless otherwise
stated herein.

(The following information is required only when this endorsement is issued subsequent to preparation of the Policy.)


Endorsement effective                                     Policy No.                       Endorsement No.

Named Insured
                                                          Cc untersig ned by


FMIC-GL-2163(05/2012)




                                                                                                              CICMSJ0253
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                        TH IS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                                  ROOFING OPERATIONS WARRANTIES

This endorsement modifies insurance provided under the following:

                                   COMMERCIAL GENERAL LIABILITY COVERAGE PART

It is understood and agreed that such Insurance as provided by this pol icy is modified and subject to the following provisions:

It is a condition precedent to liability and coverage under this policy when performing "roofing operations work" that the insured,
additional insured or subcontractor comply with all roofing operations procedures, protective safeguards, conditions and
warranties as indicated in this endorsement.

    1.   You have taken "appropriate" steps to determine any approaching         adverse weather in advance of any job or work
         commencing.
    2.   You have taken "appropriate" steps to provide a temporary waterproof covering for an "open roof" able to withstand the
         normal elements.
    3.   The cover must be put in place if the "open roof' and job-site is to be left unattended for more then four hours.
    4.   You must conduct a diligent insr:ection of any hot tar or heat application work immediately preceding your departure
         from the premises. You are further required to "document" the insr:ection.
    5.   The insured will remain at the job-site of any hot tar or heat application job-site for a period of not less than one hour
         after the hot tar or heat ar:plication process has been completed. You are further required to "document" the time line.
    6.   The insured will have at hand a functional, fully charged 15 lb. or larger dry chemical fire extinguisher when hot tar or
         other heat application process is t:eing used.

The following additional definitions as used in this endorsement appy:

"Open Roof." The term "open roof" as used herein shall include any roof or section of roof thereof where shingles, tar, felt
paper or any other protective covering has been removed, thereby leaving exposed any supporting structure, decking, wood
shell, building interior or contents of any building to the elemen1s.

"Appropriate."     The term "appropriate" as used herein means actions customarily           and normally taken/used      by roofing
contractors in the same field to protect or prevent damage under similar circumstances.

"Document." The term "document" as used herein means the insured or others working on your behalf will have a designated
employee complete a signed and da1ed written report for each job-site of each inspection showing the time of the completion of
work and the time of any required and completed inspections.

"Roofing Operations Work" means all work performed in connection with the application of weatherproofing and protective or
roofing materials of any kind to roofs of buildings or other structures. The term shall also include all work performed in
connection with: (a) the installation of roofs, including related metal work such as flashing, and (b) alterations, additions,
maintenance, and repair, including r:ainting and coating of existing roofs. The term shall also include but is not limited to gutter
and downspout work, the construction of the sheathing or base of roofs, or the installation of television antennas, air
conditioners, exhaust and ventilating equipment, s kyl igh1s, solar pane Is ors im ilar appliances attached to roofs.

The failure to fulfill the conditions precedent to liability and coverage under this policy as stated will render coverage under this
policy null and void, at the sole option of the company. However, these warranties and policy conditions do not apply to
"property damage" included within the "products-completed operations hazard."

                      ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.


This endorsement forms a part of the Policy to which attached, effective on the inception date of the Policy unless otherwise
stated herein.

(The following information is required only when this endorsement is issued subsequent to preparation of the Policy.)

Endorsement effective                                   Policy No.                           Endorsement No.

Named Insured
                                                        Countersigned by ____________________                                      _

FM IC-GL-2169(09/2012)




                                                                                                                 CICMSJ0254
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                        THIS ENDORSEMENT CHANGES THE POLICY                  PLEASE READ IT CAREFULLY



                                           EXCLUSION OF TERRORISM

Notwithstatldi ng anything to the contrary contained in the policy or any endorsement attached thereto, it is agreed that this
insurance does not ar:ply to "any injury or damage" caused directly by or as a consequence of a "certified act of terrorism" or
"other act of terrorism," including any action not othervvise excluded under the War and Military Action exclusion that is taken
by a government or severe ign pov,,er (de jure or de facto) in controlling, preventing, sur:pressi ng, retaliating against or in any
way responding to a "certified act of terrorism" or "other act of terrorism."    Such injury or damage is excluded regardless of
any other cause or event that contributes cona..mently or in any sequence to the loss, even if the act of a "certified act of
terrorism" or "other act of terrorism," that causes or results in the loss or damage itself is itself a cause of loss that is
othel"\Mse insured against under this pdicy.

If, by reason of this exclusion, we allege that any loss or damage under this policy is not covered, the burden of proving that
such loss or damage is cove red shall be upon you.

The foll o¼ing definitions are added:
1.     For the purposes of this endorsement, ''any injury or damage" means any injury or damage covered under any
       Coverage Part to which this encbrsement is applica~e, and includes b.Jt is not limited to "bodily injury," "property
       damage," "personal and advertising injury," 'l njury," "environmental danag e" or ''errors or omissions" as may be defined
       in any applica~e Coverage Part
2.    "Certified act of terrorism" means an act that is certified by the Secretary of the Treasury, in concurrence \Mth the
      Secretary of State and the Attorney General of the United States, to be an act of terrorism pursuant to the federal
      Terrorism Risk Insurance kt. The criteria contained in the Terrorism Risk Insurance Act fcr a "certified act of terrorism"
      include the follo¼i ng:
       a.     The act resulted in insured losses in excess of$5 million in the aggregate, attributable to all types of insurance
              subject to the Terrorism Risk Insurance Ac~ and
       b.     The act is a violent act or an act that is dangerous to human life, property or infrastructure and is committed by an
              individual or individuals as part of an effort to coerce the civilian population of the United States or to influence the
              policy or affect the conduct of the United States Government by coercion.
3.    "Other act of terrorism" means any violent act that is dangerous or destructive to human life, property or infrastructure,
      whether actual or threatened, and Vv'h ether committed by one or more persons acting a looe or in connection with any
      group or organization. The act must not be certified as a "certified act of terrorism" pursuant to the federal Terre rism
      Risk lnsuran::e Act and the act must contain one or more of the follovving criteria:
       a.     The act is intended to influence, coerce or protest against the a::tions, behavior or policies of any government or
              sovereign power (de jure or de facto) or any segment of the government or sovereign; or
       b.     To further any political, ideological, econ011ic, religious or social aim, objective or cause; or
       c.     To disrupt any segment of the global econcrny or the econcrny of any country or political state.
It is the intent of this endorsement to exclude from this insurance all daims, demands or "suits" arising from the insurable
coverage excluded under th is endorsement There shall, therefore, be no duty or obligatioo on our part under this insurance to
defend, respond to, investigate or indemnify anyone, including but not limited to you, your agents, servants or employees, or any
third parties for any such claim, demand or suit.



                      ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.



This endorsement forms a part of the Pd icy to which attached, effective on the inception date of the Policy unless otherwise
stated here in.

(The fo llovving information is required only when this endorsement is issued subsequent to preparation of the Policy.)


Endorsement effective                                    Policy No.                             Endorsement No.

Named Insured
                                                         Countersigned by ___________________                                     _

FMIC-GL-2172 (07/2011)




                                                                                                                  CICMSJ0255
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                        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                        EXCLUSION - BLASTING AND USE OF EXPLOSIVES

This encbrsement modifies insurance provided under the following:

                                   COMMERCIAL GENERAL LIABILITY COVERAGE PART


SECTION I - COVERAGES, COVERAGE A BODILY INJURY AND PROPERTY DAMAGE LIABILITY, 2. Exclusions and
COVERAGE B PERSONAL AND ADVERTSING INJURY LIABILITY, 2. Exclusions are amended and the following added:

This insurance does not apply to any "bodily injury," "property damage" or "personal and advertising injury" arising out of,
resulting from, or in any way related to blasting activities or use of explosives. The use of explosives includes the making,
handling, storage, or transportation of exposives.

It is the intent of this endorsement to exclude from this insurance all claims, demands or suits and there shall be no duty or
obligation on our part under this insurance to defend, respond to, investigate, or indemnify anyone, including but not limited to
you, your agents, servants, or employees, or any third parties for any such claim, demand or suit that arises out of any blasting
activities or use of explosives.



                     ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




This endorsement forms a part of the Policy to which attached, effective on the inception date of the Policy unless otherwise
stated herein.

(The fol lowing information is required only when this endorsement is issued subsequent 1Dpreparation of the Policy.)


Endorsement effective                                 Policy No.                           Endorsement No.

Naned Insured
                                                      Oiuntersigned by________________                                       _


RVIIC-G..-2196(CB/2011)




                                                                                                             CICMSJ0256
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                       TH IS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                                   BASIS OF PREMIUM ENDORSEMENT

This endorsement modifies insurance provided under the following:

                                    COMMERCIAL GENERAL LIABILITY COVERAGE PART


It is understood and agreed that Section IV - Commercial General Liability Conditions            is amended to include the following
definitions of basis of premium used for computing premiums for this coverage:

  Gross Sales or Receipts is defined as the gross amount charged by the named insured, concessionaires                   of the named
  insured, or by others trading under the insured's name for:

    1.   All goods or products, sold or distributed in the coverage territory as defined in the policy;
    2.   Operations performed during the policy period;
    3.   Rentals during the policy period; and
    4.   Dues or fees during the policy period.

  Only the following items shall be deducted from Gross Sales or Receipts:

    1.   Sales or excise taxes which are collected and remitted directly to a governmental division;
    2.   Credits for repossessed merchandise and products returned;
    3.   Finance charges for items sold on installmen~
    4.   Freight charges on sales if freight is charged as a separate item on customer's invoice; and
    5.   Royalty income from patent rights or copyrights which are not product sales.

  Construction   Cost is defined as the total cost of all work let or sublet, in connection with each specific project including:

    1.   The cost of all labor, materials and equipment furnished, used or delivered for use in the execution of the work; and
    2.   The other costs associated with the execution of the work including office costs and overhead expenses, as well as all
         other fees involved in the completion of the project such as Attorney fees, Professional fees, Testing, Appraisal,
         Marketing; and
    3.   All bonuses or commissions, paid or due on the project.

    Total cost does not include the cost of the land, financing and insurance charges and fees for permits.

  Payroll or Remuneration is defined as the sum of salaries, wages, tips, piece of work, commission, OOnuses, overtime, board
  and meals for work performed and excluding excess in accordance with the state payroll limitation rules.

  Overtime is defined as hours worked at increased rates of pay in excess of hours normally worked in a given day or week. If
  there is a guaranteed wage plan which assures employees a given wage for working a specific number of hours r:er week,
  then the overtime means only the hours worked in excess of that specific amount. If there are records available showing the
  wages paid for overtime separately, which exceed the amount that would have teen paid for the same work during normal
  hours, then all such excess wages are excluded. If these records show only the 1Dtal of wages paid, including overtime on a
  time and one-half basis, then one-third of those wages should be excluded. If double time is paid for overtime and the total
  pay for such overtime is recorded separately, one-half of the total pay for double time shall be excluded.

  Excluded from payroll is remuneration paid to clerical office employees, including those whose duties are strictly limited to
  keeping the insured's books or records, conducting correspondence, or engaged in clerical work in these areas. Anyone who
  does not work in the area separated physically by walled floors, or partitions from all other work areas of the insured is not
  considered.   An exception to this is if the payroll or clerical office employees are specifically included in a classification
  wording or footnote of the ISO general liability classification.

  Tonnage or Sales to Tonnage is defined as the total weight of oilfield pipe and oilfield f)pe casing sold by the Insured.

  Total Cost or Cost is defined as the total cost of all work, let or sublet in connection with each specific project including:

    1.   The cost of labor, materials and equipment furnished, used or delivered for use in the execution of the work; and
    2.   All fees, bonuses or commissions made, paid or due.



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                                                                                                                   CICMSJ0257
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  Units is defined as the number of persons or items described.

  Rental Receipts is defined as the gross amount charged by the named insured, concessionaires of the named insured, or by
  others trading under the insured's name for rental of equipment.

  Admissions is defined as the total number of persons, other than employees of the named insured, admitted to an event or
  events conducted on the premises, whether on paid admission, tickets, complimentary tickets, or passes.




This endorsement forms a part of the Policy to which attached, effective on the inception date of the Policy unless otherwise
stated herein.

(The following information is required only when this endorsement   is issued subsequent to preparation of the Policy.)


Endorsement effective                                  Policy No.                           Endorsement No.
Named Insured
                                                       Countersigned   by _____________________                                   _




FM IC-GL-2203(05/2012)                                                                                                    Page 2 of 2




                                                                                                                CICMSJ0258
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                        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                    EXCLUSION - PRODUCTS/COMPLETED OPERATIONS
                       EXTERIOR INSULATION AND FINISH SYSTEMS

This endorsement modifies insurance provided under the following:

                                  COMMERCIAL GENERAL LIABILITY COVERAGE PART
                           PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

A. This insurance does not apply to "bodily injury" or "pror:erty damage" included in the "produc-ts-completed operations hazard"
   arising out of, caused by, or attribu1able to, whether in whole or in part, the following:

    1. The   design, manufacture, construction, fabrication, preparation, distribution and sale, installation, application,
       maintenance or repair, including remodeling, service, correction or replacement, of any "exterior insulation and finish
       systems" or any part thereof, or any substantially similar system or any part thereof, including the application or use of
       conditioners, primers, accessories, flashings, coatings, caulking or sealants in connection with such a system; or

    2. "Your product" or "your work" with respect to any exterior component, fixture or feature of any structure if an "exterior
       insulation and finish systems," or any substantially similar system, is used on the part of that structure containing that
       component, fixture or feature.

B. The fol lowing definition is added to the Definitions Section:

    "Exterior insulation and finish systems" means a non-load bearing exterior cladding or finish system, and all component
    parts therein, used on any part of any structure, and consisting of:

    1. A rigid or semi-rigid insulation OOardmade of expanded polystyrene and other ma1erials;

    2. The adhesive and/or mechanical fasteners used to attach the insulation board to the substrate;

    3. A reinforced or unreinforced base coa~

    4. A finish coat providing surface texture to which color may be added; and

    5. Any flashing, caulking or sealant used with the system for any purpose.




This endorsement forms a part of the Policy to which attached, effective on the inception date of the Policy unless otherwise
stated herein.

(The following information is required only when this endorsement is issued subsequent to preparation of the Policy.)


Endorsement effective                                    Policy No.                             Endorsement No.

Named Insured
                                                         Countersigned by ____________________                                  _


FM IC-GL-2215(12/2011)




                                                                                                                  CICMSJ0259
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                                                                                                       INTERLINE
                                                                                                    IL 00 210498

     lHIS    ENDORSEMENT            CHANGES        THE POLICY.       PLEASE      READ IT CAREFULLY.

                NUCLEAR ENERGY LIABILITY EXCLUSION
                          ENDORSEMENT
                                                    (Broad Form)


This erdorsemert modifies insurance provided under the fdlowirg:

   BUSINESSQ/1/NERSPOLICY
   COVIMERCIPLAUTO OOVERAGE PART
   COVIMERCIPL GENERAL LIABILITY COVERAGE PART
   EMPLO'IMENT-RELATED PRACTICES LIAS LITYCOJERAGE PART
   FARM OOVERAGE PART
   LIQUOR LIABILITY COVERJlGE PART
   O\/1.NERSANDCa\JTRACTCRS ffiOTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMR...ETEDCFERATIONS LIABILITY COVERAGE PAITT
   PROFESSIONA.LLIABILITY OOVERAGE PART
   RAILROII.D ffiOTECTIVE LIABILITY OOVERAGE PART
   SPECIAL PROTECTIVE AND HIGHWAY LIABILllY PQJ CY NEW YORK CEPARTMENT a=
   TRANSPORTATla\J
   UNDERGROUNDSTORAGETANK PQJCY


1. The insu-ance does not apply:                                C. Under any Liability Cove-a,9e,to 'bodily injury"
  A. Under any Lial:ility O:Jverage,1o "bcdily iljury"             or   "property damage'          resulting from
      or "property damage":                                        "hazardous properties'' cf "nuclear material", W:
     (1) V\Ath respect to which an "insured" under                 (1) The ''nuclear material" (a) is at any "nuclear
          the policy is also an insured under a                        facility" owned by, or operate:l by or on
          nuclear energy liabilly pdicy issued by                      behalf of, an "insured" or (b) has been
          Nuclear      Energy     Liabiliy       Insurance             discharged or dispersed therefrom;
          Associalion, Mutual Abmic Energy Liability               (2) The "nudear mate-ial" is contained in
          Underwriers,         Nuclear           Insurance             "spent fuel" or "waste" at any time
          Associalion of Canada cr arv of their                        possessed, handled, used, processed,
          successors, or 11\0uldbe an insured under                    stored, transported cr disp::,sedof, by or on
          any such pdicy but for its termination upon                  behalf of an "imrned"; or
          exhaustion of its limi cf liability; or                 (3) The "bodily inj.Jry" or "property damagi"
     (2) Resultilg from the "hazardous properties"                    arises out of the furnishing by an "insure:l"
          of "nuclear male"ial" and ~h respect to                     of services, materials, parts or equii:ment in
          V\hich (a) any person or organization is                    connection with the planning, construction,
          re:iuired to mailtain financial protection                  maintenance, operalion or use of any
          pursuant to the Jltomic Ene-gy Act of 1954,                 "nuclear facility', tut if such faciliy is
          or any law amendatory thereof, or (b) the                   located wlhin the Urited States of Jlrnerica,
          "insure:l" is, or had this p::,licy not been                its te-rfories or possessions or Canada, Ins
          issued would be, entitled to inde-nnity from                exclusion (3) applies mly to "property
          the Unied States of America, or any                         damage" to such "nuclear facrny'' and any
          agency thereof, under any agreement                         property thereat.
          ente-ed in1o by the Urned Slates of                2. As used in this erdorsemert:
          America, or any agency thereof, with any
          person or organization.                               "Hazardous properties'' includes radicactive, toxic
                                                                or explosive properties.
   B. Under arv Me:lical Payments c01erage, to
      expenses incu-red with respect to ''bodily                "N..Jclear rraterial"   mears   "source    material",
      injury"   resulting from the         'hazardous           "Special nuclear material" or "by-product material".
      properties" of "nuclear malerial" and arising out
      of the ope-ation of a "nuclear facilfy" by any
      persm or orgarization.

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                                                                                                      CICMSJ0260
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  Source maleral", "spa:ial nuclea rraterial", and              (c) Any eqLipment or device used for the
  "by-product material" have 1he meanirgs given                     processirg, fabricating or alloying of
  them in the A1omi:: Energy Jlct of 1954 or in arv                 "special nuclear material" if at any time the
  law amendatory therecf.                                           tctal amount of such material in the oustody
  "Spent fuel" means any fuel element or fuel                       of the "insured" al the premses WlErn such
  component, solid or liquid, which has been used or                equiJTnentor device is located consis1s of
  exposed toradatim ina ''nuclearreacto(.                           or contains more than 25 grams of
                                                                    plutorium or uranium 233 a any
  'Waste' means any 11\Bstematerial (a) containing                  coml:ination thereof, or more than 250
  "by-product material" other than the tailings or                  gramsofurarium 235;
  wastes     JTOduoed by the extraction or
  concert ration of uranium or 1horiumfrom arv ore              (d) Any structure, basin, excavation, prerrises
  processed prirrarily for its "source rraterial"                   or place J)"er:ared or used fa the storage or
  content, and (b) rest.mng from 1he operatim t,,,                  dispcsal of "11\Bste";
  any person or organization of any "nuclear facility"       and includes the s~eon which any of the faegoing
  incuded under the first t\/\/0 paragraphs cf the           is located, all operalions conducted on such s~e
  definitim cf "nuclear facility".                           and all premises used fa such opErntims.
  "Nuclea facility" means:                                   'Nudear reacto(' means any apparatus designed
    (a) Any "nuclear reacta";                                a used to sustain nuclear fission in a self-
                                                             supporting chain reactbn or to cmtain a critical
    (b) Any equipment or device designed or used             rrass offissionable material.
        for (1) separatirg the isotopes of uranium or
        r:lutmium, (2) processing a utilizing 'spent         "Property darrage'       incudes all forms of
        fuel", or (3) handing,       processing or           radioactive contaminatim of property.
        r:ackaging'waste";




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                                                                                                 CICMSJ0261
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                                           CLAIM NOTIFICATION



         Send all claim notifications and information to:


                                     First Mercury Insurance Company
                                                P .0. Box 5096
                                         Southfield, Michigan 48086
                                                         Or

                                            26600 Telegraph Rd.
                                            Southfield, Ml 48033

                                                     Or Fax to:


                                     First Mercury Insurance Company
                                          Attn: Claim Department
                                        Fax Number: (248) 357-5036




This endorsement forms a part of the Policy to Vv'hich attached, effective on the inceptioo date of the Policy unless
othervvise stated herein.




FMIC - Oain Notification (12/2006)




                                                                                                       CICMSJ0262
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                IMPORTANT NOTICE                                        AVISO IMPORTANTE


To obtain information or make a complaint:               Para obtener informaci6n o para someter una queja:

1. You may contact your insurance agent.                 Puede comunicarse con su agente de seguro.

2. You may call the company's toll-free telephone        Usted puede llamar al numero de telefono gratis de
   number for information or to make a complaint         la companfa para informaci6n o para someter una
   at:                                                   queja al:

                    1-800-762-6837                                       1-800-762-6837

3. You may write to the company at:                      Usted tambien puede escribir la companfa:

         First Mercury Insurance Company                     First Mercury Insurance Company
         26600 Telegraph Rd.                                 26600 Telegraph Rd.
         Southfield, MI 48033                                Southfield, MI 48033

4    You may contact the Texas Department of             Puede comunicarse con el Departamento de
     Insurance to obtain information on companies,       Seguros de Texas para obtener informaci6n acera
     coverages, rights or complaints at:                 de companies, coberturas, derechos o quejas al:

                    1-800-252-3439                                       1-800-252-3439

5. You may write the Texas Department of                 Puede escribir al Departamento de Seguros de
   Insurance:                                            Texas:

     PO Box 149104                                       PO Box 149104
     Austin, TX 78714-9104                               Austin, TX 78714-9104
     FAX (512) 475-1771                                  FAX (512) 475-1771
     Web: http:lwww.tdi.state.tx.us                      Web: http:/www.tdi.state.tx.us
     E-mail: ConsumerProtection@tdi. state. tx. us       E-mai I: ConsumerProtection@tdi. state.Ix. us

6.   PREMIUM OR CLAIM DISPUTES:                          DISPUTAS SOB RE PRIMAS O RECLAMOS:

     Should you have a dispute concerning your           Si tiene una disputa concerniene a su prima o
     premium or about a claim you should contact         a un reclamo, debe comunicarse con el agente
     your agent first. If the dispute is not resolved,   primero. Si no se resuelve la disputa, puede
     you may contact the Texas Department of             comunicarse con el departamento (TOI).
     Insurance.

ATTACH THIS NOTICE TO YOUR POLICY:                       UNA ESTE AVISO A SU POLIZA:

This notice is for information only and does not         Este aviso es solo para prop6sito de lnformaci6n y
become a part or condition of the attached               no se convierte en parte o condici6n del documento
document.                                                adj unto.




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  CorerXSPECIAlTY
               EXPERIENCE
                       MIi TTERS
                                                                              26600 Telegraph Rd.
                                                                              Southfield, MI 48033

                                                                              PO Box 5069
                                                                              Southfield, MI 48086


  04/30/2013


  Re: D L Phillips Construction Inc (OBA) Ja Mar Roofing
      NJ-CGL-0000009684-02




      IMPORTANT NOTICE TO POLICYHOLDERS

      PLEASE REVIEW THIS RENEWAL DECLARATION
     CAREFULLY. WHILE YOUR POLICY NUMBER AND
  INSURANCE CARRIER HAVE NOT CHANGED FROM YOUR
  EXPIRING POLICY, THE ATTACHED DECLARATION PAGE
 UPDATES COVERAGES, TERMS AND CONDITIONS FOR YOUR
RENEWAL TERM AND MAY DIFFER FROM THOSE EXPIRING AS
       WELL AS THOSE REQUESTED IN YOUR RENEWAL
 APPLICATION. NEW OR CHANGED POLICY FORMS WILL BE
     THE ONLY FORMS ATTACHED TO THIS RENEWAL
                    DECLARATION.

PLEASE REVIEW THIS DECLARATION AND/OR CONSULT WITH
  YOUR AGENT/BROKER AND ADVISE US IMMEDIATELY IN
 WRITING OR VIA FAX SHOULD YOU HAVE ANY QUESTIONS,
        CONCERNS OR CHANGES TO YOUR POLICY.



                                   Telephone: 1 (800) 762-6837 - Fax: 1 (248) 358-2459



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